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                EXHIBIT 2
       DEPOSITION OF DAN WATKINS




                         EXHIBIT 2
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Deposition of:

                                Daniel R. Watkins, Esq.

                   FRCP 30(b)(6) Designee of Watkins & Letofsky, LLP


Case:

                       Amy Buchanan v. Watkins & Letofsky, LLP
                             2:19-CV-00226-GMN-VCF


Date:

                                      02/20/2020
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  Daniel R. Watkins, Esq.                                                           Amy Buchanan v. Watkins & Letofsky, LLP
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   1          UNITED STATES DISTRICT COURT                                1       INDEX OF EXAMINATION
   2              DISTRICT OF NEVADA                                      2
                                                                              WITNESS               EXAMINATION              PAGE
   3                                                                      3
                                                                              DANIEL R. WATKINS, ESQ. BY MR. KEMP                     5
   4 AMY BUCHANAN,                         ) Case No.                     4
                         )                                                                    Afternoon Session     126
   5       Plaintiff,            ) 2:19-cv-00226-GMN-VCF                  5
                         )
   6 vs.                     )                                            6         INDEX OF EXHIBITS
                         )
   7 WATKINS & LETOFSKY, LLP, a )                                         7 NUMBER            PAGE DESCRIPTION
       Nevada Limited-Liability        )
   8 Partnership; DOES I-X; ROE )                                         8 Exhibit 1       7 "Plaintiff's Notice of
       BUSINESS ENTITIES I-X,    )                                                         Deposition of Defendant Watkins
   9                   )                                                  9                & Letofsky, LLP, Pursuant to
           Defendants.    )                                                                FRCP Rule 30(b)(6)"
  10   ______________________________)                                   10
  11                                                                          Exhibit 2     8 "First Amended Complaint"
                                                                         11
  12                                                                          Exhibit 3      8 "Defendant Watkins & Letofsky,
                                                                         12                LLP's Answer to Plaintiff's
  13 FRCP 30(b)(6) DEPOSITION OF WATKINS & LETOFSKY, LLP,                                  First Amended Complaint"
                                                                         13
  14 THROUGH ITS REPRESENTATIVE DANIEL R. WATKINS, ESQ.                       Exhibit 4     20 E-mail dated 4-29-16, subject:
                                                                         14                "Medical Update," WLLLP001299
  15           Taken on February 20, 2020
                                                                         15 Exhibit 5       25 E-mail dated 6-28-16, subject:
  16         By a Certified Court Reporter                                                 "My Resignation," WILLLP001301
                                                                         16
  17               At 11:18 a.m.                                              Exhibit 6     27 E-mail dated 8-18-16, subject:
                                                                         17                "Medical Leave," WLLLP001298
  18       At 7435 West Azure Drive, Suite 110
                                                                         18 Exhibit 7       28 E-mail string, top e-mail dated
  19              Las Vegas, Nevada                                                        9-2-16, subject: "RE: Last Day
                                                                         19                Checklist," WLLLP001324 (2
  20                                                                                       pages)
                                                                         20
  21                                                                          Exhibit 8     44 E-mail dated 11-30-16,
                                                                         21                subject: "Tentative
  22                                                                                       Schedule/Availability,"
                                                                         22                WLLLP001376
  23
                                                                         23 Exhibit 9       46 E-mail string, top e-mail
  24 Reported by: Janet C. Trimmer, NV CCR 864, RPR, CRR                                   dated 11-30-16, subject:
                                                                         24                "RE: Tentative
  25 Job No. 39325                                                                         Schedule/Availability,"
                                                                         25                WLLLP001362 to WLLLP001363
                                                                Page 2                                                           Page 4
   1   APPEARANCES:                                                       1 EXHIBITS (CONTINUED):
   2                                                                      2 NUMBER            PAGE DESCRIPTION
   3   For the Plaintiff:                                                 3 Exhibit 10       49 E-mail string, top e-mail dated
                                                                                           12-14-16, subject: "RE: Amy
   4         KEMP & KEMP                                                  4                Buchanan," WLLLP001311 to
             BY: JAMES P. KEMP, ESQ.                                                       WLLLP001312
   5         7435 West Azure Drive                                        5
             Suite 110                                                        Exhibit 11     56 E-mail string, top e-mail dated
   6         Las Vegas, Nevada 89130                                      6                2-21-17, subject: "RE: Work
                                                                                           Schedule," WLLLP001371
   7                                                                      7
                                                                              Exhibit 12     64 E-mail string, top e-mail dated
   8   For the Defendant:                                                 8                5-12-17, subject: "RE: Update
                                                                                           for today," WLLP001364 to
   9         WATKINS & LETOFSKY, LLP                                      9                WLLLP001370
  10
             BY: JOSEPH M. ORTUNO, ESQ.                                  10 Exhibit 13       73 E-mail dated 6-28-17, subject:
             8215 South Eastern Avenue                                                     "Medical Update," WLLLP001300
  11
             Suite 265
             Las Vegas, Nevada 89123                                     11
                                                                              Exhibit 14     82 "Watkins & Letofsky, LLP Company
  12                                                                     12                Information," Plaintiff's 10129
  13                                                                     13 Exhibit 15       90 "Charge of Discrimination"
  14
       Also Present:                                                     14 Exhibit 16       96 Notes from Drs. McKinnon, Pfau,
            AMY BUCHANAN (entered at page 28.)                                             and Ziegler
  15                                                                     15
                                                                              Exhibit 17    105 E-mail string, top e-mail dated
  16                                                                     16                8-17-17, subject: "RE: Medical
                                                                                           Update," WLLLP001337 to
  17                                                                     17                WLLLP001339
  18                                                                     18 Exhibit 18      163 "New iMessage, to: Dan Watkins"
  19                                                                     19 Exhibit 19      168 E-mail string, top e-mail,
                                                                                           subject: "Health Insurance and
  20                                                                     20                Outstnding Wages," WLLLP001291
                                                                                           to WLLLP001292
  21                                                                     21
                                                                              Exhibit 20    194 E-mail string, top e-mail dated
  22                                                                     22                9-1-17, subject: "Amy RE:
                                                                                           Payroll Correction," WLLLP001285
  23                                                                     23                to WLLLP001286
  24                                                                     24 Exhibit 21      202 E-mail dated 7-8-17, subject:
                                                                                           "Payroll Correction,"
  25                                                                     25                WLLLP001304 to WLLLP001305
  702-476-4500                                          OASIS REPORTING SERVICES, LLC                                     Page: 1 (1 - 4)
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  Daniel R. Watkins, Esq.                                                        Amy Buchanan v. Watkins & Letofsky, LLP
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   1            PROCEEDINGS                                            1 noticed as a Rule 30(b)(6) deposition. You've also
   2                                                                   2 been identified as somebody that has personal
   3 Whereupon --                                                      3 knowledge in the matter.
   4       (In an off-the-record discussion held prior                 4        So what I am going to do here in a moment, I
   5 to the commencement of the proceedings, counsel agreed            5 will mark the deposition notice that has all of the
   6 to waive the court reporter's requirements under Rule             6 topics. There are quite a few of them, but I think
   7 30(b)(5)(A) of the Federal Rules of Civil Procedure.)             7 we'll go through them pretty quickly because they are
   8                                                                   8 fairly straightforward. I'll have some documents that
   9           DANIEL R. WATKINS, ESQ.                                 9 we'll look at perhaps along the way or after we get
  10 having been first duly sworn to testify to the truth,            10 through all the topics as well.
  11 was examined and testified as follows:                           11        We have water here. Again, if you need to
  12                                                                  12 take a break, just let me know. I do plan to take a
  13               EXAMINATION                                        13 short break around 2:15 to 2:30 to go pick up my son.
  14                                                                  14 It will be more like a lunch break at that point.
  15 BY MR. KEMP:                                                     15      A. Perfect.
  16      Q. Good morning. Would you please state your                16         MR. KEMP: Okay. All right. So let's go
  17   name and spell it for the record?                              17   ahead and make this Exhibit 1.
  18      A. Sure. Daniel Watkins, D-a-n-i-e-l                        18         (Exhibit 1 was marked for identification.)
  19   W-a-t-k-i-n-s.                                                 19         MR. KEMP: So Exhibit 1 is the plaintiff's
  20      Q. All right. Mr. Watkins, my name is JP Kemp.              20   notice of deposition of defendant, Watkins & Letofsky.
  21   I represent Amy Buchanan in a case she has going on            21   I believe -- actually, this was the one that we were
  22   against Watkins & Letofsky, LLP.                               22   starting at 9:30. There may have been an amended one.
  23        You have, of course -- you are an attorney;               23   The only change on it was that it would change to
  24   right?                                                         24   11:00 for the start time; otherwise it's all the same
  25      A. That's correct.                                          25   information.
                                                             Page 6                                                            Page 8
   1      Q. You are familiar with the deposition process?             1         While we're at it, let's mark Exhibit
   2      A. I am.                                                     2   Number 2.
   3      Q. We probably don't need to go through all the              3          (Exhibit 2 was marked for identification.)
   4   rules and admonitions, do we?                                   4         MR. KEMP: And Exhibit 2 is the first amended
   5      A. No. But I can't guarantee I won't step on                 5   complaint that was filed on March 1st, 2019.
   6   your question with an answer, so you might have to              6         And let's go ahead and mark this one as
   7   remind me.                                                      7   Exhibit 3.
   8      Q. That's fine. That's natural. That happens.                8          (Exhibit 3 was marked for identification.)
   9   We'll deal with that as we go.                                  9         MR. KEMP: And Exhibit 3 will be the
  10      A. Sure.                                                    10   defendant, Watkins & Letofsky, LLP's answer to the
  11      Q. Will you want the opportunity to review the              11   plaintiff's first amended complaint that was filed on
  12   transcript to check it for accuracy?                           12   August 27, 2019.
  13      A. Yes.                                                     13      Q. Okay. So, Mr. Watkins, with reference to
  14      Q. Okay. And you understand the rules that if               14   Exhibit 1, have you had a chance to look through the
  15   you make changes, those could -- if there were                 15   notice of deposition, all the topics that we're here
  16   substantive changes, those could reflect on your               16   to talk about today?
  17   credibility in the future?                                     17      A. I did.
  18      A. Sure.                                                    18      Q. And are you able to answer questions on
  19      Q. Okay. All right. And then, one of the other              19   behalf of the defendant on all of those topics?
  20   things is, if you need to take a break, just let me            20      A. Yes.
  21   know.                                                          21      Q. Okay. Let's more or less go through in the
  22      A. Will do. Thank you.                                      22   order that we have them. We might skip around a bit,
  23      Q. If we have a question pending, we'll need an             23   but I'm going to start with number 1.
  24   answer, but we'll take a break as soon as we can.              24         Do you have -- at Watkins & Letofsky, LLP, do
  25        So we are here today, this has actually been              25   you have any specific personnel policies or procedures
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   1 with respect to providing accommodations based on           1   something that was going on in life that was impacting
   2 disability?                                                 2   their ability to work, we would proceed that way.
   3       A. Yes.                                               3       Q. Okay. And have these been your policies and
   4       Q. Okay. And what are those policies? Can you         4   procedures, the way that you operate for the time
   5   outline for us --                                         5   period that's indicated here on the second page,
   6       A. Primarily we have posting in the office            6   January 1st, 2016, to the present?
   7   provided by our payroll company that highlights the       7       A. Yes.
   8   laws in the State of Nevada related to discrimination.    8       Q. With respect to -- we'll kind of jump ahead a
   9         We also have an employee manual that touches        9   little bit because we're going to talk about
  10   on discrimination in a general sense. I don't believe    10   Ms. Buchanan specifically.
  11   it really speaks to accommodations or disability         11          With respect to Ms. Buchanan, at some point
  12   discrimination in any specific way.                      12   did she come to you and say she was having difficulty
  13         We have a standard operating procedure that        13   or she had a disability that was impacting her ability
  14   we have for the associates and the staff. I don't        14   to work?
  15   believe that that -- it speaks to policies and           15       A. Yes.
  16   procedures and it speaks to addressing issues with       16       Q. Do you remember when that was?
  17   supervisors, so to that extent it would deal with it.    17       A. Not specifically, but it was as soon as we
  18         Those would be the main things that come to        18   hire -- I mean, as early as her hire date, initial
  19   mind.                                                    19   hire date she had informed me of an automobile
  20       Q. Okay. And with respect to how you operate         20   accident that had happened previously, several months
  21   under the policies and procedures, if you have           21   even, maybe, before, she was receiving treatment for
  22   someone -- we can use Ms. Buchanan as an example. If     22   that in follow-up. So she had indicated right out of
  23   you have someone who comes to you and says that they     23   the gate that she had issues related to that, medical
  24   are having some sort of a problem with a health          24   issues.
  25   condition or a disability, what is your standard         25       Q. And I think it was specifically she was
                                                     Page 10                                                            Page 12
   1 practice in dealing with that?                              1   having issues with her back, like a back injury from
   2      A. Well, that's two different things, a health         2   the auto accident; is that right?
   3   condition and a disability. I should also add,            3       A. So back, headaches, migraines, focus,
   4   though, that within the phrase "policies and              4   concentration -- what's the word I'm looking for? --
   5   procedures" I would include verbal communications back    5   fatigue, things like that we discussed early on.
   6   and forth with the employee regarding whatever issues     6       Q. Okay.
   7   are presented and addressing it that way.                 7       A. But it wasn't discussed in any -- well, to
   8      Q. Okay.                                               8   answer your question in terms of the disability, we
   9      A. But in response to a statement from an              9   did talk about those things, but there was nothing
  10   employee in a general sense that they have a             10   indicated by her that she needed an accommodation at
  11   disability, we would ask if they need an                 11   that time. She went to work for us initially
  12   accommodation, and then we would seek to obtain          12   full-time and performed that role for several months.
  13   information from a medical provider on the nature and    13       Q. And I have it from the complaint here that
  14   extent of the accommodation necessary and the length     14   she started in about April 2016. Does that sound
  15   of time that it would extend as a starting point.        15   right?
  16      Q. Okay. And do you try and stay -- if somebody       16       A. 2016, I think so. I don't have any documents
  17   doesn't use the specific word disability but they say,   17   in front of me, but yes. I'll go from the complaint.
  18   you know, I'm not feeling well or I'm not able to        18   That's accurate.
  19   walk, or give you some information that might indicate   19       Q. Okay. I'll have some other documents we can
  20   they have a disability, do you handle that basically     20   look at.
  21   the same way?                                            21       A. Sure.
  22      A. Sure. I mean, in a very general sense that's       22       Q. All right. So pretty much from the time that
  23   a limited scenario, but yeah, if someone came to me      23   she started -- so had she had -- do you remember, did
  24   and indicated that their ability to perform work was     24   she have the car accident prior to when you first
  25   impacted by some medical condition, or they had          25   hired her, when you interviewed her? Did she let you
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   1   know about that?                                              1   would those be?
   2       A. I don't know if it was during the interview.           2      A. Watkins & Letofsky, LLP, a California Limited
   3   I don't believe it was in that context. I don't               3   Liability Partnership.
   4   recall the specific time when it came up. I just              4      Q. Okay. Any others?
   5   remember that it was an issue for her. She was                5      A. No.
   6   recovering from that. I'm pretty sure it was before           6      Q. Okay. And are you licensed or practice in
   7   she started for us the first time that we had that            7   any states other than California and Nevada?
   8   discussion that she had the accident.                         8      A. No.
   9       Q. I understand, when she first actually came to          9      Q. Okay. When did you open an office here in
  10   work for you, she was kind of working by herself in          10   Nevada with Watkins & Letofsky, LLP, Nevada?
  11   your office here in Las Vegas. Is that right?                11      A. It wasn't a subject on this (indicating), and
  12       A. She was physically here, yes, and then I was          12   I realized this morning as I went through this, I
  13   working with her. I was here quite a bit during that         13   didn't go back and put that timeline together.
  14   time. So I was here and then Brian Letofsky was here.        14         It would have been right when I passed the
  15       Q. Okay. Let's get a little bit more background          15   bar, shortly after that. And Brian and I passed at
  16   before we go through the topics any more.                    16   the same time. Our bar numbers are 11 -- mine is
  17         So your firm, you started in California; is            17   11881, so we could figure out the specific time from
  18   that right?                                                  18   that. But I'm guessing, if I had to piece it
  19       A. No. The defendant here, Watkins & Letofsky,           19   together, it's probably been 10 to 15 years.
  20   LLP, A Nevada Limited Liability Partnership, started         20          But I don't mean to be vague. Just,
  21   here.                                                        21   honestly, time, it gets super-foggy going back that
  22       Q. I see. Okay. But did that grow out of your            22   far. So I'm saying 10 to 15 years, if that's okay.
  23   operations in California?                                    23   We can get you specifics later, if we need to. It
  24       A. No. It's an independent office that Brian             24   just wasn't on the subject list, so I didn't even
  25   and I started here after we took the bar and passed          25   focus on it.
                                                          Page 14                                                           Page 16
   1   it.                                                           1      Q. Okay. So you've had an office, though, here
   2       Q. Okay. Is there any -- in terms of the                  2   in Nevada for that whole period of time?
   3   operations of the law firm, do you and Mr. Letofsky           3      A. We had -- yes, we had a physical location
   4   actually do work for your Nevada cases from your              4   initially subleased from Sean Sullivan PC for a period
   5   California office?                                            5   of time, and I don't know how long that was. And then
   6       A. Yes.                                                   6   we moved to our current building in a different suite,
   7       Q. Okay.                                                  7   and then we moved into our current suite in the same
   8       A. I mean, we do it remotely from all over the            8   building at 8215 South Eastern.
   9   place, so there, my home, if I'm in San Francisco on          9      Q. Okay. So other than yourself and
  10   another case, that, if I'm in Reno. But yes, we work         10   Mr. Letofsky passing the bar here, how long have you
  11   on our Nevada stuff remotely all the time.                   11   had employees in Nevada? The whole time you've had
  12       Q. Okay. Do you have any other limited                   12   employees at various times?
  13   liability partnerships other than this Nevada limited        13      A. No, not the whole time. Well, Amy, she can
  14   liability partnership that you practice law through?         14   and would have been our first employee. So April of
  15       A. So I'm not trying to play with you, but I'm           15   2016. So as I think about that, that would make me
  16   trying to understand what you are asking me.                 16   think we probably passed the bar about 10 years ago.
  17         So as a PMK for this defendant, this                   17      Q. Okay. All right.
  18   defendant is not a limited liability partner in any          18      A. I'm just making sure of that. I don't mean
  19   other limited liability partnerships. Is that what           19   to be vague, but I didn't really research that. Did
  20   you are asking?                                              20   we have someone else? I don't think so. Amy Buchanan
  21       Q. I understand. I was asking, you know, if you          21   would have been the first employee.
  22   personally, by way of your background, information, do       22      Q. That doesn't surprise me. I mean, she said
  23   you have any other entities --                               23   she was the only -- I think she said in this case she
  24       A. I do.                                                 24   was the only person working in the Las Vegas office
  25       Q. -- through which you practice law? What               25   when she first started.
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   1      A. Right.                                              1 word of mouth as opposed to like responding to Craig's
   2      Q. In terms of being there --                          2 List.
   3      A. Physically.                                         3     Q. Okay. And so did you get a resume from her?
   4      Q. -- all the time day to day -- right.                4 Interview her? What was the process?
   5      A. I was just trying to think, when we were at         5     A. I did get a resume; we did interview her,
   6   Mr. Sullivan's office, whether we had anyone that did     6 spoke at length.
   7   work for us there. I think we had engaged in having       7     Q. Was that both you and Mr. Letofsky, or just
   8   runners go to and from the court and things of that       8 you?
   9   nature, but those would have been outside agencies.       9     A. I don't recall that. Certainly I was
  10   So I don't think they were employees.                    10 involved. I don't remember if Mr. Letofsky was
  11      Q. Okay.                                              11 involved. He probably spoke to her at different times
  12      A. (Document review.) I'm sorry. Mr. Ortuno is        12 on the phone, but I don't -- I was no party to that.
  13   showing me that we passed the bar in December of 2010,   13     Q. Okay. And so what was Amy hired to do? What
  14   so that's 10 years, and then it would have taken         14 was the need that you had that she came in to fill?
  15   several months before we were working through            15      A. Be an associate attorney.
  16   Mr. Sullivan. Somewhere in that time frame we would      16      Q. All right. And to work on what kind of
  17   have started.                                            17   cases?
  18      Q. Okay. So going on 10 years, then?                  18      A. (Telephonic noise interruption.) Sorry.
  19      A. Right. We had to set up the LLP and register       19      Q. If you need to get that, we can take a break.
  20   with the State and do all of that stuff.                 20   That's fine.
  21      Q. Okay. So could you tell me a little bit of         21      A. No. Thank you, but no.
  22   the process you went through to hire Amy as your first   22        Well, at that point, whatever we could get.
  23   employee here. Did you advertise for it? How did she     23   We were trying to establish a beachhead. We had some
  24   come to meet up with you and go to work with you?        24   employment law cases that were coming in through
  25      A. So I didn't research that because it's not in      25   Firevaugh (phonetic). We were marketing that way.
                                                     Page 18                                                         Page 20
   1 here in the notice, but if memory serves, it would          1   And we wanted to develop a family law practice to the
   2 have probably started through a Craig's List ad. I          2   extent that we could find the right fit.
   3 asked Mr. Sullivan, who is very connected in the            3        So Ms. Buchanan offered an opportunity
   4 community. He's born and raised here. His wife is a         4   potentially to grow that because of her background in
   5 judge. So I touched base with them. I know another          5   family law, though it was limited, but she still had
   6 judge, Cedric -- I know him through Mr. Sullivan.           6   exposure and a desire. So it seemed like that might
   7      Q. Kerns?                                              7   work.
   8      A. -- Kerns. And Sean Sullivan had reached out         8        So there was initially the thought of
   9   to him just to see if we knew of any attorneys that       9   establishing kind of ground floor work through
  10   were looking. I didn't have a ton of exposure to         10   employment and through family law.
  11   attorneys here at that time, but any that I knew on      11      Q. Okay. And so with respect to her -- you said
  12   the other side of whatever case we were in, I asked if   12   it was soon after she started that she told you she
  13   they knew people.                                        13   was having like problems with her back and the
  14        We didn't do any sophisticated Monster, I           14   headaches and concentration, focus, like that; right?
  15   think that's what it's called, or Zip recruiting,        15      A. Yes. It's not in the context of work. Just
  16   anything like that, because we were just trying to       16   in the context of life. But yes. That's my memory
  17   find someone through word of mouth. The market was       17   anyway.
  18   pretty bare at that time in terms of available           18        MR. KEMP: Okay. Let's make this Exhibit 4.
  19   attorneys, from what I can recall.                       19         (Exhibit 4 was marked for identification.)
  20      Q. Okay. And so how did you end up meeting Amy?       20   BY MR. KEMP:
  21   Do you remember if somebody referred her to you or did   21      Q. Exhibit 4 has got the defendant's Bates stamp
  22   she answer an ad or do you recall?                       22   number ending in 1299, appears to be an April 29th,
  23      A. I don't. She mentioned somebody at the             23   2016, e-mail from Ms. Buchanan to you and
  24   deposition. I'm embarrassed to say that I didn't         24   Mr. Letofsky, subject "Medical Update."
  25   remember that. But I'll take her word that it was        25        Do you have any recollection of receiving
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   1 this e-mail?                                                     1 of time.
   2      A. No, not particularly.                                    2     Q. What would you define the first segment of
   3      Q. Okay. But it appears that she's letting you              3 time? From April when she started until...
   4   know that she's got medical treatments and                     4      A. Whenever she quit the first time.
   5   appointments coming up; right?                                 5      Q. She resigned, I think it was September.
   6      A. Right. The subject of this e-mail would be               6      A. September, right.
   7   consistent with what I remember about our                      7      Q. 16th.
   8   conversations, which was that she was going to need            8      A. Yeah. So during that time, I think she
   9   flexibility in work to be able to attend to those              9   really wanted to work hard and be good and she had a
  10   things.                                                       10   desire to use her degree and she was extremely
  11      Q. Okay. So just to get to the point, early on             11   frustrated by the impact of that accident on her
  12   in the employment relationship she was letting you            12   ability to do that, to live life. It was impacting
  13   know that she had these medical issues; right?                13   her in terms of medical insurance, medical treatment,
  14      A. Right. When you say "issues," what do you               14   and she was extremely frustrated by that.
  15   mean?                                                         15          So we talked a lot about that and how to try
  16      Q. Well, that she was having issues where she              16   and manage that in the context of a tough profession
  17   was needing to go for medical treatment and see               17   and learning in the beginning stages of a tough
  18   neurologists and have time off potentially to go              18   profession. So we talked a lot about that.
  19   and --                                                        19          But I was always impressed. She wanted to
  20      A. Correct.                                                20   try and be good, and she did try to implement things.
  21      Q. -- schedule around her medical appointments.            21   She just had limitations. Some days she just couldn't
  22      A. Correct.                                                22   put in a full day. So that's how it went.
  23      Q. Okay. How was Amy's work performance while              23          But the quality of her work was the quality
  24   she worked for your firm? That's kind of a broad --           24   of a very young associate. So we reviewed everything,
  25   if it's different at different times, I mean, I'm just        25   I went over all of her work product, I reviewed it and
                                                           Page 22                                                           Page 24
   1   trying to get an overall sense of what you thought of          1   corrected it, and tried to help her maneuver correctly
   2   her work performance.                                          2   to become better.
   3       A. I don't know that I can answer that question            3          But overall I had a good impression of
   4   in terms of an overall sense of it because the time            4   Ms. Buchanan. I never really thought anything
   5   varied over a year or more and -- but she was very             5   negative about her.
   6   green, a very young associate, and we knew that going          6      Q. Okay. I think the court reporter had an
   7   in and she knew that when she started.                         7   issue, she might have missed something.
   8          I didn't think she lacked any desire to be a            8          The period of time was April through
   9   good attorney. I thought she had quite a bit of drive          9   September of 2016, that's the first period that she
  10   and desire to do that, and I was impressed by that. I         10   worked for you; right?
  11   think she had a desire to learn, although she did not         11      A. Yes.
  12   know anything about civil litigation really at all.           12          THE REPORTER: It's just more the overlap.
  13          But she did have a desire to learn. She                13          THE WITNESS: I'll try to stop.
  14   utilizes the resources. We talked a lot. She                  14   BY MR. KEMP:
  15   implemented as best she could the things that we              15      Q. I'm bad at that too.
  16   talked about in terms of how to practice law and              16          So was there ever any speaking -- I guess,
  17   manage files, and so in that sense, I think that was          17   let's talk about the first time period up until
  18   my general observation out of the gate; that's why we         18   September of 2016 when she did resign because of her
  19   hired her.                                                    19   health issues. Did you ever have to issue her any
  20          As time went by she struggled, like most               20   warnings or discipline of any kind for anything that
  21   young associates. It's extremely difficult and it's a         21   she did?
  22   stressful job. And her progress, being out here               22      A. If you mean by warning -- I don't want to
  23   alone, you know, in terms of expectations, that she           23   play with words because there's a lot of constructive
  24   was fine with how she did things. I didn't have any           24   criticism and feedback on her work product, but if by
  25   real issues in that regard during this first segment          25   warnings and discipline you mean did I have to tell
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   1 her that she's doing something very wrong and in                1 through these next couple of exhibits also. This will
   2 violation of company policy and that can't be                   2 be Exhibit 6.
   3 tolerated, I don't recall any of that.                          3        (Exhibit 6 was marked for identification.)
   4     Q. Okay. So the first time that she stopped                 4       MR. KEMP: Exhibit 6 is a one-page document
   5 working for you, September of 2016, what do you recall          5 that ends in defendant's Bates stamp 1298 from
   6 about what happened there?                                      6 Amy Buchanan, e-mail to Dan Watkins and Brian Letofsky
   7     A. She just was extremely frustrated with the               7 dated Thursday, August 18th, 2016.
   8 impact of her medical condition on her ability to               8     Q. Take a look at that and let me know if you
   9 work, and she decided that she needed to address that,          9 remember receiving this.
  10 the issue, go get care and see what she could do to            10     A. I do. I don't recall reading and receiving
  11 fix it so she could get back and contribute as an              11 this e-mail, I don't recall it coming up on my
  12 associate, you know, learning. I don't know if it was          12 computer, but I recall the subject of the e-mail.
  13 so much -- I don't know what her motivation was behind         13     Q. Okay. This is talking about having to have
  14 that, but she decided she needed to leave work to go           14 another back surgery and...
  15 and address those issues.                                      15     A. Correct. And I remember there were issues
  16       MR. KEMP: Okay. We'll make this -- I think               16 with -- and I can't put it together as I'm sitting
  17 this will be Exhibit 5.                                        17 here, but there were some issues from her perspective
  18        (Exhibit 5 was marked for identification.)              18 of needing to not work to have her insurance in place.
  19       MR. KEMP: Exhibit 5, we have a -- it's a                 19 I don't know if that -- what that was necessarily
  20 one-page document. It's got defendant's Bates stamp            20 related to.
  21 ending in 1301, Tuesday, 28 June 2016, e-mail from             21       But I do recall, as she mentions in that
  22 Amy Buchanan to Dan Watkins, subject "My Resignation." 22 second line, that in order to keep my current
  23     Q. First of all, do you recall receiving this              23 insurance coverage, keep out-of-pocket costs to a
  24 e-mail?                                                        24 minimum, and have surgery done in a reasonable time,
  25     A. No. I don't deny that it came. I just don't             25 she needs to go now, between August and September.
                                                          Page 26                                                         Page 28
   1   recall it.                                                    1         So I remember that and the timing was
   2      Q. Okay. Well, I'm not trying to trick you or              2   important for her with respect to insurance, but
   3   anything. That's why I wanted to make sure I showed           3   ultimately the goal was to go and have surgery and get
   4   you this, because I know I've seen the -- and we'll           4   better. So I do recall that.
   5   look at the resignation letter from -- it's dated, I          5         MR. KEMP: Okay. All right. The next one,
   6   think, September 2nd. But this is all the way back at         6   Exhibit 7.
   7   the end of June she was talking about needing to              7          (Exhibit 7 was marked for identification.)
   8   resign. I just wanted to see if that jogged your              8          (Amy Buchanan entered the proceedings.)
   9   memory about any earlier conversations that you had           9         MR. KEMP: Exhibit 7, we have two pages.
  10   with her about her needing to resign or wanting to           10      Q. And I'll tell you, the second page of the
  11   resign.                                                      11   letter doesn't have a Bates stamp on it because I
  12      A. No, not specifically with respect to this              12   couldn't find the actual copy of the letter that was
  13   e-mail, but we did -- like I said, we talked a lot           13   attached to this Friday, September 2nd, 2016, e-mail.
  14   about her frustration with her current medical               14         But this second page does appear to be the
  15   condition and practicing law and just the strain and         15   resignation later that Amy sent you; is that right?
  16   stress of practicing law in the midst of dealing with        16      A. Yes.
  17   that, but I don't recall this particular e-mail, not         17      Q. Okay. So September 2nd she resigns to go and
  18   from June.                                                   18   pursue her medical treatment, particularly apparently
  19      Q. Okay. Do you recall there being                        19   a back surgery.
  20   conversations, communications about her resigning?           20         What did you do with respect to running the
  21   This would have been a little over two months before         21   office when she left? Did you have somebody else
  22   she actually did it.                                         22   working there by that time at the Las Vegas office?
  23      A. I don't recall that, no, not in that context,          23      A. Yeah, if memory serves, Eran Forster.
  24   not the word "resigned." I don't recall that.                24      Q. Could you spell the last name?
  25         MR. KEMP: Okay. So we catch up, let's go               25      A. F-o-r-s-t-e-r.
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    1      Q. I think it's spelled E-r-a-n, the first name.           1 Nevada, so she does work for Nevada, not as an
    2      A. Eran, E-r-a-n, yes.                                     2 employee, but she does do the books here too.
    3      Q. Okay. And when did Eran Forster come to work            3     Q. Okay. And Nancy Letofsky, is that
    4   for you?                                                      4 Mr. Letofsky's wife?
    5      A. I don't mean to be evasive, but it wasn't in            5     A. Correct. She performs the role of office
    6   here, I didn't really focus on this, and so I didn't          6 manager and paralegal in California and office
    7   research his hire date and all that stuff.                    7 manager -- well, for a period of time she was the
    8      Q. Okay.                                                   8 office manager for here in Nevada.
    9      A. If he wasn't there when she left, when                  9      Q. Okay.
   10   Ms. Buchanan left, it was shortly after that, and I          10      A. She doesn't play that role anymore.
   11   would have tried to manage things as best I could, but       11      Q. Do you have somebody else that plays that
   12   it seems like I remember him being there before that.        12   role now?
   13      Q. She was the first person that you hired in             13      A. Yes, Farah Kachermeyer.
   14   April -- I'm just trying to see if we can narrow it          14      Q. Okay. Can you spell --
   15   down.                                                        15      A. K-a-c-h-e-r-m-e-y-e-r.
   16         If she was hired in April and resigns in               16      Q. And Farrah, F-a-r-r-a-h?
   17   September, that's just about a five-month period,            17      A. F-a-r-a-h, uh-huh.
   18   four- or five-month period. Does that help you narrow        18      Q. Okay. All right. So it looks like the
   19   it down when Eran Forster might have come to work?           19   e-mail from Nancy Letofsky is Wednesday, August 31st,
   20      A. No. I just don't remember a time when we               20   2016, and it says:
   21   didn't have anybody here working on the files. I do          21            "Hi, Amy. We will need a letter of
   22   recall Mr. Forster coming to our attention through           22        resignation from you, see attached
   23   Ms. Buchanan, I think that's right, and we were              23        information sheet. We hope your surgery is
   24   slammed busy. So if my memory serves, that he was            24        successful and your recovery goes well. What
   25   there when she was -- by this time, because I don't          25        day are you having surgery? Nancy."
                                                           Page 30                                                            Page 32
    1   remember not having anyone.                                   1         So obviously, there must have been some other
    2      Q. Okay. Was there anybody besides Mr. Forster             2   communication about the resignation and she was asking
    3   and Amy Buchanan working there prior to when she              3   you to receive this resignation letter?
    4   resigns with this letter of September 2nd?                    4        MR. ORTUNO: Objection. Calls for
    5      A. Myself and Mr. Letofsky.                                5   speculation. Calls for personal knowledge.
    6      Q. Okay. No other --                                       6        THE WITNESS: Yeah, I don't know what you
    7      A. No other attorneys, no.                                 7   mean by "communication."
    8      Q. Any other support staff?                                8   BY MR. KEMP:
    9      A. No, I don't believe so, not by September.               9      Q. Well, I would just indicate that there had
   10      Q. Was any of the support staff out of                    10   been some other discussion. Well, let me ask you this
   11   California working on any of the Nevada files?               11   way:
   12      A. I don't think so because it's a federal                12        Do you know if there was some other
   13   system out here, and we don't do much in federal court       13   discussion about Amy resigning as of September 2nd
   14   there. I don't recall that. Most of the attorneys            14   that would have led to Nancy sending this e-mail?
   15   are dictating or typing, so I don't remember having          15      A. I'm not sure this is the first e-mail of this
   16   support that way. I'm sure there were occasions where        16   chain, but -- so I don't know, no.
   17   depos might have been set through somebody there, but        17      Q. Okay. Did you have any discussions with
   18   I don't recall that specifically.                            18   Nancy or Susan about Amy's resignation?
   19      Q. Okay. So also in Exhibit 7 there appears to            19      A. Only that she had resigned. That's all I
   20   be an e-mail from Nancy Letofsky to Amy Buchanan with        20   recall.
   21   a CC to Susan Watkins. Is Susan Watkins your wife?           21      Q. Okay.
   22      A. Yes.                                                   22      A. And that she was going to resign. I'm sure
   23      Q. And does she work for your firm?                       23   we were discussing it as of the lead-in based on this
   24      A. Yes, she currently does, in California. She            24   e-mail. I would have definitely talked to Brian about
   25   does not work for -- well, she does the books for            25   the e-mail of August 18, Exhibit, is it 6?
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    1      Q. 6, yes.                                                 1      Q. Okay. All right. So right up until the time
    2      A. And so in preparation for that, I would                 2   that she resigned, did Amy, for lack of a better term,
    3   have -- I don't recall specifically, but I assume I           3   complain to you or let you know there were issues she
    4   talked to Nancy and Susan at some point about it.             4   was struggling to keep up with the workload and work
    5      Q. You don't recall but you think you did,                 5   the number of hours that was required to do that?
    6   though?                                                       6      A. The September resignation?
    7      A. Correct. It would be normal for me to do                7      Q. Yes, before that.
    8   that.                                                         8      A. So prior to that? I'm sure -- I don't recall
    9      Q. Okay.                                                   9   anything specific, but generally that is a discussion
   10      A. Because there's payroll and that would need            10   I have with every new associate. So I'm assuming --
   11   to be addressed, as well as Nancy's handling of it, of       11   and I do recall that was a concern, how do I get it
   12   the personnel file.                                          12   done, you know, and we talked at length about managing
   13      Q. Okay. Do you recall what Amy's compensation            13   files, working efficiently, and all those types of
   14   package included during this first period between            14   things.
   15   April and September of 2016?                                 15         So I don't know if you -- you used the word
   16      A. Again, not specifically. That wasn't a                 16   "complaint." I never really perceived it that way in
   17   subject in the notice. But I think it was 65,000             17   the sense that I have a complaint, but certainly it
   18   annual salary, and she would have been available for a       18   was an issue and it was part of her overall
   19   bonus program, which was $50 an hour for everything          19   frustration.
   20   billed over a 480-hour quarter. The average was 160 a        20      Q. Right. And back on Exhibit 6, it looked like
   21   month, what we billed. The bonus program at that             21   you were talking about -- or she mentioned that she
   22   point was based on a quarterly billable of 480 a             22   was -- she would welcome the opportunity to work with
   23   quarter on calendar in quarters.                             23   you again after she had the surgery, and do you recall
   24      Q. Okay, 480 a quarter. Did it change into 160            24   any other details of discussions you had with her
   25   a month, 160 hours a month or -- maybe I'm not               25   about whether or not she would be able to come back
                                                           Page 34                                                              Page 36
    1   understanding the timeline.                                   1 after she had surgery?
    2         Was it 480 per quarter when she started and             2     A. I'm sure we would entertain it. Like I said,
    3   it changed to 160 per month, or vice versa?                   3 I didn't have any negative feelings about
    4      A. No. So we paid an annual salary back -- back            4 Ms. Buchanan, and I was always -- you know, for me
    5   then we paid an annual salary for her of 65,000 a             5 personally I'm hoping for someone with drive and
    6   year. That was paid out biweekly. And then we had a           6 desire to be better professionally, and I saw that in
    7   potential for bonus based on hourly billables, and the        7 her. Just huge -- she just had a huge hurdle.
    8   billables, the bonus was based on a quarterly                 8       And so, yeah, I would have entertained it.
    9   production of billable hours at 480. That makes --            9 Who knows how long she was going to be out and how the
   10   creates an average of 3 -- or 160 a month. So it's           10 firm was going to move forward and stuff, but we would
   11   just you give them an average of 160 to gauge it by,         11 certainly entertain it, and we did.
   12   but 480 was the mark per quarter.                            12     Q. Okay. I just want to note, in topic number 6
   13         And so that was the compensation package that          13 we did ask for her compensation, any periodic changes
   14   I believe she started with.                                  14 thereto. I don't think it changed. It was 65,000,
   15      Q. Okay.                                                  15 based on annual salary of 65,000 all the way up until
   16      A. I would have to confirm that because, again,           16 she resigned on September 2nd. There wasn't any
   17   I didn't research that based on the notice, but I            17 change in that, was there, during that time period?
   18   would -- I'm pretty sure that's close.                       18     A. I apologize. I read over that. I was
   19      Q. Okay.                                                  19 thinking more in terms of duty in scheduling and
   20      A. Because we went back and forth with 160 and            20 supervision, and I didn't really see -- I apologize.
   21   165, and I don't remember the timing in terms of a           21 It is in there, but I think what I told you is right.
   22   minimum billable that would affect the quarterly.            22     Q. I don't think there is any controversy,
   23         So if it was 165, I think that translates to           23 though, 65,000 is what it was, and it didn't changed
   24   a 495 quarter, and I just don't remember the timing of       24 up until the time she resigned in September?
   25   how we moved in and out of that over that period.            25     A. I mean, I know, salary and the bonus;
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    1 correct.                                                       1 well, before we get there, anything else about topic 6
    2      Q. Okay. In terms of other compensation, I                2 here, her title, job duties, compensation, work
    3   think there was health insurance; is that right?             3 schedule, supervision of her work, identities of her
    4      A. Yes. I think of that more as a benefit, but            4 supervisors. I take it you were her supervisor,
    5   yes. So we had health insurance that we provided.            5 Mr. Letofsky was also, or was it mostly you?
    6   And she had -- for all the associates, they can take a       6     A. I interacted mostly with Ms. Buchanan,
    7   week, do vacation and do sick leave. We don't really         7 although Mr. Letofsky had every authority to supervise
    8   track that. So that's available to them.                     8 her and help her along as he saw fit. My -- I was the
    9          We just want them to meet the minimum                 9 one focused primarily on Nevada at that time. We then
   10   billables over that quarter. So we give them the            10 started a series of cases in Eldorado, against the
   11   liberty to take vacations and use sick leave as they        11 Eldorado Resorts Corporation, which was a timeshare
   12   need to and schedule as they need to with the idea          12 company. I don't remember the overlap with
   13   that you want to be in the office as much as you can,       13 Ms. Buchanan's employment, but there was a time when
   14   but -- so I call that a benefit even though the bonus       14 Brian was out here quite a bit. The point is, he
   15   still calls for the 480 quarterly or 495, whichever         15 could supervise her too.
   16   was in place at that time.                                  16       For title, just to get back to point 6, was
   17      Q. And you did mention minimum billables. What           17 associate attorney, job duties included management of
   18   was the minimum?                                            18 a file and, you know, all the files that we had, which
   19      A. 480 -- well, minimum in the sense of bonus is         19 would include summarizing discovery, summarizing
   20   480 quarterly or 495, depending on whatever time            20 records, attending depositions, going to mediations,
   21   period we're talking about, and so that quarterly           21 going to court, going to meetings with clients, having
   22   minimum would translate down to an average of 160 or        22 initial client meetings, reviewing case files with me
   23   165.                                                        23 or Mr. Letofsky as a general sense of management of
   24      Q. Okay. And so that was the threshold to get            24 the files.
   25   to the bonus, but you also considered that to be the        25       We talked about her -- conversation her work
                                                          Page 38                                                           Page 40
    1   minimum that they needed?                                    1 schedule was fluid, you work as you need to. She had
    2      A. Yeah. I mean, we've called it a minimum for            2 remote access, at least at some point in time we set
    3   as long as Brian and I have been together, but to be         3 that up. So it's just really about getting the work
    4   honest, I don't know that I've ever gone to an               4 done.
    5   associate and said your hours aren't good enough, you        5       We would prefer to not have somebody work
    6   are out of here, that I can recall. That may have            6 from 8:00 in the evening until 7:00 in the morning and
    7   happened, but usually the hours are the result of            7 never be in the office, so we tried to keep normal
    8   other issues, not the other way around.                      8 working hours, but a very flexible schedule.
    9      Q. So 160, that's roughly 40 hours a week. It's           9     Q. That was going to be a question I had. You
   10   a little bit less because there is slightly more than       10 didn't have set -- when she was the only employee, you
   11   four weeks in a month.                                      11 didn't have set hours that she needed to be there?
   12      A. Yeah, depends on how you look at it, but              12     A. I mean "set" is a vague word. In that
   13   yeah, generally on the average, 22 billable days a          13 context, we wanted them to be there during the workday
   14   month I think is what it works out to, or 21,               14 because that's when I'm working and interaction could
   15   something like that. So however it works out. It's          15 occur better then than in the evenings, and that's
   16   on average eight billable hours of each workday a           16 when meetings would happen and depos and things of
   17   month, yeah.                                                17 that nature, so but there was great flexibility in it.
   18      Q. Okay.                                                 18     Q. So did you have like a Las Vegas
   19      A. Which doesn't translate to eight                      19 phone number?
   20   working hours.                                              20     A. Uh-huh.
   21      Q. Right. No, I understand it. That's                    21     Q. Is that a "yes"?
   22   billable hours they are actually doing work that you        22     A. Yes, we did.
   23   could charge your clients for?                              23     Q. And so would that phone be answered from
   24      A. Correct.                                              24   California if somebody called the --
   25      Q. Okay. All right. And so Amy goes on --                25     A. No.
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    1      Q. -- Las Vegas number?                                    1       Q. Okay.
    2      A. No. It rings direct. And when we were with              2       A. From my experience, you develop better
    3   Mr. Sullivan, it went directly there. As far as I can         3   professionally when you are there during the workday
    4   recall, it's always been set up that way.                     4   handling the things that come into the office during
    5         We have a rollover function. I don't know if            5   the workday and dealing with me and opposing counsel
    6   that's still in place. We did at one point. But the           6   and so on.
    7   phones -- we had a separate phone number and it rang          7       Q. Okay. Topic 7, I just want to make sure we
    8   direct to the office.                                         8   button these things up:
    9      Q. I'm just wondering, with only one employee              9               "General nature, scope and extent of
   10   there, Ms. Buchanan, during a particular period of           10          defendant's business and operations and more
   11   time, and if she's not at the office to answer the           11          particularly with respect to plaintiff's
   12   phone, who answers it?                                       12          employment with defendant."
   13      A. It forwarded to California to pick up and              13           It's a law firm; right? I mean, it's --
   14   take a message for her and relay the message back.           14       A. Correct. It's a litigation firm. During
   15      Q. Okay. Well, and also you were practicing               15   Ms. Buchanan's time, I don't think we did much
   16   here too. So would you get phone calls on your Nevada        16   business consultation, although we do some more of
   17   cases to that number?                                        17   that now. We may have, but it was primarily
   18      A. To the local number here?                              18   litigation and then primarily in employment. I don't
   19      Q. Yes.                                                   19   know that we ever got any real traction on family law.
   20      A. Yes. Most of the time I dealt with my                  20   We did a little bit here and there, but I don't think
   21   cell phone. On a very rare occasion they would call          21   we got much traction on that.
   22   direct to the office, but most everyone has my cell.         22       Q. Okay. So Ms. Buchanan resigned September 2nd
   23      Q. So your office was not really one where you            23   to go and deal with her medical issues related to her
   24   would expect members of the public to walk in; right?        24   back injury, I think, and the other items that we
   25   It would be more by appointment?                             25   talked about; she told you she had headaches and had
                                                          Page 42                                                             Page 44
    1      A. Yeah. I mean, I've never had a situation                1   trouble focusing and concentrating, had fatigue, but
    2   where we had just that type of sidewalk traffic coming        2   at some point she comes back to work for you. How did
    3   in. It's always by appointments for as long as I've           3   that happen? How did that come about?
    4   practiced.                                                    4       A. I don't recall specifically. I would assume
    5      Q. Or like if a runner was bringing you, you               5   at some point she had indicated that she had her
    6   know, papers to serve on the office, if she wasn't            6   surgery and she was ready to try and come back, but
    7   there, then there wouldn't be anybody to receive it,          7   she had limited -- she was going to have to work on a
    8   or is it do you have like an executive office setup?          8   limited basis. We had a need at that point -- I know
    9   What happens if people show up with papers if nobody          9   Mr. Forster still was with us. We were well into the
   10   is there? Is there like a central reception?                 10   Eldorado cases and we needed help.
   11         MR. ORTUNO: Object to form.                            11          So I don't remember -- I can't -- I don't
   12         THE WITNESS: Yeah, today it's different. So            12   remember who reached out to whom first. I'm assuming
   13   I would be speculating on if that even happened back         13   she reached out to us and we discussed it and said,
   14   then. I don't recall that ever being an issue --             14   well, let's try 50 percent and see if that works, that
   15   BY MR. KEMP:                                                 15   gets you back in, it gets us some help, and we'll see
   16      Q. Okay.                                                  16   if it can work.
   17      A. -- to be honest. I don't recall that having            17          MR. KEMP: Okay. We'll make this Exhibit 8.
   18   been an issue, so I don't have an answer for you.            18          (Exhibit 8 was marked for identification.)
   19      Q. Suffice it to say, you didn't tell her she             19          MR. KEMP: So Exhibit 8 is a
   20   had to be there between 9:00 a.m. and 5:00 p.m. every        20   one-page document, it ends in defendant's Bates stamp
   21   day?                                                         21   1376, e-mail, Wednesday, 30 November 2016, from
   22      A. She didn't punch a clock, but we wanted her            22   Amy Buchanan to Dan Watkins, subject "Tentative
   23   there between 9:00 and 5:00 if she could be there,           23   Schedule/Availability."
   24   because that's when the workday is happening for             24       Q. Do you remember getting this e-mail?
   25   everybody.                                                   25       A. Again, I don't recall it coming in. I do
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  Daniel R. Watkins, Esq.                                                      Amy Buchanan v. Watkins & Letofsky, LLP
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    1 recall, as I read this, it reminds me of our                   1      A. You did.
    2 conversation that she said she wanted to come back but         2      Q. It looks like Susan then responded to you on
    3 there were going to be limitations, and I said you             3   October 4th -- I'm sorry. This was taken from an
    4 need to let me know what they are. So this would be            4   archive. Looks like she responded to you on 30
    5 her responding in that respect, saying this is what I          5   November 2016, to both you and Brian Letofsky, saying
    6 would like to try.                                             6   $65,000. Is that right?
    7       So I recall the general gist of the subject              7      A. Yes.
    8 of the e-mail.                                                 8      Q. Okay. So she's going to come back, she's
    9      Q. Okay. It says specifically:                            9   going to work half time, 20 hours a week during a
   10            "Hi, Dan. Per our conversation, I'm                10   Monday through Thursday, and she's going to be paid
   11        proposing a part-time work schedule of                 11   half of what she was being paid before. Is that how
   12        20 hours per week Monday through Thursday. I           12   it was going to work?
   13        could start as early as Monday, December 5th.          13      A. Correct.
   14        As of now, I'm not available December 9th and          14      Q. Okay. No bonus opportunity, though. Why
   15        have an appointment the morning of                     15   would that be?
   16        December 12th. I'll be out of town during              16      A. We had just started -- well, actually we had
   17        the last week of December but I'm sure I               17   done it in the past, I don't think we had just
   18        could get some work done remotely."                    18   started, where we had gone to like a half schedule for
   19        Did I read that correctly?                             19   associates of maybe once or twice per year. We tried
   20      A. You did.                                              20   that in California. The bonus is not provided on the
   21      Q. Okay. And so did you agree with this                  21   minimum billables going to half because it would be
   22   proposed schedule, this 20 hours a week working Monday      22   wholly unfair to allow an employee to say they are
   23   through Thursday?                                           23   going to go half time and then bill a regular schedule
   24      A. We did.                                               24   and get the bonus. It would be unfair to the other
   25        MR. KEMP: Okay. This is Exhibit 9.                     25   associates.
                                                         Page 46                                                        Page 48
    1          (Exhibit 9 was marked for identification.)            1        So when we placed employees on reduced
    2         MR. KEMP: Exhibit 9 is two pages. It's got             2   schedules, they couldn't satisfy the 480 quarterly
    3   defendant's Bates stamp 1362 and 1363. At the bottom         3   requirement. Therefore, there would be no bonus. We
    4   is the e-mail that we just went over in Exhibit 8.           4   didn't adjust the bonus requirement of 480 or 495
    5   Sorry for the duplication. I probably could have             5   downward because we didn't think that would be fair.
    6   gotten away with just one of these.                          6      Q. Because she really wasn't expected to work
    7      Q. The top e-mails, there's one from you to               7   more than 20 hours?
    8   Brian Letofsky with a CC to Susan Watkins on                 8      A. Yeah, by virtue of the minimum schedule or
    9   November 30th, 2016, "Tentative                              9   the reduced schedule they could never meet the minimum
   10   Schedule/Availability." Looks like you forwarded the        10   billables.
   11   e-mail from Amy with her proposal.                          11      Q. Okay. Did you speak with Amy about that,
   12         Do you remember doing this and discussing it          12   about the fact that there would be no bonus
   13   with Brian and Susan?                                       13   opportunity?
   14      A. I don't remember sending the e-mail. I do             14      A. I'm sure I did. That's what I relay to them
   15   remember discussing it with them, but I don't deny          15   in the conversation.
   16   that I sent it. This would be how I would handle            16      Q. Okay. I mean, I know you are saying you are
   17   things. I just don't specifically recall.                   17   sure you did, but do you have a specific memory of
   18      Q. Okay. So it says:                                     18   discussing that with Amy?
   19             "Brian, this is Amy's proposal regarding          19      A. No. I don't have a specific memory of
   20         work schedule. With her proposed schedule,            20   discussing her coming back either, but I know she did,
   21         we would have her on half time. We would set          21   and I know how we did things. So if you are asking
   22         her up with half minimums but no bonus                22   me, I would have talked to them, but I don't have a
   23         opportunity. You good with this? Susan, can           23   specific memory of that, and I would have talked to
   24         you tell me Amy's salary when she left?"              24   her.
   25         Did I read that correctly?                            25      Q. Okay. Just to follow up on that briefly,
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  Daniel R. Watkins, Esq.                                                       Amy Buchanan v. Watkins & Letofsky, LLP
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    1 what specifically do you remember about conversations,          1 the time, the days that she was going to work; right.
    2 or do you not remember any conversations specifically           2        MR. KEMP: Okay. Tell you what. We've been
    3 at all but just know that they happened because of              3 going about an hour. Good time to take about a 5- to
    4 these e-mails?                                                  4 10-minute break. Okay?
    5      A. Are you talking about all conversations?                5         THE WITNESS: Okay.
    6      Q. Specifically about her coming back around the           6         MR. KEMP: Let's go off the record.
    7   end of November.                                              7         (Recess taken.)
    8      A. Yeah, I don't have a specific memory of any             8         MR. KEMP: Let's go back on the record.
    9   of that other than a vague, vague, foggy memory of a          9      Q. I'll remind you you are still under oath.
   10   phone to my ear and talking to Ms. Buchanan about            10   Okay?
   11   several issues. I mean, I know we talked a lot on the        11      A. Yes.
   12   phone. But any specific conversation, I really don't         12      Q. All right. So when Ms. Buchanan came and
   13   have any on the subject we've talked about so far.           13   asked you -- or not when she came and asked you, but
   14         MR. KEMP: Make this Exhibit 10.                        14   when you and she discussed coming back at this
   15         (Exhibit 10 was marked for identification.)            15   50 percent time, that she was going to work the
   16         MR. KEMP: Exhibit 10, we've got two pages              16   20 hours a week, four days a week, five hours a day,
   17   ending in defendant's Bates stamp 1311, 1312, e-mails        17   did you and she talk about any other ways in which the
   18   from December 14th, 2016. The first one in time is at        18   firm might be able to accommodate her for her issues
   19   the bottom of the page marked 1311 from Susan Watkins        19   she was having?
   20   to Dan Watkins, December 14th, 2016. "Can you tell me        20      A. Well, what issues?
   21   the terms of her employment?" The subject was                21      Q. With her health, the fact that she had to go
   22   "Amy Buchanan." It says, "Can you tell me the terms          22   out for surgery, that she was having problems with
   23   of her employment?"                                          23   this back injury, headaches, problems focusing,
   24      Q. Do you recall getting this e-mail from Susan?          24   problems concentrating, problems with fatigue.
   25      A. No, not specifically.                                  25      A. Not that I recall. The issue for her was
                                                           Page 50                                                         Page 52
    1     Q. Any doubt that you got it from Susan?                    1   that she needed less stress that would help with the
    2     A. No. It's what she usually sends. It's the                2   fatigue, the headaches, the focus, the concentration.
    3 type of e-mail I get when somebody starts.                      3   So less time created a better product, and less issues
    4     Q. Okay. And so then it looks like you                      4   with that, with those medical conditions.
    5 responded to her, "her" being Susan, you responded to           5      Q. And working fewer hours was going to help
    6 Susan, with a CC to yourself, Brian Letofsky, and               6   with that?
    7 Nancy Letofsky, Wednesday, 14 December 2016 at 10:03:           7      A. Yes.
    8           "Amy is working at same salary she had                8      Q. Okay. But did she tell you she needed
    9       before she left. I can't recall what it was.              9   anything else to help accommodate that, is my
   10       But she is working at 50 percent, 4 days a               10   question.
   11       week, at 5 hours a day. Her first day back               11      A. No. Did she ask for additional
   12       is 12/5. We need her back on the E&O                     12   accommodations, no.
   13       insurance if she was taken off. Thanks,                  13      Q. The only accommodations she sought was to
   14       Dan."                                                    14   work fewer hours?
   15       Did I read that correctly?                               15      A. Yes.
   16     A. You did.                                                16      Q. Okay. Going a little bit broader, at any
   17     Q. Okay. Do you remember sending that e-mail to            17   time that she was working for you, did she ever ask
   18 Susan, Brian, and Nancy?                                       18   for any other accommodations other than a reduced
   19     A. Not particularly, but I'm sure I did.                   19   schedule?
   20     Q. Okay. And that accurately reflects the                  20      A. I'm not sure --
   21 terms, the agreement with Amy about what she was going         21      Q. Not just at the time --
   22 to be working coming back, is that right, in terms of          22      A. Not in any formal sense, but there were
   23 the -- that she was going to be working 50 percent,            23   several occasions where she was in the office and she
   24 four days a week, five hours a day?                            24   would have a migraine, so she would take a nap, place
   25     A. It's accurate in terms of her schedule and              25   her head on the table for an extended period, throw
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  Daniel R. Watkins, Esq.                                                      Amy Buchanan v. Watkins & Letofsky, LLP
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    1 up, things like that. So we allowed, obviously, for            1 change in her reduction in hours. But along the way,
    2 that process to go she could leave, she didn't have to         2 Ms. Buchanan kept us informed of her condition. She
    3 stay.                                                          3 informed us of diagnoses even though I never asked for
    4         So in terms of accommodating those symptoms            4 that, but she would give that to us. So she sent
    5   and issues when they came about, we let her take care        5 several different e-mails indicating her condition on
    6   of them, didn't say stay in the office, it's Thursday        6 a particular day involving a migraine or need to go to
    7   and you have to give us five hours. You have a               7 see a doctor and then, as she went through treatment
    8   migraine and you are throwing up in the office; you          8 and sought information and consultation from medical
    9   should probably not have to be there. So to that end         9 providers, she kept us informed. So there was
   10   we accommodated it, but it wasn't a set accommodation       10 actually quite a bit of that communication going all
   11   because it was a, if you need to leave, you need to         11 the way back to when she informed us about the
   12   leave.                                                      12 accident and its impact.
   13      Q. Okay. But you also gave her the option of             13        So there's a lot there. I can't just give
   14   basically taking breaks if she needed to put her head       14 you -- I would not be able to give you a narrative
   15   down?                                                       15 that covered it all.
   16      A. Sure. Never said don't do that.                       16     Q. Do you recall her providing you with any
   17      Q. Okay.                                                 17 doctors' notes?
   18      A. So we didn't have a formal discussion on              18      A. Oh, sure.
   19   accommodations related to rests and migraine breaks         19      Q. I probably have those and we'll probably come
   20   and going home if she's sick, can't focus, but we did       20   to those.
   21   allow for that.                                             21         But did she tell you that she had a diagnosis
   22      Q. Okay.                                                 22   of fibromyalgia, for example?
   23      A. We were trying to find a way to have her be           23      A. So fibromyalgia came up, and I can't recall
   24   in a productive condition when she was in the office,       24   if that's what was ruled out or that was diagnosed.
   25   for her and for us.                                         25   It was in the e-mail. She was trying to get to the
                                                          Page 54                                                         Page 56
    1      Q. All right. And we did talk a little while              1   root cause. I think in that sense it was the fatigue
    2   ago, talked about the back injury, the headaches,            2   that was the main focus, but I don't recall. It's in
    3   trouble focusing, trouble concentrating, the fatigue.        3   an e-mail that she sent to us.
    4   Topic number 9 is asking about the defendant's               4       Q. Okay. We'll probably come to that.
    5   knowledge of -- "knowledge and understanding of              5       A. The fibromyalgia was brought up, and I think
    6   plaintiff's condition or disability and limitations on       6   she was ruling out something else at the time, or
    7   her ability to perform her daily living activities or        7   vice versa.
    8   job duties." Do you have anything -- let me ask you          8       Q. Something about an autoimmune disease?
    9   this way:                                                    9       A. Yes. And I don't know which one was being
   10         Are there any other things that you were              10   ruled out and which one was the diagnosis.
   11   informed of, given knowledge of before her medical          11       Q. I'm sure we'll get --
   12   condition, any diagnoses that she received, anything        12       A. Yeah, it's in there.
   13   that impacted on her daily living activities and            13       Q. We'll come back to that.
   14   ability to do her job?                                      14         This will be our next exhibit. Is this 11?
   15         MR. ORTUNO: I'm going to object as far as it          15         THE REPORTER: Yes.
   16   requires any expert medical testimony.                      16          (Exhibit 11 was marked for identification.)
   17         But go ahead.                                         17         MR. KEMP: Exhibit 11, a one-page document,
   18         MR. KEMP: I'm just asking what he was told            18   defendant's Bates stamp ending in 1371. We have
   19   or what he was informed of.                                 19   e-mails here regarding "Work Schedule."
   20         MR. ORTUNO: Okay.                                     20       Q. Do you recall sending the e-mail to
   21         MR. KEMP: Gained knowledge of.                        21   Ms. Buchanan dated Monday, February 20th, 2017,
   22         THE WITNESS: Sure.                                    22   with copies to Brian Letofsky and Nancy Letofsky and
   23         It's a little -- it's a little overbroad              23   Susan Watkins?
   24   because her time working there consisted of two             24       A. No, I don't recall receiving [sic] it
   25   different parts, and then within that time there was a      25   specifically.
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  Daniel R. Watkins, Esq.                                                     Amy Buchanan v. Watkins & Letofsky, LLP
                                                         Page 57                                                         Page 59
    1      Q. Okay. It says:                                        1 entire time of having enough time to work and do it
    2             "Amy, as we discussed last Friday, I              2 and develop as an attorney was still there, and she
    3         need your proposed work week. I hoped to              3 wanted to do more in terms of time to be productive as
    4         have it today. Please send me the schedule            4 an associate and to develop professionally.
    5         no later than noon tomorrow. Thank you,               5        And the four hours -- five hours four days a
    6         Dan."                                                 6 week wasn't enough time to do the work that we needed
    7         Did I read that correctly?                            7 to have done, so she was asking to stay with this
    8      A. Yes.                                                  8 increased schedule, not that we talked about leaving,
    9      Q. So was this something you were doing week to          9 but to contribute with this increased schedule to 80
   10   week, where you were asking her to provide you with a      10 percent to better address the workflow.
   11   schedule of what her work was going to entail?             11     Q. Okay. So it went from 50 percent to
   12      A. No.                                                  12 80 percent?
   13      Q. What was this about, then? Do you recall?            13      A. Correct.
   14      A. It was about adjusting her work schedule to          14      Q. Okay. And did she approach you to increase
   15   have her do more, to be in the office more.                15   it because she felt like she needed more time to get
   16      Q. Okay. So more generally, just when she was           16   things done, or did you ask her if she could increase
   17   going to be working?                                       17   it so that she could get more done?
   18      A. Yes.                                                 18      A. There wasn't, that I recall, a specific like
   19      Q. Okay. And so then the e-mail here, where it          19   time when she said, hey, I want to increase it. We
   20   looks like she responded to you the next day on            20   talked so much that everything was a general flow. So
   21   February 21st, says:                                       21   I don't recall who brought it up for the first time,
   22             "Hi, Dan. Let's go with Monday through           22   but she clearly wanted to increase the time, and we
   23         Thursday 9:00 to 5:00 p.m. with an hour              23   clearly needed, if she could, to increase the time,
   24         lunch. Also, my back injection has been              24   but I never said you need to increase the time. So it
   25         rescheduled to March 9th, (out all day) with         25   would have been her request to do more.
                                                         Page 58                                                           Page 60
    1         a follow-up doctor's visit March 10th at 3:15         1      Q. Okay. And with the increase to 80 percent,
    2         p.m. If this does not work I need to notify           2   what was going to happen with her pay?
    3         them ASAP as the only other date currently            3      A. It would be a commensurate increase to
    4         available is March 23rd.                              4   80 percent.
    5             "My physical therapy is supposed to be            5      Q. Okay. What about the bonuses? Was she still
    6         twice a week but has been put on hold due to          6   not going to be eligible for bonuses?
    7         insurance reasons. I do not know when it              7      A. Correct.
    8         will take place.                                      8      Q. Did you actually have that discussion with
    9             "There may be changes with a transition           9   her?
   10         in insurance. I will keep you posted once I          10      A. That she would still not be eligible for
   11         have answers."                                       11   bonus? No, I don't recall that.
   12         Did I read that correctly?                           12      Q. When she first came back, I mean, we saw it
   13      A. Yes.                                                 13   in your e-mail in the discussion with Susan, I think
   14      Q. All right. So my understanding was that it           14   it was, that she wasn't going to be eligible for
   15   was around this time, so almost about three months         15   bonus.
   16   after she came back, that she went from working            16        Did you actually tell her that she wasn't
   17   20 hours a week, 50 percent, to more -- which was          17   going to be eligible for the bonuses at that time?
   18   five hours a day Monday through Thursday, to actually      18      A. Which time?
   19   working a full eight hours a day Monday through            19      Q. At the time that you had sent the e-mail
   20   Thursday. Is that right?                                   20   talking about how there would be no bonus
   21      A. There was a transition to an 80 percent              21   opportunities, back on Exhibit 9, this e-mail from
   22   schedule, yes, and this appears to be that.                22   November 30th --
   23      Q. What do you recall about that? What were the         23      A. Yes.
   24   discussions or how did that come up?                       24      Q. -- to Brian with a copy, CC to Susan.
   25      A. The frustration Amy had experienced the              25      A. Yes.
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  Daniel R. Watkins, Esq.                                                      Amy Buchanan v. Watkins & Letofsky, LLP
                                                          Page 61                                                       Page 63
    1      Q. You actually told Amy that she would have no           1 during a migraine, or I can't be in the office today
    2   eligibility for bonuses?                                     2 because I feel sick or whatever. That was never --
    3      A. Yes.                                                   3 let me say it -- she never said, you're making me stay
    4      Q. Do you recall there being any kind of                  4 and I'm sick, you're making me stay and I have a
    5   discussion about the number of hours necessary to            5 migraine, you are making me stay and my back's killing
    6   achieve bonus being adjusted because the person or           6 me, you're making me stay and I'm throwing up. That
    7   persons working in the Las Vegas office had more             7 was never a discussion, because she always had the
    8   administrative duties in that they were basically            8 flexibility to take whatever time off she needed to
    9   running the office?                                          9 address those issues if they came up while she was at
   10      A. No.                                                   10 work. So I'm not sure I understand.
   11      Q. No discussion about how it might only be              11      Q. Well, okay. Let me follow up with this:
   12   150 hours a month to achieve a bonus?                       12         Do you recall her coming to you and
   13      A. No.                                                   13   expressing a concern that, even at the 80 percent, she
   14      Q. Okay. So she goes back and -- or not goes             14   wasn't able to keep her hours to just working the
   15   back, but she comes up to working 80 percent some time      15   80 percent of full-time because of the workload that
   16   late February or early March of 2017.                       16   she had?
   17         Did that -- at some point, did that become a          17      A. There was a discussion that goes back to --
   18   problem? Did she tell you she was having trouble            18   that was similar to the discussion we had in the
   19   working that much?                                          19   September time frame, which was she can't do the work
   20      A. Did what become a problem?                            20   and address the medical issues at the same time and
   21      Q. The fact that she had increased from 50 to            21   she needed -- so there was that how do I do the work
   22   80 percent. Did she raise any issues or make any            22   and address the medical issues, whether it's
   23   complaints or express concerns that she wasn't able to      23   50 percent, 80 percent, and that eventually led to her
   24   keep up with that kind of schedule?                         24   saying that she needed to again go and figure out
   25      A. No, not in that way. That it goes back to             25   what's going on medically and we need to find a new
                                                        Page 62                                                            Page 64
    1 the discussion I had, we talked about earlier where            1   attorney.
    2 young associates are always talking about time                 2      Q. Okay.
    3 management and efficiency to complete the projects             3      A. So I don't know if I'm answering your
    4 that are before them, and so that was an ongoing               4   question.
    5 discussion with Ms. Buchanan, as it is with every new          5      Q. No, I think this next exhibit will help us
    6 associate I can recall working with, and as it was for         6   explore that a little bit more, Exhibit 12.
    7 me.                                                            7          (Exhibit 12 was marked for identification.)
    8      Q. Okay. But specifically with respect to her             8         MR. KEMP: Exhibit 12 is -- it goes from
    9   physical condition, her --                                   9   defendant's Bates stamp ending in 1364 up through and
   10      A. I'm not sure I know what you're -- I don't            10   including 1370.
   11   understand.                                                 11      Q. Take a minute and look through that, and let
   12      Q. Well, I'm just asking, you know, after she            12   me know when you've had a chance to review it.
   13   went to the 80 percent did she come back and say, no,       13         For the record, these are e-mails from May 11
   14   my physical condition is really not allowing me to do       14   and May 12 of 2017.
   15   this, I'm having trouble with this because of my            15      A. (Document review.) It's just the same
   16   physical condition? I guess I'm looking more --             16   chain -- okay.
   17      A. No, I don't recall a connection between               17      Q. Yeah, there may be some duplication.
   18   medical condition and an increase in hours. They were       18      A. Okay. I've looked at it.
   19   always -- there was always -- she could leave and come      19      Q. Okay. I just saw something that made me --
   20   and go as she needed to with those issues, so the           20   that raised a question I had as I looked through the
   21   flexibility to be there at times when she could be          21   documents in the case.
   22   productive was there and it was about managing              22         If you could look at the top of 1368, this --
   23   workflow.                                                   23   at the very top it says "archived Thursday, October
   24         So it was never I can't do the work because           24   24th, 2019, 11:13:13 a.m.," from Dan Watkins to
   25   I'm having a migraine and I have to be in the office        25   Amy Buchanan. There's a hole punched there,
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  Daniel R. Watkins, Esq.                                                       Amy Buchanan v. Watkins & Letofsky, LLP
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    1 unfortunately. I believe it's a CC to Brian Letofsky,           1      Q. Okay.
    2 subject "RE: Update for today."                                 2      A. But I definitely recall the general nature of
    3        Unlike most of the other e-mails, there's no             3   these conversations because it was an ongoing thing
    4 notation of when it was sent. And I noticed in                  4   for pretty much the entire time she was there. It
    5 looking through e-mails that have been produced in the          5   wasn't an everyday and sometimes not an every-week
    6 case, that there are several like that.                         6   thing, but we talked a lot.
    7        Do you have any idea or any explanation as to            7          My concern was for Ms. Buchanan always that
    8 why that particular e-mail doesn't have a sent                  8   she get healthy, so we wanted to help her along in
    9 line that shows a date and time it was actually sent?           9   that process as best we could because I wanted her to
   10      A. I don't.                                               10   be a successful litigator and she had her entire
   11      Q. I noticed maybe four or five, half a dozen,            11   career in front of her and it wasn't going to happen
   12   when going through the e-mails preparing for the             12   in a six-month period of time, she was going to need a
   13   deposition, that there were some that were like that,        13   career to reach her potential. So we wanted her
   14   that just didn't say when they were sent.                    14   healthy. So that discussion we had all the time.
   15         MR. ORTUNO: Let me say this. I did put                 15          Specific to the e-mail on page WLLLP 1364,
   16   together the discovery and I did notice that myself,         16   the one at the top, I do recall our discussion at
   17   and I'm not really exactly sure. It might have been          17   about that time that the accommodations were not
   18   part of the archiving process. But we could probably         18   really anything that she was interested in at that
   19   dig back and figure out which ones if you have ones          19   point because it was frustrating even on a reduced
   20   that you're concerned with.                                  20   schedule, it just wasn't fitting, the workload was too
   21         I assumed, because there's like date stamps            21   much and it wasn't a fit and she wanted to go and try
   22   on the ones around them, that it would be pretty easy        22   and get things taken care of.
   23   to figure out. But I'm sure we could probably dig up         23          There was a mystery, and I think if we go
   24   actual e-mails that did have the to and from. My             24   back, she received a call of concern about an issue.
   25   assumption was that it happened within the archiving         25   So we go from the normal way of doing -- you know,
                                                           Page 66                                                           Page 68
    1   process or something like that.                               1   with her headaches and focus and migraines and things
    2         THE WITNESS: Yeah, I don't know the answer              2   like that, and then she gets this alarming call. And
    3   to the question.                                              3   I remember that time period because we were alarmed
    4   BY MR. KEMP:                                                  4   too. I mean, I wanted her to figure these things out
    5      Q. No, I didn't know if you would or not. I                5   for her.
    6   wanted to point it out and see if you had any idea,           6         So she gets this call which is alarming to
    7   but apparently not. So okay.                                  7   her, and I think it just caused her to say, all right.
    8         All right. Getting back to the main point               8   I got to get to the bottom of what's going on, and she
    9   here, so this e-mail chain appears to be where                9   felt it was best to remove herself from the
   10   Ms. Buchanan is telling you that she's had updated           10   environment, help us find someone else for the time
   11   news from her doctor's office and now she's concerned        11   being, and then we can re-connect when she figures
   12   about whether or not she's going to be able to               12   things out.
   13   continue or continue at the same level or go out on a        13      Q. So for the record, the call of concern was
   14   break.                                                       14   from her primary care doctor, is what the e-mail says.
   15         What do you recall about -- first of all, do           15   Right?
   16   you recall these e-mails or having these discussions         16      A. Yes, sir.
   17   with Ms. Buchanan, and so, you know, what else do you        17      Q. Thursday, May 11th, 3:44 p.m.
   18   recall other than what's in the e-mails here?                18      A. Yeah, that e-mail, the reference is on WLLLP
   19         MR. ORTUNO: Object to form.                            19   1365.
   20         THE WITNESS: That's pretty compound, but let           20      Q. Yes. Okay.
   21   me try and break it down for you.                            21      A. So that heightened, I think, her sense of
   22   BY MR. KEMP:                                                 22   concern about things and a sense of urgency to get to
   23      Q. Sure.                                                  23   the bottom of it, and that was the precursor to her
   24      A. I don't recall specifically receiving and              24   e-mail.
   25   sending the e-mails.                                         25      Q. And then you responded that night, it looks
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    1 like:                                                       1 step back and focus on my health. My gut tells me
    2             "I am sorry to hear that and I hope you         2 we'll need to look for another attorney, and what I
    3         are okay. Please let me know if we need to          3 can do" -- wait. Let me read that again -- "and, what
    4         make any accommodation at work. Thank you."         4 I can do is something to be figured out."
    5         Did I read that right?                              5      A. Then she says, "I wish I had better news."
    6      A. Yes, sir.                                           6      Q. Oh, yes, "I wish I had better news.
    7      Q. And then on May 12 is when --                       7   Sincerely, Amy." Okay.
    8      A. And just so you -- I mean, I think it's             8         Did you have any other conversations with her
    9   important to point out that e-mail was sent out at        9   about looking for another attorney to work in the
   10   11:43, so I highlight that to let you know that I did    10   office?
   11   care and I was trying to work and I wanted what was      11      A. I don't recall specifically on that subject.
   12   best for her such that I was addressing this stuff way   12      Q. Did you have any conversations with her
   13   late in the evening so that it didn't get wasted or      13   whether or not she was going to quit or she wanted a
   14   had to delay. I knew it was important for her to get     14   leave of absence or what was going to happen with
   15   to the bottom of it.                                     15   that?
   16      Q. Okay. All right. So the next morning is            16      A. Well, we talked about this (indicating),
   17   Friday, May 12th, and I note that because she was only   17   so -- and I think it's clear that she needs time off
   18   supposed to be working Monday through Thursday; right?   18   from work, so that's what we talked about.
   19      A. Sure.                                              19      Q. Okay. Did you talk about any other
   20      Q. But there she is working on Friday, May 12th.      20   accommodations? I mean, you had mentioned in your
   21      A. She's sending me a personal e-mail updating        21   previous e-mail the night before let me know about any
   22   me on her condition, if that's what you call that        22   accommodation at work.
   23   work.                                                    23      A. No. We just talked about -- she didn't bring
   24      Q. Okay. Were these e-mails received by you           24   it up, so I'm assuming we didn't talk about it. We
   25   from her personal e-mail account or from her work        25   talked about this e-mail, which was pretty certain to
                                                     Page 70                                                             Page 72
    1 e-mail account?                                             1   me that she needed to take a step back, and I wasn't
    2       A. I don't know. It just says "Amy Buchanan."         2   about to try and talk her out of that because she
    3       Q. When you responded to her, were you                3   wanted to focus on her health.
    4   responding to the 11:43 p.m. when sending it to a         4      Q. Was there any discussion about her going back
    5   personal e-mail account, or you were responding to a      5   to maybe just working the 50 percent hours or some
    6   work e-mail that she sent you?                            6   other reduced schedule?
    7       A. I don't know. The first e-mail in the chain        7      A. No, I don't recall that at this time. I
    8   just says "Amy Buchanan." So I don't know where that      8   think we had moved past that. We talked a lot about
    9   came from.                                                9   different types of configurations of scheduling and
   10       Q. Do you recall whether or not you were in the      10   such. I think at this point it was pretty set that
   11   habit of sending e-mails to any e-mail other than her    11   she needed to move away from law for a bit, but...
   12   work e-mail?                                             12      Q. Okay. Because just the one sentence here
   13       A. Whichever one she sent from I would respond       13   "and, what I can do is something to be figured out."
   14   to.                                                      14      A. Correct. A complete unknown.
   15       Q. Okay. All right. So on Friday, May 12,            15      Q. Did you all take any steps or have any
   16   2017, 10:53:46, she lets you know that she's been        16   discussions on trying to figure that out, what she
   17   having a lot of chronic pain and fatigue, frequent       17   might be able to do?
   18   headaches, migraines, cognitive difficulties, etc.,      18      A. No, other than confirming that she was going
   19   "and still no relief after all the meds and treatment    19   to see healthcare providers who were specialized in
   20   I've tried. Another surgery has been recommended but     20   that field, there wasn't much I thought I could do to
   21   I've been insistent this is not the answer. It was       21   figure that out. I read that as what she can do is
   22   finally realized that I may have something else going    22   something to be figured out, meaning she needs to go
   23   on and had some tests done. One came back positive.      23   through the medical evaluation process and determine
   24   I'll be doing follow-up to help get a definitive         24   what she can do, and that's the way we discussed it.
   25   answer. All I know at this point is I need to take a     25      Q. So did she go out on a leave of absence?
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    1      A. We called it an indefinite leave of absence;           1 Maybe we had Blue Cross Blue Shield out here. We had
    2   correct.                                                     2 different health insurance out here. I think it might
    3      Q. Okay. And do you recall when that started?             3 have been Blue Cross Blue Shield.
    4      A. I think there is another e-mail shortly after          4     Q. Did your plan allow you to have persons on
    5   this that references that. So it would have been in          5 the plan who were not employees of the firm?
    6   May somewhere.                                               6     A. I don't know. I don't know how they defined
    7      Q. Okay. That may be the next e-mail I have.              7 "employee." I don't know how they defined "covered
    8   Let's make this Exhibit 13.                                  8 person," because family members can be covered and
    9          (Exhibit 13 was marked for identification.)           9 they are not employees. So I don't know how that was
   10   BY MR. KEMP:                                                10 defined.
   11      Q. Did you consider -- when you asked about              11     Q. Only family members of employees, though;
   12   accommodations at work, did you consider putting her        12 right?
   13   on a leave of absence, did you consider that to be an       13      A. I don't know. I've never looked at the plan.
   14   accommodation?                                              14      Q. Okay. You don't know -- most plans, you
   15      A. No.                                                   15   would have to have an employee or employee's
   16      Q. No?                                                   16   dependents, you couldn't put your next-door neighbor
   17      A. It depends what you mean by "accommodation."          17   on your company's insurance plan without them being an
   18   She is telling me she needs to step back from work and      18   employee, but you don't know whether or not that was
   19   we need to find a new attorney. Ms. Buchanan had            19   the case for your insurance plan?
   20   concerns about medical insurance and needing medical        20         MR. ORTUNO: Objection. Asked and answered.
   21   insurance.                                                  21         THE WITNESS: Yeah, I don't know what you
   22      Q. Sure.                                                 22   just said and if that is true or not true. To the
   23      A. So we left her in a position, we put her into         23   extent that she needed to be defined however she
   24   a position where she could continue to receive those        24   needed to be defined for the health insurance, that's
   25   medical insurance benefits without having to do any         25   what we were doing.
                                                          Page 74                                                              Page 76
    1   work. So I guess in that sense, yes, she still was --        1 BY MR. KEMP:
    2   we left her on payroll so she could get medical              2     Q. Okay. Did you consider her to still be an
    3   insurance, not knowing if she was ever coming back.          3 employee of the firm after she went out on this leave
    4         So I didn't see it in the sense of                     4 of absence?
    5   accommodation with a known adjustment to the work            5     A. To the extent that she needed to be an
    6   environment and a known return date, which is what you       6 employee for health insurance, yeah.
    7   would want with an accommodation. It was more of a           7     Q. Okay. At what point did she stop being an
    8   she wanted health insurance and that was the way to          8 employee?
    9   get it for her.                                              9     A. I don't know. We never terminated her, if
   10      Q. Okay. So you left her -- she maintained her           10 that's what you are asking me. It's an interesting
   11   status of an employee of the firm?                          11 question.
   12      A. She stayed on payroll. So I don't know what           12     Q. Okay. All right. I'm sorry. I digressed a
   13   that means in terms of an employee versus --                13 little bit.
   14      Q. Well, this was -- I'm sorry. I didn't mean            14        We'll go back to Exhibit 13 now, which is a
   15   to cut you off.                                             15 one-page document that's got defendant's Bates stamp
   16      A. That's all right. She was on an indefinite            16 1300, and this was an e-mail from Amy Buchanan to
   17   leave of absence. So she was on payroll. Those are          17 Dan Watkins, Wednesday, 28 June 2017, subject "Medical
   18   the two things that I know.                                 18 Update." It says:
   19      Q. Okay.                                                 19               "Hi, Dan. This past month's been pretty
   20      A. I don't know legally if she was an employee           20        rough between a bad cold/sinus infection,
   21   or not, to be honest.                                       21        another urgent care visit, and bad
   22      Q. What health insurance plan did you have at            22        side effects from meds and acupuncture. Good
   23   that time?                                                  23        news is I don't have an autoimmune disease as
   24      A. Oh, gosh, I don't know. We had Health Net at          24        suspected. Bad news is I have fibromyalgia
   25   one point, but I don't know if that was in California.      25        and low T3, the culprits behind my chronic
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    1         pain and fatigue. There's no cure. It's a              1   was at and other things to do with a law degree, we
    2         matter of trying to manage it. I see my                2   had considerations like that on occasion.
    3         neurologist and pain management doctors this           3         So I do recall that generally, but not any
    4         week, and I'm waiting to see a doctor who              4   one conversation in particular.
    5         practices osteopathic medicine next week.              5      Q. What about this, sort of toward the end of
    6              "As for work, I feel I'm at a loss. I             6   here, where she says "being part-time doesn't seem
    7         know I can't consistently perform all the              7   possible"? What do you recall about discussions or
    8         firm's requirements/expectations as a                  8   communications about further part-time work?
    9         full-time associate, and being part-time               9      A. I don't recall anything specific other than
   10         doesn't seem possible. Let me know what your          10   that's probably an accurate impression that she had.
   11         thoughts are. Best, Amy."                             11      Q. I'm sorry. I couldn't tell if you were
   12         Did I read that correctly?                            12   saying "inaccurate" or "accurate."
   13      A. Yes.                                                  13      A. Accurate.
   14      Q. Okay. I don't recall seeing -- and it might           14      Q. It is accurate what she was saying about
   15   just be that I missed it. Do you recall, first of           15   part-time wasn't going to be able to work out?
   16   all, getting this e-mail from Amy, reading it?              16      A. Correct.
   17      A. Not specifically, but again I don't doubt             17      Q. Well, what were your feelings about the
   18   that she sent it.                                           18   part-time option?
   19      Q. Okay. Do you recall any kind of response to           19      A. There wasn't much -- by this point we were
   20   this, whether you spoke with her on the telephone,          20   pretty busy and there was not much of a place for
   21   sent her a text message, sent her another e-mail, any       21   part-time employee or a part-time associate. There
   22   way in which you communicated back to her regarding         22   was just too much work. And a person who can only
   23   this subject matter?                                        23   work four hours a day or five hours a day may not be
   24      A. I don't remember the method of communication.         24   able to go to a depo because they've got to leave in
   25   If there is no e-mail, I'm assuming I didn't send one.      25   the middle of the depo or they may not be able to go
                                                          Page 78                                                        Page 80
    1   I prefer to call, so that's what I'm assuming I did.         1 to court or to mediation or to arbitration, so we
    2         I do recall conversations about autoimmune             2 wanted a situation where the associates managed their
    3   disease versus fibromyalgia because I remember               3 files top to bottom.
    4   initially, when it was autoimmune disease, that was a        4       Mr. Forster at this point was working
    5   possibility that was concerning for her.                     5 diligently on the Eldorado matters and didn't have
    6      Q. There's an e-mail that mentions autoimmune             6 much time to do extra and overflow, so we needed
    7   disease.                                                     7 someone to manage a file top to bottom. That included
    8      A. This one here, or previously?                          8 being able to work the files and make appearances and
    9      Q. No. It's subsequent to this where you wrote            9 go to places and do things that would sometimes
   10   back saying, well, good news about it not being             10 require more than five hours of time a day, and so it
   11   autoimmune disease.                                         11 was going to be really difficult.
   12      A. There you go.                                         12       When we first started it we were willing to
   13      Q. I'm sure we'll come to that.                          13 give it a try because I wanted to see Amy succeed, I
   14         But what else do you recall about                     14 wanted her to help with us, and if we could help her
   15   conversations regarding the subject matter?                 15 grow as an attorney, that would be good, and we wanted
   16      A. That it was good in that she was now needing          16 to see if the part-time thing could work, and it just
   17   to figure out how to deal with this fibromyalgia and        17 was really hard to manage that.
   18   low T and it seemed to have its own complications, and      18     Q. So by this point, June of 2017, Mr. Forster
   19   she was in a holding pattern to figure out how she was      19 was still there; is that right?
   20   going to be able to handle it and manage it and             20     A. I'm pretty sure he had started by then.
   21   whether even law and practicing as a lawyer was going       21 Again, I didn't look that up, but -- yes, he was
   22   to work in the context of all of that.                      22 there -- wait. She had left in May; right? Okay,
   23         So we talked about those types of things just         23 yes, he was there.
   24   in a general sense, not with respect to our firm, but       24     Q. Okay.
   25   just generally, the demands of law versus where she         25     A. Yep.
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                                                        Page 81                                                               Page 83
    1      Q. Was there anybody besides Mr. Forster working          1 and it shows, I believe, people that are, you know,
    2   there by the summer of 2017?                                 2 working, looks like a company roster; right? And then
    3      A. No, no -- well, myself and Mr. Letofsky, we            3 it mentions former staff members at the bottom, and
    4   were there very frequently during that time frame.           4 Amy Buchanan is listed among those former. There's no
    5      Q. All right. But had the firm hired                      5 date on it, so I'm not sure what the...
    6   anyone else?                                                 6       MR. ORTUNO: Yeah, I want to object just to
    7      A. Attorney-wise, no.                                     7 say that I don't believe this is in our disclosures, I
    8      Q. Or what about support staff-wise, to work in           8 don't think I've ever seen this document before. I
    9   the Las Vegas office specifically?                           9 could be mistaken, but I --
   10      A. I don't recall when Ms. Kachermeyer started.          10         THE WITNESS: I don't see a date.
   11   It might have been around this time frame.                  11         MR. ORTUNO: -- just wanted to put that out
   12      Q. Okay.                                                 12   there.
   13      A. It was probably shortly after Ms. Buchanan            13         THE WITNESS: Yeah, I don't know, in terms of
   14   left in May. It might have been -- is this June --          14   dating.
   15   yeah, she might have been on, working then.                 15         MR. KEMP: I have to go back because I think
   16      Q. Okay.                                                 16   there was, in the supplemental initial disclosures
   17      A. I think as a stopgap we found someone who was         17   that came on November 5th, a mention of this document
   18   a paralegal that could be trained pretty quickly. So        18   and the date, but I'd have to go back and look for
   19   I think Ms. Kachermeyer started around that time. We        19   sure.
   20   had handed a bunch of the files to Ms. Naleway to           20      Q. But -- so I was just wondering, based on your
   21   transition and sit in the California office, but            21   recollection and knowledge, at what point did
   22   Ms. Naleway couldn't perform any work on those because      22   Amy Buchanan become a former staff member?
   23   she's not licensed in Nevada.                               23      A. Well, as I'm looking at this, it refers to
   24      Q. Ms. Naleway, would you spell that?                    24   Amy reassigned as of 9/1, those are her files, "due to
   25      A. N-a-l-e-w-a-y.                                        25   medical reasons, refer calls to Dan." My guess is
                                                          Page 82                                                             Page 84
    1       Q. Do you have a first name for her?                     1 this talks about the Sean Sullivan office, so at least
    2       A. Nicole.                                               2 until June of 2016.
    3       Q. Nicole, okay.                                         3          So my guess is this is in reference to that
    4       A. So we needed somebody to be able to help              4 time period when she left in September of 2016. Some
    5   process, file documents and things of that nature. So        5 of these names go way back.
    6   it would have been around this time that                     6     Q. Okay. So you think this would have been
    7   Ms. Kachermeyer started, I'm pretty sure.                    7 after -- okay. So after she resigned on 9/1?
    8       Q. So before we go any further, then, I want to          8     A.   Yeah.
    9   just -- we kind of started talking about the topics          9     Q.   Okay. But before she would have come back?
   10   that are roughly numbers 2 through 5 in the deposition      10     A.   Correct.
   11   notice.                                                     11     Q.   Okay. All right. That explains that.
   12         So at this second period, after she comes             12         But do you have a similar list now that shows
   13   back in December of 2016, she works up through into         13   her as being a former employee?
   14   May of 2017, and then goes on this what you have            14      A. No. I haven't seen an updated roster in a
   15   termed an indefinite leave of absence because of her        15   long time, and I don't think -- I'm surprised that we
   16   health.                                                     16   had former employees listed there. I'm not sure why
   17         When did you stop reporting her as being an           17   we would have done that.
   18   employee of the firm?                                       18         But this isn't something I prepared. I think
   19       A. What do you mean by "reporting"?                     19   this is more of a sheet that Susan Watkins prepares
   20       Q. Well, I mean -- make this Exhibit 14.                20   for her own reference related to payroll and some of
   21          (Exhibit 14 was marked for identification.)          21   the payments that we had been making, things of that
   22   BY MR. KEMP:                                                22   nature. So I don't know that we have a current one
   23       Q. Exhibit 14 is plaintiff's number 10129. I            23   like this, I don't think we do, where it references
   24   did see this, I think, in your disclosures as well.         24   former employees.
   25   It's "Watkins & Letofsky, LLP Company Information,"         25      Q. Okay. So you --
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    1      A. That wouldn't serve any purpose for me, so I            1       A. No, I don't. I'm surprised. I'm looking at
    2   don't have one.                                               2   these. I don't remember Ms. Habibi or Everson or
    3      Q. Okay. Do you know why these -- on the former            3   Mr. Na leaving before Ms. Buchanan. That's odd. So I
    4   employees it's got initials. I believe "DRW" is you,          4   don't know. I really have no clue.
    5   "BSL" is Mr. Letofsky, and I don't know who "ED" is,          5       Q. Okay. I don't see Eran Forster listed here,
    6   but there's like -- it just mentions these.                   6   so -- and I think my information is Mr. Forster
    7         Is that who the primary supervisor was of               7   probably started around October of 2016, like shortly
    8   these people? That's what it seemed like to me.               8   after Ms. Buchanan resigned.
    9      A. Yeah, that's how we generally did it. I'm               9         Does that refresh your recollection? Do you
   10   trying to see if there is anyone that's not --               10   remember? Before you said you couldn't remember --
   11   (Document review.) Oh, that's Evie.                          11       A. Oh, in terms of when he started?
   12         Yes, that's what it generally refers to.               12       Q. Yes.
   13   There were two non-attorneys in here. Evie doesn't           13       A. That makes sense. If Ms. Buchanan left in
   14   have one listed, so she would have been supervised by        14   September and you are telling me that you have
   15   both Brian and myself, Mr. Letofsky, and then Katrina        15   information it's October, I wouldn't dispute that. I
   16   McIntosh was Mr. Letofsky's secretary.                       16   seem to recall that Ms. Buchanan introduced me to
   17         So yes, that's who their direct supervisor             17   Mr. Forster, and that was kind of how that connection
   18   was. I use that loosely, though, because in the              18   was made. So that would make sense, in her
   19   context of working with associates, Mr. Letofsky can         19   transitioning out, we met and he agreed to work for
   20   and does talk to associates working on my files to           20   us.
   21   assist them in roundtables and things like that and I        21       Q. And since he doesn't appear on the list here,
   22   do the same to his, so...                                    22   I mean, it might make some sense that this was done
   23      Q. Sure. It makes sense.                                  23   sometime in September before he arrived in October?
   24      A. But, yeah, in terms of who they are going to           24       A. Well, I don't know if this list was intended
   25   go to for the immediate question, that would be              25   to capture Nevada, but he's not on the list. So --
                                                           Page 86                                                           Page 88
    1   probably a correct assignment.                                1      Q. But the Las Vegas office is listed and it
    2      Q. Okay. Of the people that are listed in the,             2   talks about Amy and it lists Amy as a former staff
    3   for lack of a better term, the chart or the box up            3   member, so...
    4   here --                                                       4      A. That's true. Like I said, I don't know what
    5      A. Right.                                                  5   the intent was. I didn't draft this.
    6      Q. -- are any of those people no longer working            6      Q. Okay.
    7   with you now?                                                 7      A. But it would -- wouldn't surprise me if
    8      A. Mr. Mousmoules, Ms. Hagerty, Ms. Askander,              8   Mr. Forster came on shortly after that.
    9   Ms. Dilts, Ms. DiVincenzo, Ms. Gallardo, those have           9      Q. Okay. Amy wasn't terminated from her job for
   10   all moved on.                                                10   any misconduct or poor work performance, was she?
   11      Q. Okay. For the record I'm going to ask, do              11      A. Correct.
   12   you remember when those people moved on?                     12      Q. Okay. And to the extent that Amy's
   13      A. No, I don't.                                           13   employment did end, what would you assign as being the
   14      Q. Any of the former staff members, do you                14   reason for that?
   15   recall when any of those people left the firm?               15      A. She needed to go get medical treatment.
   16      A. Sometime after Ms. Buchanan went out in                16      Q. All right. Did you consider that she
   17   September 2016, is about the best I can tell you.            17   resigned, or did you terminate her employment?
   18      Q. All right. Okay. So the people that are in             18      A. Neither. We didn't terminate her at that
   19   the box up here (indicating), they would have been           19   point and I didn't sense that she was resigning. She
   20   after September 1st -- 2nd, 2016, actually, her              20   was going to go see if she could get some treatment
   21   resignation date.                                            21   and figure out what was going on and work her way back
   22      A. Okay.                                                  22   into practicing law and if that was going to be a good
   23      Q. But the people at the bottom that are listed           23   fit going forward.
   24   as former staff members, do you remember when any of         24      Q. Okay.
   25   those people left? I don't expect you to have --             25      A. There was no -- it was an unknown. I mean,
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    1 her last sentence in that e-mail states very clearly           1 discrimination, Nevada Equal Rights Commission had,
    2 where we were with it, what's left for her in the              2 September 4, 2018.
    3 future remains to be seen; that's how I felt about it          3     Q. Is this the charge that you were speaking
    4 when she left.                                                 4 about?
    5     Q. Right. That was on --                                   5     A. Well, there was additional documents, because
    6     A. Whichever one it was.                                   6 the EEOC made a decision on it and sent those things
    7     Q. I think it was 12, actually.                            7 as well. But yes, this is part of that.
    8     A. Yes. So when she went on leave, that last               8      Q. Right. The EEOC would have done that later.
    9   sentence "and what I can do is something to be figured       9   This was dual-filed with the Nevada Rights Commission
   10   out" is where we left it. Very vague.                       10   and the EEOC, is my understanding of it. It's got --
   11     Q. All right. So from your perspective, there             11      A. And I was using it interchangeably. There
   12   was no conscious decision to terminate her employment?      12   were additional documents related to this charge, but
   13     A. Right.                                                 13   this is part of that, yes.
   14     Q. Okay.                                                  14      Q. Right. This is the EEOC form 5 that they
   15     A. Well, by me.                                           15   used for the formal charge of discrimination that they
   16     Q. Okay.                                                  16   type up and have her sign?
   17     A. I don't know her thinking.                             17      A. Correct.
   18     Q. In terms of the firm, though.                          18      Q. There would be other documents related to the
   19     A. Yes, that's correct.                                   19   charge, certainly, but...
   20     Q. The firm never made a conscious decision to            20      A. You were asking me about triggers to the
   21   end her employment?                                         21   thought that she was no longer employed definitively,
   22     A. That's correct.                                        22   and so this would be one of those things that would
   23     Q. All right. Did you have any discussions with           23   come to mind.
   24   Mr. Letofsky or the office manager, Nancy, or your          24      Q. Okay. Was there anything before this time?
   25   wife, Susan? I can't remember what her role was             25   This is September 2018. So this is like a whole year
                                                        Page 90                                                          Page 92
    1   exactly.                                                     1   after when we were talking about it, I think.
    2      A. Controller, basically.                                 2      A. Yeah, I don't recall when we were talking, to
    3      Q. Controller.                                            3   be honest with you.
    4         Did you have any discussions amongst any of            4      Q. Okay. Now, we moved a little bit, but
    5   you all about how she is "not an employee here               5   September 2nd, 2017 -- '16 -- I'm sorry. Now I got
    6   anymore"?                                                    6   myself confused.
    7      A. No -- well, at any point in time I'm sure              7         So it's in May of 2017 that she goes out on
    8   that came up after we were sued by her, I assumed it         8   this leave.
    9   was over, and I'm sure...                                    9      A. Uh-huh.
   10      Q. Nothing other than that, though?                      10      Q. And then I understand that there was, in the
   11      A. I'm trying to piece together when the -- I            11   fall of 2017, I think there was the labor commissioner
   12   don't remember the events and the chronology. There         12   complaint that she filed, and then we have this Nevada
   13   was a labor board complaint. She wanted pay. And            13   Equal Rights Commission, the formal charge filed
   14   then there was, I think, I seem to recall an EEOC           14   September 4th, 2018. She would have gone to them
   15   complaint, I would assume by the EEOC filing.               15   before that, because it takes a while to meet with
   16   Basically, the language in that, that it was over;          16   them and so forth.
   17   that would probably be when it was crystal-clear.           17      A. So there was a -- some communications in
   18      Q. Okay.                                                 18   August of '17 as well in which she described her
   19      A. I don't have it in front of me, but that              19   ability to come back at four hours.
   20   would be a point in time when we could have come to         20      Q. Right.
   21   that conclusion.                                            21      A. And we weren't able to do that. It was just
   22         MR. KEMP: All right. Since it came up,                22   there wasn't any way to fit that in. By that time we
   23   we'll make this as an exhibit now, Exhibit 15.              23   had a new -- another associate working, if my memory
   24         (Exhibit 15 was marked for identification.)           24   serves, and there just wasn't anyplace to put a
   25         MR. KEMP: So this is a charge of                      25   part-time associate, because we needed, two reasons,
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    1 one, there probably wasn't enough work, but two, we            1      Q. Oh, okay. So you think by November of 2017,
    2 wanted them to be able to handle top to bottom on the          2   then, you would have probably taken her off because
    3 file, which meant take care of all of the appearances          3   she wasn't working?
    4 and not be a project or contract type of attorney that         4      A. Well, it makes sense by then. If we hadn't
    5 didn't fit well with a small office. We needed full            5   had her in the office since May and August time frame,
    6 management.                                                    6   when we talked about part-time didn't work and there
    7        So in August we did have that discussion, and           7   was no real bubbling up of an opportunity to come back
    8 I don't remember -- I think we got some doctors' notes         8   and no discussions, I can see us doing that; I would
    9 back then, and we did discuss that that probably               9   assume that's what happened. I don't really handle
   10 wasn't a good fit at that time. So I guess we could           10   the E&O side. That goes through Ms. Letofsky; she
   11 say that would be a time where her employment ended.          11   does all the add and drop forms. But that would make
   12         So it was never really specifically                   12   sense if that happened in November as well.
   13   discussed. I don't remember hearing from Ms. Buchanan       13      Q. Okay. We made mention of a couple of things.
   14   much after August of 2017 on employment and coming          14   I've got doctors' notes here we're going to look at.
   15   back to work.                                               15         One thing, before I forget, because you
   16      Q. So based on what you just talked through              16   mentioned that you had another associate working by
   17   there, then you would think that her employment ended       17   some point, and I think you were talking about the
   18   as of when?                                                 18   fall 2017. Who was the associate that you hired at
   19      A. Well, I'm trying to figure out, I mean, what          19   that point?
   20   she was thinking too, but I could see -- we never made      20      A. Theresa Santos, T-h-e-r-e-s-a. I didn't look
   21   it clear "termination," I never said to her "your           21   up her start time. It was in that fall period of
   22   employment is terminated." It was just she kind of          22   2017.
   23   didn't come back to work, and that was in August when       23      Q. Okay. Does she still work for you today?
   24   we talked about her ability to come back was limited        24      A. She does.
   25   to four hours. There wasn't a fit then. We had              25      Q. I know her husband.
                                                          Page 94                                                          Page 96
    1 somebody already in place. There was nowhere to put            1      A. Cory. He's a good guy.
    2 her, so there wasn't any way to get her back into              2         MR. KEMP: Make that 16.
    3 active employment, so it just sat and nothing happened         3         (Exhibit 16 was marked for identification.)
    4 after that.                                                    4         MR. KEMP: So Exhibit 16, we've got three
    5     Q. When she came back -- going back to the fall            5   pages. There's a note from Dr. McKinnon dated
    6 of 2016 now, she resigned September 2nd and she comes          6   July 12th, 2017; there's a note from Dr. Pfau,
    7 back in December, and we saw an e-mail here earlier            7   P-f-a-u, dated July 17th, 2017; and on a prescription
    8 where you talked about putting her back on the E&O             8   pad, a note from Dr. Jeffrey Ziegler dated
    9 insurance. When did you take her off of the E&O                9   August 21st, 2017.
   10 insurance after May of 2017 when she went on the              10      Q. Do you recall receiving these before?
   11 leave?                                                        11      A. I do.
   12      A. I have no idea. I did not look that up.               12      Q. Okay. Were these notes that Ms. Buchanan
   13   We -- that is the reason it came up, that e-mail, that      13   gave you regarding her physical condition?
   14   is the one like checklist item that's not on the            14      A. Yes.
   15   checklist.                                                  15      Q. Dr. Pfau, on the second page of this, says
   16      Q. Sure.                                                 16   that she should be working no more than four hours per
   17      A. And people stay off for a long time. They             17   day and that they expected that to continue for the
   18   get added on and we don't do the take-them-off form         18   next six months.
   19   until the next revolution of applications. That             19         So it does indicate that as of July 17th she
   20   happens frequently. So I -- there was never -- that's       20   was able to work but just only able to work a reduced
   21   probably one thing we should work on, but we leave          21   schedule?
   22   people on there a lot of times until we re-up for           22      A. Right.
   23   another year.                                               23      Q. And at that point you didn't feel that you
   24      Q. Do you know when your year renews?                    24   could accommodate her with a reduced schedule?
   25      A. November, I think it's November each year.            25      A. No, because it says she is unable to work,
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    1 unable to work more than four hours a day, which means       1      A. Not from the doctors, and I didn't ask
    2 at four days a day to me it's over, if we're going to        2   Ms. Buchanan to get it from the doctors.
    3 go by this and we're going to be able to really              3      Q. Okay. Would that be because you just didn't
    4 accommodate it on a part-time basis and there's just         4   feel like you could support a 20-hour-per-week
    5 too many things that that gets in the way of in the          5   part-time schedule at that point?
    6 practice of law as an associate managing a file, on          6      A. I lost you. I'm sorry. I don't understand.
    7 top of the workload itself just in the file                  7      Q. Well, my question kind of assumes that you
    8 number that we had.                                          8   gave it any consideration, and you might not have, but
    9      Q. Okay.                                                9   would it have made any difference? Because at this
   10      A. That's not to say that at some point in time        10   point it seems like you felt you couldn't accommodate
   11   in the future there might be a place for that, but it     11   the part-time schedule anyway, whether it was 20 hours
   12   was going to always be a challenge to have somebody       12   or 4 hours a day, you know.
   13   manage a file who may not be able to stay somewhere       13         MR. ORTUNO: Object to form.
   14   more than four hours. I mean, you can't walk out of a     14         THE WITNESS: Yes, my thinking at this point
   15   federal court ENE at the four-hour mark.                  15   was that we weren't able to do it, it wasn't a fit
   16      Q. Okay. Now, the next note from Dr. Ziegler,          16   before, it wasn't going to be a fit at this time
   17   which was about a month later on August 21st, it says     17   because it was even busier. So I didn't -- it didn't
   18   she would do well to limit her work to 20 hours, her      18   seem that that was going to work.
   19   workweek to 20 hours. Excuse me.                          19   BY MR. KEMP:
   20         So that's a little bit different. It's not          20      Q. It was just there was so much work, she
   21   just 4 hours a day, but it's 20 hours a week, but by      21   didn't work out before, having to work the reduced
   22   that point what was your position on being able to        22   schedule, so it wasn't going to work going forward?
   23   accommodate 20 hours per week?                            23      A. Right. The volume of work and then the tasks
   24      A. Now we're in conflicting accommodations.            24   that were required, having many of those exceed
   25   I've got Dr. Pfau saying six months of four hours a       25   four hours a day, we're going to be in deposition more
                                                        Page 98                                                         Page 100
    1 day and Dr. Ziegler saying 20 hours a week. To me,           1   than four hours today, we were in her deposition far
    2 the only way to reconcile that is to keep it -- they         2   in excess of four hours that day, it would be -- I
    3 are the same only if you keep it to four hours a day.        3   mean, it's really burdensome to ask another associate
    4         I don't recall -- I recall receiving these,          4   to pick up those longer events, to dive into a file
    5   because we had talked and she was -- you know, again,      5   they have no knowledge of and handle those. And for
    6   it goes back. Ms. Buchanan has a desire to practice        6   me, it would be extremely burdensome to just -- you
    7   law and to be -- and her drive is there, and I'm very      7   know, running all over the place. So to go to an ENE,
    8   happy that she found a place that works. We didn't         8   take a percipient witness depo was going to be really
    9   have a model as a small office that would allow for        9   difficult to manage.
   10   this, but she wanted to try and that's why she sent       10      Q. Okay. All right. So then, in terms of the
   11   these, and where I was going is I can't remember if       11   actual reason -- assuming that her employment did end
   12   these came all in one e-mail or if they came              12   with you and assuming that it ended during the time
   13   separately, but it was somewhere in here -- it may        13   period you talked about, the reason is because she
   14   have been by this August 1 that Ms. Santos had            14   couldn't work full-time and you didn't have any
   15   started. I don't recall if she had started in July.       15   part-time schedule that you could give her; is that
   16         So I know it came with an e-mail. I just            16   fair to say that that was the reason why it ended?
   17   don't recall without that e-mail when they came in,       17      A. I think that summarizes it well. There's
   18   but this is the more -- Dr. Pfau's accommodations the     18   probably more particulars to it, but yeah. I mean,
   19   more restrictive, which would be the one that would       19   we're always trying to -- you know, when we say an
   20   control, from my speculative.                             20   indefinite leave, that leaves open the idea that
   21      Q. Even though the other one is later in time?         21   things change and the situation develops.
   22      A. It's later in time, but it's not consistent         22         So I never viewed her time with us as
   23   with Dr. Pfau, who says four hours a day.                 23   concretely over until -- well, I never viewed it until
   24      Q. Right. Okay. Did you ever ask for any               24   the later actions, but this is when I recognized at
   25   clarification with these?                                 25   least for six months we weren't going to be able to do
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    1 anything.                                                    1   she was telling you?
    2        Whether something after six months could              2      A. Oh, no, no. I mean, we saw it, Mr. Forster
    3   develop, I would be happy to talk to her. And I was        3   saw it firsthand frequently.
    4   always direct with her, like I always told her that.       4      Q. Okay. So you had discussions with
    5   That's why she came back and we tried it initially.        5   Mr. Forster about what he saw her experiencing?
    6   So we get the letter in July, and for me, my thinking      6      A. Not in depth, but certainly he reported to me
    7   is she's not going to work for at least six months,        7   she's not doing well today, she's sick. We talked
    8   we'll see where we're at when that happens.                8   about that a lot, sure.
    9      Q. Okay. And in terms of number 5, the identity         9      Q. Okay.
   10   of the people participating in this decision-making       10      A. A lot in the sense that when it happened, but
   11   process, to the extent it was one, it seems like it       11   I didn't go into detail with him on anything like
   12   was mostly you, or did Mr. Letofsky play any role? If     12   that. He didn't supervise her, had no -- didn't
   13   so, what was that?                                        13   supervise her at all.
   14      A. No. All decisions --                                14      Q. Okay. So the extent of your knowledge was
   15      Q. A lot of questions all in one but...                15   what she told you up until this point and then what
   16      A. The simple answer is Mr. Letofsky and I             16   you got from the doctors. Anything else? Any
   17   discuss all employment-related decisions like how to      17   other --
   18   handle this. We would discuss whether there was a way     18      A. On her medical conditions?
   19   to handle the workflow under the reduced schedule. We     19      Q. Yes.
   20   talked about that. But yes, so he's involved, but I'm     20      A. Correct.
   21   the one ultimately who said we can't do it.               21        MR. KEMP: Okay. All right. Let's go off
   22      Q. Okay.                                               22   the record.
   23      A. Because I had my hands on the files. I'm            23        (Recess taken.)
   24   trying to remember. This was an intensely busy time       24        MR. KEMP: Go back on the record.
   25   because the Eldorado files were cranking and we were      25      Q. I would remind you you are still under oath.
                                                       Page 102                                                    Page 104
    1   both out here a lot and it was a very busy time.           1 Okay?
    2   Mr. Forster was pushed to the max. It was just the         2      A. Yes.
    3   way to try and get the office going.                       3      Q. All right. The -- with respect to the time
    4      Q. Okay. Number 10 on the list talks about the          4   period in summer of 2017 when she was providing you
    5   facts and circumstances surrounding defendant's            5   with the doctors' notes, and I believe there was some
    6   knowledge and understanding of plaintiff's work            6   discussion about whether or not she could come back to
    7   restrictions given by her doctors at any time during       7   work four hours a day. Is that...
    8   her employment.                                            8      A. I don't specifically recall that. I
    9         Other than these notes here, were you ever           9   generally recall that we did and assume that we did.
   10   provided with any other doctors' notes that you can       10      Q. Do you recall there was any discussions about
   11   recall?                                                   11   perhaps hiring some other support staff that would
   12      A. No.                                                 12   help in basically her ability to come back to work?
   13      Q. Do these notes here pretty much summarize           13      A. No, because it wouldn't help her on the
   14   what knowledge you had of her restrictions?               14   four-hour limit.
   15      A. No. Only for that point in time.                    15      Q. Okay. Was there -- did you discuss with her
   16   Ms. Buchanan and I talked at length throughout her        16   possibly hiring another associate attorney that
   17   employment on her restrictions. She was the one           17   between the two of them they could kind of work
   18   relaying what she needed in terms of time at work. I      18   together, like two part-time people, anything like
   19   didn't need to verify it from an employer until she       19   that?
   20   was away because she went away to try and                 20      A. No, because they still would manage a file
   21   figure things out. At that point it felt like, well,      21   and both would be limited then in their ability to
   22   let's see what the doctors are saying. So that's the      22   handle four-hour-or-more issues.
   23   first time we asked for notes, but I pretty much          23      Q. But in terms of that, for example, with the
   24   relied on her to relay to me what she wanted to do.       24   Eldorado cases, wasn't it the case that you would have
   25      Q. Okay. Did you have any reason to doubt what         25   people jump in to help on those that weren't
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    1 necessarily running the case from top to bottom, that        1   A. Right.
    2   they were just helping out on particular aspects of       2    Q. She responds then again on August 14th, 6:55
    3   the Eldorado case?                                        3 p.m.:
    4      A. Yes.                                                4          "I've attached two letters. I'm still
    5         MR. KEMP: Let's mark this next one.                 5      waiting for letters from my other medical
    6          (Exhibit 17 was marked for identification.)        6      providers despite my multiple requests.
    7         MR. KEMP: So Exhibit 17 is an e-mail chain.         7      Meanwhile here are links to recommended
    8   I think some of this we might have seen before. It        8      accommodations from the Job Accommodation
    9   picks up from one we looked at before. Yeah. So the       9      Network re employees such as myself with
   10   last one, I think we've seen that one, where she is      10      chronic pain, fibromyalgia and migraines."
   11   talking about no autoimmune disease but it's             11       So then that that I just read is at the top
   12   fibromyalgia and low T3. That's the -- on this           12 of 1338. Did I read that right?
   13   Bates stamp page 1339. And for the record, Exhibit 17 13       A. Yes.
   14   is defendant's Bates stamp 1337 through 1339. And        14    Q. Do you recall receiving this e-mail with the
   15   then we mentioned that there were -- there was a         15 links that she provided?
   16   response to that, and that we find that here, the        16    A. That I recall, uh-huh.
   17   June 29th e-mail that's in the middle of 1438.           17    Q. Did you look at the links?
   18      Q. Looks like you responded to her. It says:          18    A. I did.
   19             "Hey, Amy. Thanks for the update.              19    Q. Did you consider the accommodations that were
   20         Sorry to hear about the continuing pain.           20 recommended by the Job Accommodation Network?
   21         Good news re autoimmune disease not being a        21    A. I reviewed them. I don't know what you mean
   22         problem. As for work, I would recommend you        22 by "considered." They didn't seem to work in the
   23         speak with your healthcare providers over the      23 context of what work we needed done.
   24         next visits and ask them what they think           24    Q. My question is whether you looked at them,
   25         would be appropriate in terms of hours and         25 considered them, and apparently rejected them because
                                                        Page 106                                                      Page 108
    1         the type of work and let me know what                1   they --
    2         restrictions they believe are appropriate and        2      A. Well, it wasn't a doctor's note either. So I
    3         we can go from there. How does this sound?           3   guess, if you are saying did I consider them, did I
    4         Thanks, Dan."                                        4   process the information, I did do that, yes.
    5         Did I read that right?                               5      Q. Well, there is indication that she had
    6      A. Yes.                                                 6   attached some -- these two letters --
    7      Q. And she responded on July 8th, 2017, at 2:45         7      A. Right.
    8   p.m.:                                                      8      Q. -- which I guess might be the July 12th and
    9             "Hi, Dan. I've requested letters to              9   the July 17th, but of course, by that point, August
   10         provide for an accommodation request. I'll          10   14th, she didn't have the third one here from
   11         provide them to you once I have them."              11   Dr. Ziegler --
   12         Did I read that right?                              12      A. Right.
   13      A. Yes.                                                13      Q. -- because that was dated the 21st.
   14      Q. Do you actually remember writing the                14      A. So the letters would be controlling over the
   15   June 29th e-mail and getting the July 8th response        15   websites, is what I was suggesting.
   16   from her?                                                 16      Q. Okay. Did you contact her back and speak
   17      A. I don't specifically recall that, but I             17   with her about -- well, it looks like you did, if we
   18   generally recall it. I don't recall typing it and         18   go to the next e-mail, August 16th. It's from you to
   19   receiving it and all that, but I recall that it           19   Amy, August 16th at 5:44 p.m.:
   20   occurred.                                                 20             "Thank you for the update. I hope you
   21      Q. You don't have any doubt it's authentic?            21        are doing well. I reviewed the documents and
   22      A. Oh, no.                                             22        websites. Thank you. Question - are you
   23      Q. Okay. And so that appears to maybe be what          23        requesting to return to work at four hours a
   24   led to the doctor's note that we have in Exhibit 16       24        day? I recall you indicating in our previous
   25   that you provided?                                        25        conversations that you did not want to work
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    1         limited hours. I'm driving out to Vegas             1        And that goes back to where she was, even
    2         tonight. We can talk tonight if that works.         2   though she was on the part-time reduced schedule
    3         Call me on my cell." And there is the               3   before, she couldn't get everything done in time and
    4         number. "Or we can discuss Thursday or              4   she was ending up working more hours. Is that your
    5         Friday. Let me know what works. Thanks."            5   understanding of what she's talking about?
    6         Did I read that right?                              6        MR. ORTUNO: Objection. Assumes evidence not
    7      A. You did.                                            7   in the testimony.
    8      Q. Okay. Did you actually speak with her               8        THE WITNESS: Can you read the question back.
    9   directly after that e-mail? You were talking about        9         (Record read by reporter as follows:
   10   speaking with her that night.                            10             "QUESTION: Okay. She says, 'My concern
   11      A. I don't recall.                                    11        is whether this is possible as I was
   12      Q. Do you recall what the website suggested           12        consistently working additional hours.'
   13   after you --                                             13             "And that goes back to where she was,
   14      A. No.                                                14        even though she was on the part-time reduced
   15      Q. Okay. She then responds -- this is 17              15        schedule before, she couldn't get everything
   16   August 2017, 16:05:                                      16        done in time and she was ending up working
   17             "Hi, Dan. I sent you a text. I'm               17        more hours. Is that your understanding of
   18         confused as to me not wanting to work              18        what she's talking about?")
   19         limited hours as I've requested a part-time        19        THE WITNESS: Her concern, is that what you're
   20         schedule from the time I returned to the firm      20   talking about?
   21         and I would notify you if my hours could           21   BY MR. KEMP:
   22         increase health permitting. I started with         22      Q. Right, her concern.
   23         Monday through Thursday, 5 hours a day and         23      A. Yes, I think it was her concern.
   24         then agreed to 9:00 a.m. to 5:00 p.m.              24      Q. Okay. And it was true that she was having to
   25         starting on March 1st. Unfortunately, my           25   work additional hours because she couldn't get
                                                      Page 110                                                     Page 112
    1        health was not improved, and my doctors              1 everything done and --
    2        recommend I work part-time, preferably               2      A. What do you mean by "having to"?
    3        20 hours per week for the time being. My             3      Q. Well, as an attorney, you have to accomplish
    4        concern is whether this is possible as I was         4   the work; right? You have to get things finished.
    5        consistently working additional hours."              5   And she wasn't able to finish it in the time period
    6        Did I read that correctly?                           6   that was provided. That would seem to be a problem, a
    7      A. Yes.                                                7   recurring problem, was it not?
    8      Q. Okay. So it looks like she's asking to work         8         MR. ORTUNO: Object to form.
    9   the reduced schedule; is that fair to say?                9         THE WITNESS: I still don't know what you
   10        MR. ORTUNO: Objection. Calls for                    10   mean by "have to get it done" and when you say "the
   11   speculation.                                             11   work" that is pretty broad to the entire working of a
   12        MR. KEMP: Let me rephrase the question.             12   file. So I'm not sure I'm following you.
   13      Q. Did you understand this e-mail from her --         13   BY MR. KEMP:
   14   let me back up.                                          14      Q. Okay. The work of practicing law, working on
   15        Did you receive this e-mail from her?               15   a file, representing a client, there are tasks that
   16      A. Yes.                                               16   have to be done. Are you with me so far?
   17      Q. All right. When you read the e-mail, was it        17      A. Yes.
   18   your understanding that she was asking to work a         18      Q. Okay. And the concern was that she was not
   19   part-time schedule and that was in response to your      19   able to accomplish the tasks that had to be done to
   20   questions whether or not she was asking for four hours   20   represent the client and work the file in the time
   21   a day?                                                   21   that she was working. That was her concern; right?
   22      A. Yes.                                               22         MR. ORTUNO: Objection.
   23      Q. Okay. She says, "My concern is whether this        23         THE WITNESS: No, it was a general, both of
   24   is possible as I was consistently working                24   our concerns, yes.
   25   additional hours."                                       25   //
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    1   BY MR. KEMP:                                               1 extra hours as a requirement from us. I don't know if
    2      Q. Okay.                                                2 you understand that distinction, but maybe it's not
    3      A. The tasks associated with the file                   3 clear.
    4   management, yes.                                           4        The conversation I was referring to there was
    5      Q. Because rather than sticking to the time             5 that we had talked a lot about this. The accident
    6   period that she was supposed to be working, the            6 leading to these problems when she's trying to start
    7   20 hours a week, she was working in excess of that?        7 up her career and how to manage that, and she was very
    8      A. She did do that, yes.                                8 frustrated, and she didn't want to work limited hours
    9      Q. Okay. And so that's what she's expressing.           9 because she wanted to work full-time hours and
   10   It might not be possible to limit it to the 20 hours      10 limited hours didn't allow her to do all the things
   11   because when she was trying to do it before, it wasn't    11 she could do if she worked full-time hours. So that's
   12   working out; right?                                       12 what we were talking about. It was her frustration
   13         MR. ORTUNO: Objection. Calls for                    13 there.
   14   speculation.                                              14        And that's what I'm referring to when she
   15         THE WITNESS: You mean in trying to do the           15 says that she wasn't -- she was frustrated by having
   16   work within the limited time that she was allowed to      16 to work only four hours a day. So that's what I was
   17   work?                                                     17 referring to. And then -- yeah, so that's what I was
   18   BY MR. KEMP:                                              18 referring to in response to her statement, and then
   19      Q. Right.                                              19 where she says she's confused as to not wanting to
   20      A. That's correct.                                     20 work.
   21      Q. She wasn't able to do that. That was --             21      Q. She was requesting it, that's what she says
   22      A. Correct.                                            22   in the next part of that sentence, that she was
   23      Q. -- an ongoing concern, that if she came back        23   requesting a part-time schedule.
   24   and agreed to the 20 hours, that she would end up         24      A. Oh, sure. No. That's my point. She was
   25   working more time. Was that your understanding of         25   requesting a part-time schedule, but we had previously
                                                       Page 114                                                        Page 116
    1   what she was talking about here?                           1   talked about the frustration that that presented for
    2         MR. ORTUNO: Again objection. Calls for               2   her. In addition to the fact that we couldn't get
    3   speculation.                                               3   everything done, it was very frustrating for her to
    4         THE WITNESS: No.                                     4   work part-time. We had this conversation a lot,
    5   BY MR. KEMP:                                               5   because she wanted to be able to do more, but she
    6      Q. No. What was your understanding?                     6   couldn't because of the fatigue and all of those
    7      A. Her concern was that -- wasn't that she had          7   things.
    8   to work more time. It's that she couldn't fulfill the      8         So I was asking, "Are you asking me to go
    9   requirements of the job, which were attending depos,       9   back to the frustrational situation you were in
   10   doing those things, working up a file.                    10   before? That's what I'm not tracking. Is that what
   11         So when she says, "I'm confused as to what --       11   you are asking me to do?" That's how I was thinking
   12   as to me not wanting to work limited hours," what she     12   about it. Like, she wants to go back to what she
   13   had repeatedly stated goes back to her frustration        13   knows wasn't workable. I wanted clarification, is
   14   that focus, fatigue, migraines, concentration were        14   that what you are asking me with these doctors' notes?
   15   limited and that was limiting her ability to do all       15   Because she just sent me the notes. She didn't say
   16   the things that were necessary on the file.               16   anything about that at the time.
   17         She had to -- supposed to limit it to               17         So I was clarifying, "Are you wanting to do
   18   four hours. She chose not to do that. We never told       18   what the doctors' notes are saying, which is limited
   19   her to work past those four hours, in an effort           19   to four hours a day?" The reason I was asking that is
   20   through that drive to try and get things done.            20   because we had talked previously about how that was a
   21         So the concern wasn't that it was more from a       21   frustrating and hard time for her, and it seemed -- I
   22   production perspective. She was concerned that in the     22   wanted to make sure she really wanted to go back to
   23   limited time she wouldn't be able to do all of the        23   that because I didn't think she would want to, if that
   24   tasks necessary on the file as opposed to being           24   makes sense.
   25   concerned that, going back, she would have to work        25      Q. Somewhat, but I'm a little confused because
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    1 she clearly seems to be saying the doctor said I can          1       A. So support staff is not going to help her
    2 work 20 hours per week, which indicates that she wants        2   conduct a depo, so that's not a fix. I know the
    3 to do that, but then she says the concern is whether          3   part-time associate doesn't help her when she's at an
    4 or not it's possible.                                         4   ENE or a depo or he's she's got a deadline and she
    5      A. Right.                                                5   can't meet it because she's got to leave, so -- and we
    6      Q. Because she was consistently working                  6   can't have a situation where other associates are
    7   additional hours before.                                    7   picking up those pieces of the file management. It's
    8      A. Right.                                                8   not efficient and congruent at all.
    9      Q. So again --                                           9         So to the extent that we talked, it was
   10      A. Hence her frustration. So her concern is her         10   probably brief. In my mind, I did not see that as a
   11   frustration in the situation of having to work             11   fix. It wasn't a fix. A paralegal can't draft a
   12   additional hours to complete all of the tasks but not      12   pleading, not many, can't evaluate medical records or
   13   being able to accomplish that, and so I was asking for     13   other records and do summaries and things of that
   14   clarification, are you asking to go back to that           14   nature.
   15   situation.                                                 15         In a purely transactional world maybe
   16      Q. And we may be talking about the same thing.          16   four hours a day works, but not in an appearance-based
   17   She's basically saying all of the work that you are        17   litigation practice, and we couldn't have deadlines
   18   going to want me to do I can't accomplish in the time      18   get passed off at the last minute because it couldn't
   19   period because I couldn't do it before and ended up        19   get done in the four-hour block allotted that day.
   20   working more hours, and so that seems to be the issue,     20         So those were the limitations to staff and
   21   is that what you would have wanted her to do and           21   other part-time employees.
   22   accomplish couldn't be done in the limited time.           22       Q. Okay. I just want to clarify a couple of
   23      A. What the position required was more than she         23   things you said.
   24   was able to do, and we could learn that through the        24         In my experience -- this is my experience in
   25   previous experience, and that's why I was wondering        25   doing ENEs -- they do sometimes and very rarely do
                                                        Page 118                                                         Page 120
    1   why you want to go back to that.                            1   they go beyond three or four hours, and in terms of
    2      Q. Okay.                                                 2   depositions, I mean, as an accommodation you could
    3      A. That was only half of the equation.                   3   split depositions up into two different sessions. You
    4         The other half was, practically speaking,             4   can do that stuff, can't you? Is there any reason why
    5   whether it would even work, and I didn't think it           5   you couldn't -- I would think that some of the
    6   would.                                                      6   magistrate judges, if you told them, look, because of
    7      Q. Well, and then that comes back to -- I asked          7   my disability I can only go this long, that they would
    8   you this. I think you said you didn't recall.               8   accommodate that?
    9         She I think would -- I'm going to represent           9         MR. ORTUNO: Objection. Calls for
   10   to you that I think she would testify that she spoke       10   speculation.
   11   to you about having another associate and maybe a          11   BY MR. KEMP:
   12   part-time associate or a support staff person that         12       Q. My question is just whether or not --
   13   would help in getting the work done, would permit her      13       A. First of all, I don't want to show up and ask
   14   to work these reduced hours that her doctors were          14   a federal judge, based on that, to break it up and
   15   requesting. I think you said you didn't believe that       15   have a second session on an ENE, I don't think. But
   16   those conversations took place?                            16   door to door I have a different experience than you do
   17      A. I don't remember saying that. She just               17   in terms of ENE time. So door to door I'm very rarely
   18   testified to it a few weeks ago or whatever it was. I      18   back in four hours, and so --
   19   don't recall saying I don't remember that.                 19       Q. In Nevada?
   20      Q. I thought, when I asked you just a little bit        20       A. Oh, sure. I mean, I don't go there and
   21   ago, you said no, she never talked to me about             21   just -- we go there to try and resolve cases. I'm
   22   bringing on support staff or another associate.            22   there till noon frequently. And I'm talking door to
   23      A. I don't know if that's how the question was          23   door. But that's just one experience. Most
   24   phrased, but regardless, we can clarify it here.           24   depositions that I'm involved in in the employment
   25      Q. Okay.                                                25   setting of parties, they are in excess of four hours.
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    1 Door to door they are in excess of five or six hours.          1 expected of it. The doctor tells me in no uncertain
    2         So -- but beyond that, handing over -- most            2 terms it's four hours a day for six months, and we had
    3   of the time you don't want to split a depo. I don't          3 previously had this discussion with her about what she
    4   want to take the deposition of a party to end it, to         4 could do in the day and she had worked a four-hour
    5   let them go back, reset and come back. That's not a          5 day. So --
    6   very good tactical way to do things either, and you          6     Q. And the other doctor talks about a workweek
    7   can't have another associate do it.                          7 of 20 hours, so that begs the question, can the time
    8         And if you are breaking things up like that,           8 be split up, does it need to be only four hours a day,
    9   then the schedule gets too convoluted and it's very          9 and what I gather is you never asked her and you never
   10   difficult to manage. We could just not had success          10 asked the doctors?
   11   with part-time, new associates part-time.                   11     A. I did not ask the doctors, and I relied on
   12      Q. I understand what you are saying. From a              12 Dr. Pfau's letter, which in conjunction with the
   13   tactical standpoint and from a matter of preference         13 second letter said four hours per day, which was
   14   and a matter of what would be ideal or best --              14 consistent with previous statements that she had made
   15      A. No, that's not even that.                             15 to me in terms of limiting exposure to concentration,
   16      Q. -- all of that, all of that what you said,            16 focus on documents, focus in depositions and all of
   17   but in terms of, you know, needing to accommodate           17 those things, because it triggers the fatigue,
   18   somebody because they have a disability, you could do       18 headaches, migraines, et cetera.
   19   some of these things, couldn't you?                         19      Q. Okay. And so Dr. Ziegler's note came in
   20      A. No, not -- I never couched those solutions as         20   after the discussions that are here in Exhibit 17?
   21   the best result. That's what's needed. So four hours        21      A. I don't know when that came in. It's not
   22   a day, four days -- four hours a day is not doable in       22   part of the e-mail that was referred to in Exhibit 17,
   23   the litigation practice that we had. It's just not.         23   that I can tell.
   24   I've practiced 28 years. You may have more years than       24      Q. Right, no, she said she was still waiting for
   25   me and you may have a different type of practice. But       25   one, and she got this.
                                                         Page 122                                                         Page 124
    1   I have never seen that type of time/work handled --          1       A. It's attached to your exhibit, but I don't
    2   I'd have to find two people; first of all, I've got to       2   see it attached to an e-mail.
    3   get two part-time people. Finding a part-time                3       Q. Okay. I thought you testified earlier that
    4   attorney is extremely difficult, someone that just           4   you had seen it.
    5   wants to work four hours a day, to back-end that.            5       A. I recall the notes in general. I don't --
    6         It's just -- you know, we had one other                6   I've seen that, and I don't know -- it's not attached
    7   attorney and a lot of files, and myself and                  7   here, so I don't know if I saw it as part of the --
    8   Mr. Letofsky, it's not doable, it's not reasonable. I        8   your disclosures or where I saw it. I have seen it.
    9   can't have depos get kicked out, meetings missed.            9   I just don't recall in the timeline of things and,
   10   Just too hard to manage. We're too small. We're too         10   according to the e-mails, I don't know when it came
   11   small to do it.                                             11   in.
   12      Q. And I assume that you never posed any                 12       Q. You are saying you can't -- you don't know
   13   questions to her medical providers or asked her to          13   whether or not you saw this in August or September of
   14   pose medical questions to the medical providers about       14   2017?
   15   whether or not there would be any exceptions so that        15       A. I don't know.
   16   like if I've got to do a deposition for seven hours,        16       Q. Dr. Ziegler's note on his prescription pad.
   17   can I do that on one day, if I then kind of reduce my       17       A. I don't know that I saw it in those time
   18   time for the rest of the week, no for lack of a better      18   periods without referencing this, but it doesn't
   19   term interactive process like that took place, did it?      19   change my thinking that she's limited to four hours a
   20      A. I disagree. With the use of the word                  20   day for six months.
   21   interactive process, I think that...                        21       Q. But my question was -- I think you've
   22      Q. You did ask the doctors whether or not there          22   answered it -- you never talked to the doctors about
   23   was flexibility --                                          23   it?
   24      A. I don't think that you can ask that and then          24       A. No. I wouldn't talk to them. I don't think
   25   throw in interactive process as some kind of that's         25   I have a right to talk to them. It would be her job
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    1   to talk to them.                                         1 would be successful, and the accommodation requested
    2      Q. You never asked her to talk to her doctors         2 was the limited time, so we engaged in that
    3   about any flexibility in this?                           3 back-and-forth and what that would look like.
    4      A. Correct.                                           4        We continued to engage in that conversation
    5         MR. KEMP: All right. What time have we got         5 related to increasing to 80 percent. We continued in
    6   here? We'll take a break.                                6 that conversation when she indicated that she needed
    7         (Lunch recess at 2:29 p.m.)                        7 to take a step back and go see about what -- getting
    8   //                                                       8 things, you know, situated.
    9                                                            9        We had that conversation in August when she
   10                                                           10 indicated that she wanted to kind of go back to the
   11                                                           11 situation which we had already established was not
   12                                                           12 very workable but we talked about it then.
   13                                                           13        We talked about it on a very regular basis
   14                                                           14 with respect to her needing to leave work or having
   15                                                           15 time off from work to accommodate migraines, fatigue,
   16                                                           16 lack of concentration, doctors' appointments, all of
   17                                                           17 those things.
   18                                                           18        So we had a long and many conversations about
   19                                                           19 her medical condition and how to best -- how to put
   20                                                           20 her into the best position to succeed at work.
   21                                                           21      Q. Okay. And --
   22                                                           22      A. And that's a summary. I don't want to be
   23                                                           23   held to that. There's probably others, but that's a
   24                                                           24   summary.
   25                                                           25      Q. That's fine. I think we talked about a lot
                                                    Page 126                                                            Page 128
    1        Las Vegas, Nevada; February 20, 2020                1   of it. I just kind of wanted to go back. I had
    2               3:09 P.M.                                    2   gotten ahead of myself in the outline just a little
    3            Afternoon Session                               3   bit.
    4                                                            4      A. Sure.
    5       MR. KEMP: Let's go back on the record.               5      Q. So I just wanted to come back and see if
    6                                                            6   there was anything else about interactive process that
    7            EXAMINATION (CONTINUING)                        7   you can recall at this point that we haven't
    8                                                            8   discussed, and I think you have kind of --
    9   BY MR. KEMP:                                             9      A. I don't know if I -- on this last thing in
   10      Q. Picking back up to where we were at               10   August, we discussed, you and I here at the end, about
   11   topic number 11, and this has to do with, do you feel   11   what's reasonable in terms of accommodating a short
   12   that you had an interactive process with Ms. Buchanan   12   schedule.
   13   about accommodations?                                   13         And we had conversations or at least one
   14      A. Yes.                                              14   conversation, Ms. Buchanan and I, about how previously
   15      Q. Okay. And so what all do you consider to be       15   that hadn't worked and I wasn't sure that going back
   16   the communications that were part of the interactive    16   to that was going to work. We already experienced it
   17   process? I know we've probably talked about a           17   and we already realized it was not doable. So that
   18   number of them, but did you --                          18   was part of those conversations as well.
   19      A. Probably most of them. We discussed, when         19      Q. Okay. And on her end of it she sent you
   20   she left in September of 2016, the fact that she        20   those links from the websites from the Job
   21   needed to go, and we discussed even before that the     21   Accommodation Network. And I can't remember. I think
   22   nature of her medical condition as it impacted her      22   you disputed whether or not she talked to you about
   23   work, and then she left to go get some treatment.       23   additional support staff or some other help that
   24         When she came back, we discussed trying to        24   would --
   25   work her back in on a limited basis to see if that      25      A. I think I disputed whether it was reasonable
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    1   to bring in support staff as an accommodation, but I        1   BY MR. KEMP:
    2   don't dispute -- I don't remember talking about it,         2       Q. Pretty much it's office work; right? It's
    3   but I don't dispute that we talked about getting staff      3   not like hard physical labor, just for the record. I
    4   that would certainly be part of the progression of          4   think it's pretty obvious but --
    5   establishing an office.                                     5       A. It's not manual labor, but if you are -- I
    6       Q. Okay.                                                6   think physical is an interesting term in litigation.
    7       A. And we had many conversations about the flow         7   I'm sure you've had many nights where you are just
    8   of firm development. We were new to Nevada and we           8   completely physically wiped out, and all you've done
    9   needed cases, and you can't really control that and         9   is read papers all day. So I think that there's a
   10   it's not like hiring a staff member is just something      10   blending of physical and mental and emotional
   11   you do. You have got to have resources for it and          11   exhaustion.
   12   funding and be able to bring in a monthly salary for       12       Q. Let me rephrase it. It's not physical tasks,
   13   that person and an income. All of those things need        13   like there's not heavy lifting, you don't have to be
   14   to be in place before you can do that.                     14   able to run five miles. That was more of what I was
   15         Same thing with buying -- getting another            15   talking about.
   16   associate or what have you. You have got to have           16       A. Correct.
   17   logistics to manage or to push that forward too, and       17       Q. You will get physically tired from the mental
   18   so we talked about that.                                   18   aspects of the work, sure.
   19         And her place in developing a new office, it         19       A. Yes.
   20   wasn't like she came in with an established firm with      20       Q. Okay.
   21   a set protocol and set ways of doing things.               21       A. And that was part of the issue with
   22         So in terms of accommodation, we were always         22   Ms. Buchanan, is -- I don't know -- I've never
   23   talking about managing the office, staffing, things        23   experienced the things she was experiencing, and so
   24   like that too, because we certainly weren't here for       24   there was, in managing your files and working
   25   the short-term just to have one associate. So that         25   four hours, if you are in there and you just become
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    1   was always part of the discussion.                          1   physically exhausted on top of mentally tired and
    2       Q. Okay. All right. I think, number 12 we               2   you're -- so we were trying to figure that out. I
    3   touched on a little bit, but what do you consider to        3   didn't have a formula, by any stretch, and I don't
    4   be the essential functions of an associate attorney's       4   think she did either, and the whole point was to try
    5   position with your firm?                                    5   and see if we could make it work.
    6          MR. ORTUNO: Objection as it calls for a              6       Q. Now -- I lost my train of thought. Give me a
    7   conclusion of law.                                          7   second.
    8          But go ahead.                                        8         Oh. The restrictions that are doctor
    9          THE WITNESS: Well, the simplest way to say           9   imposed, none of that said that she couldn't do any of
   10   it is you have to manage the files. That's the way I       10   the actual work. It was just a limitation on the
   11   say it. Within that comes completing discovery,            11   amount of time she could spend doing it. Do I have
   12   written and depositions, attending settlement              12   that right?
   13   conferences, attending mediations, arbitrations,           13       A. I would state it differently. I think they
   14   trials if necessary, pretty much litigating the file       14   did put a limitation on the work that she could do.
   15   front to back.                                             15   As to the specific tasks, they didn't say she can't
   16          I mean, we encourage our associates to do           16   ask questions at a deposition or write or type
   17   that. I think it's the best way to develop as an           17   interrogatories or things like that.
   18   associate and as a litigator. So we want associates        18       Q. I'm talking in terms of essential functions.
   19   on front to back, and all the essential tasks would be     19   I mean, doing that particular work, they just limited
   20   completing the investigative and discovery process of      20   it to a certain amount of time?
   21   a file and then settling it and all the steps you've       21       A. The restrictions were time performing the
   22   got to do. So it's not like it's a mechanic, it's got      22   functions, yes.
   23   five essential things you do. I mean, to me, it's a        23       Q. Okay.
   24   pretty broad thing.                                        24       A. Or tasks.
   25   //                                                         25       Q. Okay. And number 13, so I think that kind of
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    1 covers 13. It's not that she couldn't perform the              1 similar scenario of a satellite or a new start-up
    2 functions. There was a limitation on how long she              2 company with one associate and then two, trying to
    3 could perform the functions for. Do I have that                3 litigate files and having to manage your files on your
    4 right?                                                         4 own start to finish could not be done by a part-time
    5     A. See, to me, performing a function of a                  5 associate at four hours a day five days a week who was
    6 deposition is start to finish. So she wasn't limited           6 very inexperienced as a lawyer in the beginning.
    7 in the ability to ask questions, but the ability to            7        So the function of a depo for a new associate
    8 sit and think through and manage documents and go an           8 is much more difficult than the function of you taking
    9 extended period, she was limited. And to me, that's            9 a deposition. So you can't just say she can't work
   10 the function of a deposition.                                 10 anywhere, but in that office, with two attorneys,
   11     Q. Are you of the position, then, that anyone             11 myself and Mr. Letofsky, and having to manage start to
   12 that has a 4-hour per day or 20-hour per week time            12 finish on her files, it was not doable under -- with
   13 limit on their work is not capable of performing the          13 her medical conditions, limiting it to four hours a
   14 essential functions of an attorney?                           14 day.
   15      A. No. It was the impact of the work -- it was           15     Q. How many cases was she the sole attorney from
   16   the impact of her medical condition on her work, the        16 your firm that was attorney of record in a case?
   17   fatigue, the headaches, the inability to concentrate        17     A. I don't know off the top. It changed from
   18   and all those things that limited her ability to            18 time to time, but I don't know.
   19   complete the tasks start to finish.                         19      Q. My experience when I look at firms including
   20         And the way that they managed it was to say           20   my own, when you have an associate, you usually put a
   21   you are limited to four hours a day of that type of         21   partner or somebody else, you have two attorneys on
   22   mental gymnastics.                                          22   the case as attorneys of record. Was that how you
   23      Q. Right. So then would it be your position,             23   worked it, or was she really by herself on the cases?
   24   then, that she wouldn't be able to perform as an            24      A. I don't recall all of the pleadings, but the
   25   associate attorney anywhere, or just at your firm?          25   typical way I recall us doing it was I was with her on
                                                         Page 134                                                         Page 136
    1      A. I don't know what you mean by "perform as an           1   files.
    2   associate."                                                  2      Q. So there were then at least generally two
    3      Q. Well, performing the essential functions.              3   attorneys assigned to a file, to a case?
    4   The essential functions from your position is that she       4      A. Depending on what you mean "assigned," but
    5   has to be able to do something start to finish. So if        5   yeah, there was two attorneys on the file.
    6   she was in federal court, she's got to be able to do         6      Q. Okay.
    7   one full day of seven hours of deposition, and if she        7      A. Myself and whatever associate was working the
    8   can't do that, then she's not capable of being an            8   file.
    9   attorney at all?                                             9      Q. Not all depositions are more than four hours,
   10      A. No. She's clearly found a good fit in terms           10   are they?
   11   of the requirements of her job duties at her current        11      A. No.
   12   employer.                                                   12      Q. So wouldn't it be possible in the spirit of
   13      Q. Okay. So it would just be at your -- the job          13   teamwork that she could do shorter depositions and you
   14   as it existed at your firm?                                 14   could do longer depositions?
   15      A. No, I don't think it's limited to my firm at          15      A. No.
   16   all.                                                        16      Q. That's not possible?
   17      Q. Okay. How would you say it, then? What jobs           17      A. No, not from start to finish on every file,
   18   do you think that she wouldn't be able to do?               18   no.
   19      A. I would be speculating. I've never done any           19      Q. Okay.
   20   research or looked into that at all. Outside of my          20      A. We tried that. I've also got files with
   21   office?                                                     21   Mr. Forster and other files in California, I've only
   22      Q. Yeah. I thought you just told me that you             22   got so much time. So no. That's why we wanted to
   23   thought there would be other jobs, and I was asking         23   have somebody who could manage the files from start to
   24   you what those would be.                                    24   finish.
   25      A. You mean a specific law firm? I think a               25      Q. Okay. With respect to 15, it talks about the
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    1 contentions with respect to defendant offering               1 touched on, possibly additional staff and all that, do
    2 plaintiff to accommodate her doctors' prescribed work        2 you consider that to be an undue hardship as well?
    3 limitations related to her medical condition. I think        3      A. Which staff are you talking about?
    4 we sort of touched on that.                                  4      Q. If there was some support staff added or
    5       Would you have anything to add about ways in           5   there was another associate working with the firm in
    6 which you attempted to offer her accommodations to           6   the office.
    7 meet the work limitations by the doctors, or do you          7      A. Well, I don't think that administrative staff
    8 think we've covered all that?                                8   are related at all to her performing of associate
    9     A. We've certainly touched on it. I don't want           9   attorney functions. But yes, there would be at that
   10 to be limited at some point in time in the future           10   time. We didn't have the funding for an additional
   11 where you say you didn't respond to this question at        11   person to come in and work full-time or we would have
   12 this time with this specific fact.                          12   done it.
   13         I think we have touched base on most of those       13         So I can't just make somebody appear in terms
   14   things in my summary in particular, and we've touched     14   of other associates. The question presumes that there
   15   on them throughout the e-mails. So nothing comes to       15   were other people willing part-time to come in and fit
   16   mind as I'm reading this question I need to add as I      16   that role. We didn't find any. I didn't do an
   17   sit here right now.                                       17   exhaustive search. But we had a difficult time
   18      Q. Well, I understand you can only testify about       18   finding attorneys just in general on the start. But,
   19   what you can think of and know right now, but I'm just    19   yes, so that would be difficult to find that match and
   20   asking you to do your best to think of anything that      20   an undue hardship. What was the other one?
   21   would be responsive.                                      21      Q. What steps did you take to try and find
   22      A. The question is overbroad if you are asking         22   somebody else to come in and help out so that she
   23   me to talk about multiple -- it's compound because you    23   would be able to stay on?
   24   are asking me to talk about multiple conversations        24      A. On a part-time basis? I don't think we
   25   regarding a continuing interactive process. So, but,      25   looked because I didn't see that as an appropriate
                                                       Page 138                                                        Page 140
    1   yeah, I've given you the best information I have as        1   fit.
    2   I'm sitting here now in response to that general           2      Q. All right. And so I'm clear, with respect to
    3   question.                                                  3   support staff, you don't think that having support
    4      Q. Did anybody else at defendant talk with              4   staff would assist or help Ms. Buchanan to perform all
    5   Ms. Buchanan about her doctors' restrictions and the       5   of her work?
    6   firm's ability to accommodate it or possibly               6      A. No. You were talking about the essential
    7   accommodate it?                                            7   tasks of the job. I don't think an administrative
    8      A. I can only speak to myself and what I know,          8   staff member helps with that.
    9   and, no.                                                   9      Q. Well, wouldn't an administrative or support
   10      Q. Okay. You don't know of anybody else at the         10   staff person, paralegal, legal assistant, wouldn't
   11   firm who did that; right?                                 11   that person be able to do some of the more clerical
   12      A. I do not.                                           12   tasks that would free her up to do more of the
   13      Q. Okay.                                               13   attorney work?
   14      A. It was just her and me and Mr. Letofsky, so I       14      A. What do you mean by "clerical"?
   15   don't think she ever went to him, and maybe               15      Q. Well, you know, it's like a paralegal can
   16   Mr. Forster, she might have talked to him, but I don't    16   certainly pull cases off of Westlaw, Lexis, or some
   17   recall any conversations with him on that issue.          17   other database. They can certainly prepare the basics
   18      Q. Okay. So 16 speaks about undue hardship, and        18   of forms, any oppositions to motions, I mean. You
   19   if I understand your testimony, you would consider it     19   usually have stock set up, the standard of -- you know
   20   to be an undue hardship for Ms. Buchanan to only work     20   for denying a motion to dismiss.
   21   four hours and not be able to do like longer ENEs or      21         I mean, most people have standard or stock
   22   longer depositions as part of her job?                    22   things that they use in terms of assembling the
   23      A. It's not just that. It's the entire                 23   documents so that then she could come in and do the
   24   management of the file. But yes, that's correct.          24   true legal work on it. You could have people in a
   25      Q. Okay. So the other accommodations that she          25   system like that, couldn't you?
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    1         MR. ORTUNO: Objection. Compound. Vague.                 1 a part-time schedule, providing her with support staff
    2   Calls for speculation.                                        2 or, you know, other, you know, assistance in doing
    3         THE WITNESS: We didn't have stock motions to            3 some tasks, any other ways in which those would be an
    4   dismiss on the wide variety of employment law cases           4 undue hardship other than we have talked about, is the
    5   that we had. I would rather have the associate be the         5 question.
    6   one doing the research or preparing the brief because         6     A. Well, I think we've covered it. There's --
    7   they are the ones who understand the law and have to          7 yeah, I think we've covered it in those two.
    8   do the analysis. So I don't know of a stock motion,           8      Q. 17, and there's probably not much to this.
    9   opposition to a motion to dismiss. It certainly               9   This is one of the statutory defenses to a disability
   10   wasn't available to us when we were first starting.          10   discrimination case, and that's direct threat to
   11         So I don't see, as you have described it,              11   health and safety of the plaintiff or others.
   12   that that's a fit to the overall limitations that            12         Is there any way in which Ms. Buchanan,
   13   Ms. Buchanan had to work under, but beyond that we           13   working in your workplace, would constitute a direct
   14   didn't have the funding. I couldn't just go pay              14   threat, to your understanding?
   15   somebody.                                                    15      A. No.
   16   BY MR. KEMP:                                                 16      Q. Number 18, I think you touched on this
   17      Q. In follow-up to that, let me ask you this:             17   earlier. You did have a computer system that had
   18   Do you employ paralegals, legal assistants, and              18   remote access so that she could work from home or a
   19   secretaries in California?                                   19   remote location. That's the first part of the
   20      A. We have secretaries.                                   20   question. You did have that available; right?
   21      Q. Okay. Do you have paralegals?                          21      A. Correct. But your question when you say we
   22      A. We have people who are licensed as                     22   talked about 18, I don't really know that I have a
   23   paralegals, but they don't really perform the                23   contention that she could only perform her job being
   24   traditional paralegal function that you are thinking         24   physically present, so I don't want to assume that.
   25   of where they are performing form documents and              25      Q. I'm sure that's the first part of it, I
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    1   things. Our practice isn't set up that way.                   1   guess.
    2      Q. What do they do that --                                 2      A. And then the -- but, yes, she had remote
    3      A. They might prepare shells on discovery or do            3   access.
    4   the filing, putting things together in that respect.          4      Q. Okay. But you did testify before that
    5   They do intake calls. So -- but they don't do the             5   because, especially when she first started, she was
    6   initial intake consultation.                                  6   the only person, that you really wanted her to work
    7      Q. Sure.                                                   7   from the office and be present --
    8      A. So those types of functions are performed.              8      A. No, it wasn't based on the fact she was the
    9      Q. Okay. And when they do that type of work,               9   only person. It was based on the fact that's the best
   10   doesn't it assist you because then you don't have to         10   place to do your job.
   11   do that work, they are taking care of that part of it?       11      Q. Okay. But remote access is made available to
   12      A. Sure.                                                  12   employees at your firm so they can work from remote
   13      Q. Any other ways in which any of the                     13   locations like their homes?
   14   accommodations that Ms. Buchanan asked for would             14      A. Only associates.
   15   impose an undue hardship on the defendant, Watkins &         15      Q. Okay. So 19 has got a lot of different
   16   Letofsky, LLP?                                               16   subparts to it. The first one is, do you feel that
   17      A. Which accommodations did she request?                  17   Ms. Buchanan gave you proper notice that she would
   18      Q. She requested the part-time hours, she                 18   need a reasonable accommodation or otherwise give you
   19   requested to have support staff --                           19   enough information so you knew she was looking for a
   20      A. She did request that. That would be an undue           20   reasonable accommodation in her job?
   21   hardship. Sorry. The next one?                               21        MR. ORTUNO: Objection. Compound. Calls for
   22      Q. Well, I'm asking if there are any other --             22   legal conclusions.
   23   because I think you addressed that.                          23        THE WITNESS: I think -- I don't feel like we
   24         I'm saying, aside from what we've already              24   were ever caught off guard with the notice. I think
   25   talked about, the accommodation of providing her with        25   we always had open communication on it.
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    1   BY MR. KEMP:                                               1      A. No. Ms. Santos came in to fill the spot. In
    2      Q. Okay. And part B, 19B, certainly she                 2   terms of what was going to happen in the future, I had
    3   provided you with information that she had a physical      3   no idea. We needed somebody to help on the files that
    4   condition that limited her activities; right?              4   were there. And whether we grew or didn't grow, that
    5      A. Yes, we knew there were certainly -- yes.            5   would remain to be seen.
    6      Q. Okay. And you testified earlier that she             6      Q. So I guess my -- what I'm trying to ask and
    7   certainly was a new attorney, she was green, but she       7   didn't ask very well, was Ms. Santos a replacement for
    8   had the requisite knowledge, experience, and training      8   Ms. Buchanan?
    9   to perform the job that you hired her to do; is that       9      A. Yeah. I mean, we needed an attorney and
   10   right?                                                    10   Ms. Buchanan wasn't working. So yes, I guess to that
   11      A. She was a licensed attorney, which gave her         11   end she was. But we didn't -- when you say
   12   access to perform the job. She needed to learn and        12   "replacement," it wasn't Santos in and Buchanan out.
   13   gain experience and go through training to perform the    13   It was Santos in, Buchanan's figuring out what was
   14   job efficiently and manage files in the time allotted.    14   going on, and we've got a life for the office and see
   15   I think that that was part of what was missing. But       15   where it goes.
   16   she certainly was licensed. I'm not suggesting that       16      Q. And I think -- with respect to Ms. Santos
   17   she wasn't an appropriate fit in that regard.             17   under topic 22, how did you go about recruiting,
   18      Q. My understanding is that you all knew that          18   hiring her? How did she come to you?
   19   going in, that there would be a certain amount of         19      A. I didn't research that. If it was in here, I
   20   on-the-job training that would take place and that was    20   missed it.
   21   part of this job; right?                                  21      Q. It's not crystal-clear, and I'm just asking
   22      A. That's when we hired her. That's correct.           22   you for your memory.
   23      Q. Okay. And do you feel in part -- I think            23      A. Let me see if I can put it together. I
   24   part D we already talked about -- you didn't consider     24   always try to do word of mouth. I'm just trying to
   25   her to be a safety threat in the workplace?               25   remember if she came to me by way of Mr. Sullivan or
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    1      A. No, not at all.                                      1   Cory Santos, her husband, and maybe I met him through
    2      Q. And part E, 19E, I don't get a sense that you        2   Mr. Sullivan. Could have been Craig's List response,
    3   feel that she didn't participate in discussions or         3   but that doesn't seem like it was. That doesn't seem
    4   communications with you about her accommodations;          4   to hit home. So I don't know. We just needed
    5   right?                                                     5   somebody and she was looking. So I apologize. I
    6      A. I think she was open with where she was at           6   don't remember.
    7   and asked her what she wanted. So I agree that she         7      Q. Okay. That's all right. It's not critical.
    8   did those things.                                          8      A. Gosh, I should know that, but it just doesn't
    9      Q. Okay. Good. Thanks.                                  9   come back to my mind.
   10         20 is the same way, you don't feel that she         10      Q. Okay. Nothing stands out. I get it.
   11   failed in any way to engage in an interactive process     11         23 we covered. Nobody from the defendant
   12   with you talking toward finding an accommodation, do      12   that you know of had any interaction with
   13   you?                                                      13   Ms. Buchanan's healthcare providers?
   14      A. No.                                                 14      A. Correct.
   15      Q. Okay. I think we already talked about 21 at         15      Q. Okay. We're going -- these should go pretty
   16   the beginning in terms of policies and procedures,        16   quick too. In terms of -- and when I say "these," the
   17   unless there is anything you would like to add about      17   next questions are going to be about affirmative
   18   policies or procedures.                                   18   defenses that are raised to the answer. We have a
   19      A. No, I think the response for those questions        19   copy of the answer here if you need to refer to it at
   20   would stand.                                              20   all. But -- yeah, I think it was number 3, Exhibit 3.
   21      Q. Okay. 22, was -- Ms. Theresa Santos, was she        21         MR. ORTUNO: Before we get on this, can I
   22   then a permanent replacement for Ms. Buchanan, or were    22   just get a running objection to all this line of
   23   you going to hire her as an addition anyway?              23   questioning regarding the affirmative defenses that it
   24      A. "Hire her," Ms. Santos?                             24   calls for a legal conclusion, it goes to the very
   25      Q. Yes. Sorry.                                         25   nature of the case?
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    1         MR. KEMP: Right, well, and that's why I                 1      A. -- as I understand it. I haven't done that
    2   bolded and italicized. I'm going to ask about facts           2   calculation.
    3   and circumstances.                                            3      Q. All right.
    4         MR. ORTUNO: Okay. As long as you keep it                4      A. I think the filing dates of those documents
    5   there but just --                                             5   would speak for themselves. It would be a question of
    6         MR. KEMP: Right. The interesting thing here             6   what constitutes adverse employment actions.
    7   is that Mr. Watkins is actually an attorney --                7      Q. Okay.
    8         MR. ORTUNO: The objection is still like -- I            8         MR. ORTUNO: See how it's hard to stay off
    9   think it still holds, you know. If you will allow me          9   the facts and circumstances?
   10   the running objection, that way I don't have to              10         MR. KEMP: On that particular one.
   11   interrupt you guys' flow.                                    11         MR. ORTUNO: You have to apply the law to the
   12         MR. KEMP: Of course, that will be fine.                12   facts and circumstances.
   13         MR. ORTUNO: I understand he's a lawyer as              13         MR. KEMP: That's more difficult than I
   14   well.                                                        14   think. I'm also leaning on him a little bit harder
   15         MR. KEMP: In all cases people bring that up.           15   because I know he should be able to answer those
   16   That's why I emphasize that I'm going to ask about the       16   things. I hear you, though, and I understand the
   17   facts that would support that.                               17   objection.
   18         MR. ORTUNO: Understood, understood.                    18      Q. So there's a breach of contract claim, breach
   19   BY MR. KEMP:                                                 19   of the implied covenant of good faith and fair
   20      Q. Okay. So -- and they don't actually go in              20   dealing. Those would have at minimum a four-year
   21   direct order, so they jump around a little bit.              21   statute of limitations.
   22      A. Okay.                                                  22         I understand there is no question that she
   23      Q. It's from my form, because these come up in            23   filed this case within four years even of when she's
   24   almost all cases, and it depends on where you have it        24   been hired. It's been less than four years now since
   25   in your specific answers.                                    25   she was hired April 1st; right? So --
                                                          Page 150                                                        Page 152
    1         So number 24 talks about the 30th affirmative           1      A. But I think there is a significant question
    2   defense, which is talking about the timeliness of the         2   whether there is a contract --
    3   filing of the case in terms of statute of limitations.        3      Q. Well, and --
    4         And I guess, is there some time by which you            4      A. -- as a predicate for the statute of
    5   think Ms. Buchanan should have filed this case for any        5   limitations to apply. So if somehow in that analysis
    6   of her claims? And you can look at the claims too in          6   we would work in the idea that there is no contract,
    7   Exhibit 2, which is the complaint, the amended                7   that would be a factor or circumstance. I don't know
    8   complaint.                                                    8   how it plays out, but that would be my response.
    9         I'm just trying to find out if there's a                9      Q. I understand, and I know you have that as a
   10   deadline by which you believe that it should have been       10   defense, but in terms of a statute of limitations --
   11   filed.                                                       11      A. You are correct it's four years on the
   12         That's your standing objection.                        12   breach, whatever the alleged breach would be.
   13      A. What's the charge exhibit number?                      13      Q. Right. Okay. We have a statutory claim
   14      Q. Exhibit 2 is the complaint. Exhibit 15 is              14   608.190 --
   15   the charge, if you are talking about the charge.             15      A. Just to back it up, so to that end I would be
   16      A. I don't have the actual complaint to the EEOC          16   speculating because I don't believe there's a contract
   17   or NERC.                                                     17   and there is no breach that I'm aware of to apply the
   18      Q. Number 15 is --                                        18   statute, but I think we agree on the law.
   19      A. She had 300 days from the affirmative -- from          19      Q. Okay. All right. I'm just looking to see if
   20   the adverse employment action to file her complaint          20   I really -- the rest of them, I don't think there's
   21   with NERC, and 90 days after the right-to-sue letter         21   any -- I don't think there is any real question that
   22   to file her complaint. And I haven't analyze those,          22   the administrative charge and the filing of the --
   23   but if those don't match, then we would reserve the          23   within the 90-day right to sue, so I think we're done
   24   right under the statute of limitations defense --            24   with that topic.
   25      Q. Okay.                                                  25      A. Okay.
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    1      Q. Because the other ones are much like the            1      A. I know of no facts that suggest, from May of
    2   contract one or something there's going to be -- okay.    2   2017 until at least January 2018, that she engaged in
    3         So the next one line here is the fourth             3   looking for employment part-time or otherwise other
    4   affirmative defense, which is a failure to exhaust        4   than what she testified to at her deposition, and I
    5   administrative remedies.                                  5   think most of that was at the end of 2017, beginning
    6         MR. ORTUNO: I got to verbally object here           6   of 2018.
    7   because I think any of this even to discuss the facts     7         So there would be a period of time where she
    8   requires a legal analysis that goes beyond just           8   believed she could work four hours, and I don't
    9   discussing the facts.                                     9   believe she did anything to really search for a job
   10         THE WITNESS: I think my role here is --            10   until after probably December of 2017.
   11         MR. ORTUNO: Are we going to do a legal             11      Q. Okay. And during that time frame, do you
   12   argument? Should we pull out Westlaw?                    12   have any knowledge -- when I say "you," I mean the
   13         MR. KEMP: Well, wait for my question.              13   firm, does the firm have any knowledge of any
   14         THE WITNESS: I'm here as the PMK.                  14   particular steps that she took to find work or didn't
   15         MR. KEMP: Wait for my question.                    15   take? I mean, do you have any knowledge that would be
   16         MR. ORTUNO: Okay.                                  16   relevant to that?
   17   BY MR. KEMP:                                             17      A. Well, that she didn't take steps would be the
   18      Q. Do you have any dispute that Ms. Buchanan did      18   knowledge we had during that time period.
   19   go to the EEOC and Nevada Equal Rights Commission to     19      Q. So the defendant's contention is that she
   20   file a charge?                                           20   didn't do anything to look for work during that time?
   21      A. No.                                                21      A. That's my understanding.
   22      Q. Do you have any dispute as to whether or not       22      Q. Okay. All right. So the 18th affirmative
   23   the agency processed the charge?                         23   defense was the after-acquired evidence doctrine.
   24      A. No.                                                24         Have you learned anything about acts or
   25      Q. Okay. I don't know if I'm going to have any        25   omissions that Ms. Buchanan did or failed to do since
                                                     Page 154                                                        Page 156
    1 questions on topic 26. I think on that particular one       1 the time that she's not been working with you? Have
    2 we've sort of covered it. I mean -- all right. Let          2 you found anything that would have caused you to
    3 me just ask this:                                           3 terminate her employment had you known about it at the
    4         This is on -- you've got, on your 6th, 8th,         4 time?
    5   9th, and 10th affirmative defenses, they are basically    5     A. So can we do this on this question: Can we
    6   all talking about that you had legitimate                 6 back after-acquired evidence out of your question and
    7   nondiscriminatory and non-retaliatory business reasons    7 then ask it based on a fact, because there's a
    8   for whatever took place with Ms. Buchanan.                8 plethora of cases describing the scope and effect of
    9         Along those lines, is there anything -- you         9 after-acquired evidence and what that even means.
   10   know what? I don't think I can formulate a question      10      Q. Sure.
   11   here that is not something that we've already talked     11      A. So --
   12   about and not something that we're not just going to     12      Q. Let me rephrase the question.
   13   have a big argument about.                               13         My question is, have you learned anything
   14      A. Okay.                                              14   since the last time Ms. Buchanan worked for you, have
   15      Q. I'm going to just put an asterisk by that. I       15   you learned anything that, had you known about it
   16   may come back to that.                                   16   while she was working for you, that would have led you
   17         MR. ORTUNO: Okay. I'll be here.                    17   to terminate her employment?
   18   BY MR. KEMP:                                             18      A. With that one, no, I have not.
   19      Q. Okay. 27 is talking about the 20th                 19      Q. Okay. Have you learned --
   20   affirmative defense with respect to failure to           20      A. I'm sorry. Can I look at that answer real
   21   mitigate damages.                                        21   quick? (Counsel examined reporter's computer screen.)
   22         Is there any way in which you think                22         No, we're good.
   23   Ms. Buchanan didn't go out and find replacement          23      Q. Since the last time Ms. Buchanan worked for
   24   employment or do something to earn a living that         24   you, have you learned of anything that she did while
   25   would...                                                 25   she was employed by your firm that you would have
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    1 considered to be misconduct?                                   1 at-will employee. That would apply to the contract
    2       A. No, not in the sense that I think you mean            2 allegation. I knew that before, but not in the
    3   it, no.                                                      3 context of the allegation.
    4       Q. Like in any sense at all?                             4         I mean, that's just starting on the formation
    5       A. No, the answer is no.                                 5 of the contract. I don't believe she's entitled to
    6       Q. Okay. Have you learned of anything since              6 any damages even under a contract theory based on her
    7   Ms. Buchanan left the employment with your firm that         7 testimony at her deposition. That would be added in,
    8   you didn't know at the time that you now think has           8 her responses to discovery, her initial disclosures.
    9   some impact on her entitlement to recover money from         9         So the question is huge. There is every fact
   10   your firm?                                                  10 in the case plays into whether or not she's entitled
   11       A. I don't know what you mean by "entitlement."         11 to recover money under her claims that we couldn't
   12       Q. Well, she has a claim for money damages from         12 even do it in an MSJ. There is still too much past
   13   your firm.                                                  13 that.
   14       A. Correct.                                             14      Q. Okay.
   15       Q. Have you learned anything since the time that        15      A. So I can't answer your question.
   16   she left the employment with your firm that you             16      Q. Number 29 talks about the second affirmative
   17   believe should result in her not being able to recover      17   defense, which is a claim that the defendant -- the
   18   those damages that she's claimed here?                      18   claims are -- against defendant are barred by the
   19         MR. ORTUNO: I'm going to object on this               19   exclusive remedy provisions of the Nevada Industrial
   20   again. It goes to the very heart of this lawsuit.           20   Insurance Act.
   21   That's what we're going to trial to determine.              21      A. We'll withdraw that affirmative defense.
   22         THE WITNESS: The answer is yes. I mean, all           22      Q. Okay.
   23   the discovery in the case, her deposition adds              23      A. That's not applicable.
   24   information. So it would be really, really hard to --       24         MR. ORTUNO: Okay. I'll take the blame for
   25   there's a lot of information I have today that I            25   that.
                                                         Page 158                                                         Page 160
    1   didn't have back when she was employed and since she         1         MR. KEMP: Nobody is assigning any blame.
    2   left employment that impacts on her right to recover         2   Come on, now.
    3   money in the lawsuit.                                        3         THE WITNESS: Did you get that comment from
    4   BY MR. KEMP:                                                 4   opposing counsel, nobody is assigning any blame?
    5       Q. So these are things that you have learned             5         MR. KEMP: With respect to the second
    6   from your discovery process in the case?                     6   affirmative defense, make sure you add that part.
    7       A. Yes, yes.                                             7         THE WITNESS: I just want to make sure I can
    8       Q. All right. Would you share some examples              8   pull it out when Joe starts screaming.
    9   with me?                                                     9   BY MR. KEMP:
   10         MR. ORTUNO: Objection.                                10      Q. Okay. So topic 30 is the 24th affirmative
   11         THE WITNESS: Examples of what?                        11   defense, saying that plaintiff's employment has not
   12   BY MR. KEMP:                                                12   been terminated, nor has been subjected to any adverse
   13       Q. Well, what are some of the examples that you         13   action with respect to the employment.
   14   think have had this impact that you have learned in         14         I think we at least touched on it. I think
   15   discovery?                                                  15   we kind of covered it. Do you have anything else to
   16       A. With respect to what specific cause of action        16   say about the end of her employment? Her contention
   17   or claim? There is no contract, so the allegation was       17   is that she was essentially terminated when you
   18   that there was a contract. I didn't know anything           18   informed her that her insurance was being cancelled.
   19   about that before while she was employed because there      19         Do you have any response to that contention
   20   never was one. So there's an allegation. I'm                20   by her that would go to this?
   21   learning about that for the first time from her             21      A. Sure. She was an at-will employee. We had
   22   perspective. And then I look at the evidence that           22   agreed to pay her insurance while she was on leave,
   23   doesn't support that. There are a hundred pages of          23   which is something we've never done. And she was
   24   e-mails that go back and forth that don't lay the           24   going to contribute to her insurance. She did not
   25   foundation for an appropriate contract. She was an          25   contribute to her insurance. We were paying the full
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    1 amount while she was out not working with no estimated          1         THE REPORTER: Eighteen.
    2 date of return beyond the four-hour limit.                      2          (Exhibit 18 was marked for identification.)
    3        And we had been talking -- I talked in the               3   BY MR. KEMP:
    4 August time frame, when it became clear that she                4       Q. So 18 is an iMessage, a text message,
    5 needed six more months and we weren't going to bring            5   essentially, from September 1st, I believe this was
    6 her back in and we were paying for insurance and she            6   2017, 4:35 p.m. It's talking about the pay and the
    7 wasn't contributing, I talked to Susan Watkins about            7   insurance. It's on the second page of it it says,
    8 we needed to bring the insurance to an end.                     8   "Regarding insurance, we're going to have to talk
    9        We had some discussions in September, but we             9   about that," is one sentence right like in the middle
   10 never got her answer and so it came up again in                10   of the text on that page.
   11 November. I believe, actually now that we are                  11       A. Okay.
   12 talking, it was in conjunction with the E&O, and she           12       Q. So was it after this text message on
   13 has her little ticklers. So it all came up again at            13   September 1st that you discussed her paying for part
   14 that time, and that's when there was no prospect of            14   of her insurance?
   15 her coming back and she hadn't contributed any portion         15       A. No. I mean, this was after all of that
   16 in five or six months, that we ended it.                       16   initial discussion.
   17      Q. What was the agreement with respect to                 17       Q. Okay.
   18   contributing? How did that come about? How was that          18       A. This is September. We talked about it in
   19   discussed? I haven't seen any e-mails about that.            19   May, May, June, I think. I have to look. There's a
   20      A. The agreement -- I don't know what you mean            20   sheet that has the reference to the first payments of
   21   by that. But as we talked about earlier, she went out        21   insurance. I don't think it took this long to get it
   22   on an indefinite leave, and I believe right after            22   reinstated once it was cancelled. I think it was
   23   that, as part of that, Susan Watkins had cancelled her       23   reinstated pretty quickly.
   24   insurance, because that's what we do when people             24       Q. Do you recall sending this text message to
   25   leave.                                                       25   Amy?
                                                          Page 162                                                        Page 164
    1         And that -- Ms. Buchanan found out about                1       A. No, not particularly.
    2   that, became very upset, and I talked to                      2       Q. Do you have any dispute or doubt that you
    3   Brian Letofsky and Susan, and we agreed to reinstate          3   sent this text message to her?
    4   it while she was out on leave, because we knew that           4       A. No, not as I'm looking at it here. I don't
    5   she needed the insurance and we wanted her to find a          5   know what text came in advance of that, but...
    6   way to get healthy if that was possible.                      6       Q. All right. I'm just going to read here.
    7         As part of that we would continue the                   7   It's not that long.
    8   insurance, but it would need to continue in accordance        8       A. What I don't understand from the page here is
    9   with the previous arrangement. So we contributed X            9   it says "to Dan Watkins" and it says, "Amy, I just
   10   amount and she was supposed to contribute X amount,          10   spoke." So it doesn't -- I'm not sure --
   11   but that didn't happen, so we were footing the full          11       Q. Yeah, I don't know why --
   12   bill for, I think, if not all the time, everything but       12       A. That's confusing to me, so I can't confirm
   13   one month or two.                                            13   that this is a text that I sent based on that, but...
   14      Q. So how was it communicated that she was going          14       Q. Just based on the fact that it says "to Dan
   15   to be footing the bill for part of it? I don't recall        15   Watkins"?
   16   seeing any communication about that.                         16       A. Yeah. It doesn't appear to be from me.
   17      A. No. She called when she was cancelled and we           17       Q. Okay. Well, the next page, you can see where
   18   talked on the phone and said we'll reinstate it but we       18   there's an "okay, thank you." I think that might be
   19   would reinstate it as it was before, can't just take         19   referring to that, where she responded.
   20   care of all of your insurance, we've never done that.        20       A. Okay. I mean, that's --
   21   I believe she contributed the first month and didn't         21       Q. I don't know that for sure, but that's --
   22   after, something to that effect. It's on the next            22       A. You know as much as I do, apparently. If you
   23   page you have there.                                         23   have questions, I can answer them about it.
   24         MR. KEMP: Let me mark this as an exhibit so            24       Q. Right. So I am going to read it. It says:
   25   we're on the same thing.                                     25              "Amy, I just spoke with Susan and she
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    1        told me about the miscommunication regarding          1 insurance or the pay?
    2        pay and insurance. Regarding the pay, we              2       A. Yeah.
    3        will go through the payroll records in detail         3       Q. Do you recall any other conversations or
    4        this weekend and get you a check for the              4   communications with Amy about the insurance in
    5        balance of the difference between the                 5   particular?
    6        50 percent that you were paid and the                 6       A. Other than this text message?
    7        percentage that you worked. We will make              7       Q. After this, yes.
    8        sure that you get -- we will make sure to get         8       A. Oh, after? I couldn't place a date and a
    9        you paid for the time you worked. Regarding           9   time to any conversation without something in writing.
   10        insurance, we're going to have to" -- and it         10   I can give you general ideas. I would assume we
   11        picks up here in the middle (indicating) --          11   talked about it, but I don't recall it.
   12        "talk about that." Let me start with the --          12       Q. It would only be an assumption on your part.
   13        "regarding insurance, we're going to have to         13   You don't have personal recollection of it. Correct?
   14        talk about that. I'm sure we can fix                 14       A. That is correct.
   15        whatever problems exist. I cannot talk this          15       Q. Okay.
   16        evening, but I'm free tomorrow morning up to         16       A. And I should say, with the caveat that
   17        about 1:00 p.m. Please call me tomorrow at           17   potentially other documentation might refresh my
   18        your convenience. Thank you, Dan."                   18   memory that oh, yeah, we did talk. But as I sit here
   19         I sort of read that correctly, didn't I? Did        19   with this, I don't recall anything specific.
   20   I say anything that's not there?                          20       Q. Okay.
   21      A. No, you read it.                                    21       A. And I don't know what e-mails or whatever are
   22      Q. So I don't see anywhere in here where you are       22   out there that would refresh my memory off the top of
   23   talking about how she owes you money for the              23   my head. I'm just saying that could happen. I just
   24   insurance. There is nothing like that in this             24   want to leave that opening because --
   25   particular text message, is there?                        25       Q. Okay.
                                                       Page 166                                                            Page 168
    1     A. Well, "we'll have to talk about it," so it            1       A. -- there were a lot of communications with
    2 doesn't say what you just said, but it certainly             2   Ms. Buchanan over all of this time, and when one
    3 infers that there's things to talk about.                    3   particular conversation occurred versus another I
    4      Q. Okay. But my question is just about this             4   think would be very hard to say.
    5   document. It doesn't say anything about she owes you       5         MR. KEMP: Let's make this next.
    6   money for insurance, does it?                              6         THE REPORTER: Nineteen.
    7      A. When you say "say," I think that's vague.            7          (Exhibit 19 was marked for identification.)
    8   The words "you owe us money for insurance" are not in      8         MR. KEMP: Exhibit 19 is a two-page document.
    9   there.                                                     9   It's got defendant's Bates stamps 1291 and 1292.
   10      Q. Correct.                                            10       Q. These two pages, they were in sequence in the
   11      A. But clearly we need to talk about the               11   numbering of the Bates stamping. As I'm looking at
   12   insurance situation, so it infers that there was          12   them now, I think I might have grabbed the second
   13   something along those lines to talk about.                13   page thinking it went with the first, but it doesn't
   14      Q. Okay. So did you talk with Amy about the            14   because this is from a different date -- well, it's
   15   insurance after this text message from September 1st      15   hard to say because we have the problem on the first
   16   at 4:35 p.m.?                                             16   page of again not having a sent line on that e-mail,
   17      A. I do not know if we talked about it after or        17   so we don't specifically know what date that was sent
   18   before. It would be extremely odd for me to just fire     18   or what time. So I think that might have been why I
   19   off this text without some precursor, some other          19   thought they were related. But when I look at the
   20   information, something from Ms. Buchanan to stimulate     20   body of the e-mail on the first page, I don't think it
   21   the conversation. So I don't know if it was before or     21   can relate because it's from a later time period.
   22   after.                                                    22         But let's look at the one Friday, 22nd
   23      Q. At the end of it, you are asking her to "call       23   July 2016 from Amy Buchanan to Dan Watkins regarding
   24   you tomorrow to talk about it." Do you remember if        24   health insurance. It says:
   25   she called you on September 2nd, 2017, to discuss the     25             "Hi, Dan. Per Jace, he can enroll me in
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    1         health insurance at any time, effective on               1       Q. Okay. So this appears to be going on in
    2         the 1st of the enrollment month, as long as              2   November of 2017. I think I recall it was around
    3         it's approved by you and Brian."                         3   November, the labor commissioner issue there, or she
    4          Okay. This is when she first gets insurance.            4   complained to the labor commissioner. Do you remember
    5   This is part of the problem, the 2016 and 2017                 5   getting the complaint from the labor commissioner?
    6   time frame, sometimes I get them confused in this              6       A. Yes.
    7   case, and that might be why I included this.                   7       Q. Do you think it was in November or was it
    8         So this was just when she was just being                 8   October? When do you think you got it?
    9   enrolled in insurance?                                         9       A. That I don't know, but the response deadline
   10      A. Correct.                                                10   is in November, so I'm assuming it was probably
   11      Q. Do you remember this e-mail at all?                     11   mid-Novemberish, somewhere in there.
   12      A. Oh, gosh, no. I do recall there was some                12       Q. Okay. I don't see anywhere in this e-mail
   13   issue about the timing of our insurance with her              13   where you are saying that she owes you money for
   14   previous insurance, but I couldn't be specific on it.         14   health insurance either. It's not in this e-mail, is
   15   And that's why she was saying you can do it now,              15   it?
   16   because when did she start? April? I think we have a          16       A. Not in this e-mail.
   17   60-day waiting period.                                        17       Q. Okay. Did you ever send her any bills for a
   18      Q. Right.                                                  18   portion of the insurance?
   19      A. Which would have put it in June. But I don't            19       A. Not in the sense of an invoice, no.
   20   recall the specific e-mail. I think there was                 20       Q. Did you ever send any e-mails telling her how
   21   something that had to do with the timing to not               21   much she needed to pay?
   22   interfere with the other insurance that she was on.           22       A. Yes -- well, not me personally, no. The
   23      Q. Okay. And then that just got stuck on there             23   business did, though.
   24   because I thought it might have been somehow related.         24       Q. Who do you think would have sent those
   25      A. For the clarity of the transcript, should we            25   e-mails?
                                                           Page 170                                                         Page 172
    1   remove it?                                                     1      A. Well, they might have been copied by me and
    2      Q. We can just -- it could just be left there.              2   sent, but Susan would have put them together, Susan
    3        MR. ORTUNO: I'll also note they have                      3   Watkins.
    4   different subject lines, so they are probably                  4      Q. I just don't remember seeing them, so I just
    5   obviously different time frames or different e-mail            5   want to make sure I go looking for the right --
    6   chains.                                                        6      A. Well, in one of the summaries I thought I saw
    7        MR. KEMP: I think when I was looking at them              7   in there.
    8   the sequence in the numbers is what threw me off.              8      Q. In the --
    9        Okay. So we'll set the second page aside and              9      A. Isn't that our response, the next one?
   10   we'll look at the first page.                                 10      Q. Let me see. These are from July and
   11      Q. Again, there is no sent line on here.                   11   September.
   12   However, this is talking about -- I'll just read it,          12      A. Oh, September. Yeah, I'd have to look at
   13   the subject, "Health Insurance and Outstanding Wages."        13   those.
   14              "Hello, Amy. We received the claim for             14      Q. Okay. We'll --
   15        wages. I will talk to Brian and we will                  15      A. This e-mail does not say she owes money for
   16        address this no later than the response                  16   insurance.
   17        deadline of November 29th, 2017.                         17      Q. Right. You believe that there are e-mails
   18              "Also, please be advised that we have              18   that tell Amy she needs to pay part of the insurance?
   19        paid your health insurance through                       19      A. I believe that it was part of a summary that
   20        November 30th, 2017. We can no longer make               20   we prepared, but I don't think there was anything
   21        payments for the insurance past this date.               21   through the -- we didn't send a regular note saying
   22        You will receive notice from the insurance               22   this is the amount accumulated or anything like that.
   23        company on your options. Thank you, Dan."                23      Q. The only thing I recall ever seeing it on was
   24        Did I read that correctly?                               24   the response to the labor commissioner, which included
   25      A. You did.                                                25   a settlement offer, so I don't want to really get into
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    1 that. But that's the only time I ever remember seeing         1 claim for the wages, and yes, I guess she was.
    2 something where you were claiming there was some              2     Q. So it says here that the firm had paid her
    3 offset for the cost of her insurance.                         3 health insurance through November 30th, 2017.
    4      A. I just want to strike "settlement offer" in           4      A. Correct.
    5   your question, but if we can do that.                       5      Q. Was she an employee of the firm after
    6      Q. I'm just saying there was a settlement. I'm           6   November 30th, 2017? In other words, on December 1st
    7   not saying what the --                                      7   of 2017, was she at that point no longer an employee?
    8      A. I just don't want this read back at trial.            8         MR. ORTUNO: I'm going to object on the fact
    9      Q. I'm not -- well, there would be a motion in           9   that a differentiation between what constitutes an
   10   limine or whatever, but --                                 10   employee is a question of law that needs to be --
   11      A. Change the question, we don't have a problem,        11   requires a legal analysis.
   12   that's my point. I don't want to answer a question         12         THE WITNESS: I don't think anything changed
   13   that says there's a settlement offer.                      13   in terms of her status as a result of not paying the
   14      Q. I'll rephrase the question.                          14   health insurance.
   15      A. Thank you.                                           15   BY MR. KEMP:
   16      Q. The response that was given to the labor             16      Q. Okay. So what notice was she going to
   17   commissioner to the complaint is the first and only        17   receive from the insurance company about her options?
   18   time that I can recall seeing a reference made to Amy      18      A. I don't know. I understand COBRA sent --
   19   owing your firm money for part of the health               19   insurance companies notify them of COBRA, but I don't
   20   insurance. Do you know of any other documents as you       20   know the details.
   21   sit here --                                                21      Q. COBRA only kicks in once somebody is no
   22      A. Where we sent something that says to her you         22   longer an employee; is that right?
   23   owe us money?                                              23      A. So that's why I said "your options." I don't
   24      Q. Right.                                               24   know what they are or I don't know anything about
   25      A. No.                                                  25   COBRA. Never explored it. Don't know when it kicks
                                                        Page 174                                                         Page 176
    1      Q. Okay. So as of the time that this e-mail              1 in. And that's probably why I didn't use it there.
    2   would have been sent in the first page of Exhibit 19,       2     Q. There's a state statute also that I think
    3   by that point she was no longer an employee of your         3 they call it a mini-COBRA that --
    4   firm; is that correct?                                      4     A. I know there is Cal-COBRA in California, but
    5      A. No.                                                   5 I don't know anything about the operations of COBRA.
    6      Q. She was still an employee?                            6 That's why we have an insurance company, or a broker,
    7      A. Well, she had sent the notice to us or the            7 I should say.
    8   information in October -- excuse me -- August               8      Q. Okay. So I think, when we discussed this
    9   indicating six months under that scenario of                9   earlier, that you said pretty much when you got the
   10   four hours a day.                                          10   wage claim from Amy through the labor commissioner,
   11         Nothing changed between then and this,               11   that certainly by that point she wasn't an employee
   12   nothing changed going forward. I mean, she was still       12   anymore. Is your testimony different now?
   13   within the six-month window, I think, when all of this     13         MR. ORTUNO: Objection. I believe that
   14   occurred.                                                  14   misstates the evidence.
   15      Q. Okay. So as of the time of this e-mail that          15         THE WITNESS: It does. I didn't use the word
   16   you sent to her regarding the claim for wages sent to      16   "certainly." I never terminated Ms. Buchanan. I
   17   the labor commissioner, as of that time, how long had      17   never said, "You're not employed here anymore." It
   18   she no longer been an employee of your firm?               18   never happened. She came to us in August with an
   19      A. Can you ask the question again? I lost you.          19   option that wasn't workable. She said she needed
   20      Q. Sure. I'm just asking, at the time you sent          20   six months to let that play out.
   21   her this e-mail -- let me back up and start over.          21         As I indicated earlier, the firm was growing,
   22         As of the time you sent her this e-mail, was         22   and depending on how things worked out with her
   23   she still an employee of your firm?                        23   medically and the firm's growth, I don't know what the
   24      A. Yes. We were paying on her health insurance          24   options are in terms of her getting back and working
   25   through that point and we were going to respond to her     25   day to day.
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    1        I left it open. That's why we called it                 1 like eight hours of work or something.
    2   indefinite leave of absence. We paid her insurance to        2     Q. I thought that there was -- I thought part of
    3   help her out and to be nice. There was no                    3 her claim was that she had done eight hours of work on
    4   contribution. I can't just keep paying. I had no             4 an independent contractor basis, but that was prior,
    5   indication she was coming back any time soon,                5 after she had resigned in September of 2016.
    6   certainly not through January.                               6     A. Could be. I mean, you are asking me
    7        So we couldn't keep paying that benefit when            7 questions about a two-year period of time with a lot
    8   there was no production coming from her, but I never         8 of interaction. There are documents that would help
    9   said you are not employed here, you are not welcome          9 me remember that. That time period after 2016 may
   10   back when you get things worked out. That never             10 have been when that occurred. She called it an
   11   happened. That discussion never even crossed my mind.       11 independent contractor status. I really wasn't sure
   12   BY MR. KEMP:                                                12 what it was. She wasn't supposed to be working and
   13      Q. And any time between May of 2017 and today,           13 yet she was working. I don't remember it being
   14   did she ever tell you that she quit or give you a           14 September, because she resigned. It makes more sense
   15   resignation letter?                                         15 to me as I'm sitting here that it was May, but it
   16      A. No.                                                   16 could have been. I don't know. But whatever it was,
   17      Q. Okay.                                                 17 we paid her for that.
   18      A. She did not do that, to me, no.                       18     Q. Okay. But that was the point in time when
   19      Q. To anybody at the firm that you --                    19 she was doing that work that you shut off her remote
   20      A. Or at the firm, no.                                   20 access and her e-mail?
   21      Q. Okay. Was Ms. Buchanan's remote access and            21      A. Whenever she was doing work when she wasn't
   22   e-mail account turned off at some point?                    22   supposed to be, yes.
   23      A. Yes.                                                  23      Q. Okay. Did she continue to be an employee
   24      Q. When was that done?                                   24   after you shut off her remote access?
   25      A. I don't know. That's when we realized she             25      A. Sure. She was off work for her medical
                                                      Page 178                                                      Page 180
    1 was continuing to work when she was supposed to be on          1   reasons to get better, so that was what she should
    2 leave of absence, she was working hours she wasn't             2   have been focusing on.
    3 supposed to work. So we shut it off so she wouldn't            3      Q. Were you aware that when new associates
    4 continue to do that, because she wasn't supposed to be         4   starting -- I think it might have been Ms. Santos,
    5 working.                                                       5   that she -- that people in the firm were actually
    6      Q. Okay. Do you know what date that was,                  6   reaching out to her to get information about the
    7   approximately?                                               7   cases, things that were going on?
    8      A. I don't, but we ended up paying her for, I             8      A. I heard that at Ms. Buchanan's deposition. I
    9   think, the time that she worked remotely and finished        9   don't have independent knowledge of that. I wasn't
   10   some projects. So it would be reflected there, I            10   involved in any of those communications.
   11   believe, in the dates.                                      11      Q. Number 31, the prayer for relief basically
   12      Q. Okay. So --                                           12   says that defendant is going to claim an entitlement
   13      A. There was a time where she was no longer              13   to be awarded its cost of defense, reasonable
   14   being paid salary because she wasn't working                14   attorneys' fees.
   15   regularly, wasn't supposed to be, but continued to do       15         Your firm is defending this case in-house; is
   16   work. So we shut it off so she wouldn't continue to         16   that right?
   17   send e-mails, do research, and perform work when she        17      A. We're defending it, yes.
   18   wasn't supposed to be.                                      18      Q. You haven't spent any money on attorneys'
   19      Q. So approximately when was that?                       19   fees for outside attorneys, have you?
   20      A. Whatever -- I don't recall. Based on -- I             20      A. I disagree. Every second that an attorney is
   21   know we did it for that reason, and my assumption           21   on this is money spent.
   22   would be it was after May of 2017.                          22      Q. What I'm saying is, you haven't spent any
   23      Q. Okay. What work was it that she did?                  23   cash money, you haven't sent any checks to other
   24      A. I couldn't -- just followup projects, and it          24   attorneys to represent you in this case?
   25   seems like there was a brief she worked on. It was          25      A. No outside firms; correct.
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    1      Q. Okay. The 50th affirmative defense talked           1 to streamline the office, help with administrative
    2   about in number 32, this might be another one that I      2 tasks and things of that nature. I don't ever
    3   don't think we really have a dispute over anymore, it     3 remember her saying a reasonable accommodation from my
    4   says the plaintiff never requested a reasonable           4 medical provider would be to bring in a support staff
    5   accommodation under the ADA. Maybe we do because it       5 member; I don't remember that.
    6   says a "reasonable accommodation." Your contention,       6     Q. Oh, okay. So in order to be a reasonable
    7   as I understand it, is that her request for               7 accommodation request, it would have to be something
    8   accommodations were not reasonable. Is that right?        8 that her doctors requested?
    9      A. No, not necessarily. We discovered that the         9     A. No. The doctors' time limit was the
   10   requested accommodation was not workable. I don't        10 accommodation requested. I don't ever remember her
   11   know that it was unreasonable when it was made, but it   11 saying, I need as an accommodation a staff member to
   12   was -- we did soon learn that it created an undue        12 assist me with performing essential job duties because
   13   burden or hardship on the office and on Ms. Buchanan.    13 I have a disability. I don't remember that happening.
   14      Q. So she did request one, then, in terms of          14       We talked about administrative staff all the
   15   maybe this defense --                                    15 time because we were trying to grow the office, but
   16      A. Yeah, I don't know how to read that defense.       16 never in the context of -- that I recall as an
   17   I don't think it was unreasonable for her to request a   17 accommodation to her disability.
   18   reduced schedule. That's not what we're saying there.    18     Q. Okay.
   19         I think that it became an undue hardship,          19     A. I don't remember it ever coming up like that.
   20   though, as the process went along. So I don't know       20     Q. Okay. The fifth affirmative defense, I want
   21   how to answer the question on the affirmative defense,   21 to take a look at it. It appears to be like a
   22   but those are the facts and circumstances around it.     22 personal injury type of thing almost.
   23      Q. Okay. I think your answer is that she              23       MR. ORTUNO: Fifth, you said?
   24   requested a reasonable accommodation but you found --    24       MR. KEMP: Yes, the fifth.
   25         MR. ORTUNO: Objection. Misstates the               25     Q. (Reading):
                                                    Page 182                                                             Page 184
    1 testimony.                                                  1             "Some or all of the plaintiff's claims
    2        THE WITNESS: Let him finish the question.            2         are barred because plaintiff did not exercise
    3   BY MR. KEMP:                                              3         ordinary care, caution or prudence for the
    4      Q. Did she request a reasonable accommodation          4         protection of her own safety and well-being,
    5   from you at any point?                                    5         and any injuries or damages allegedly
    6      A. Yes, at some point, at one point, yes.              6         sustained or suffered by her were directly
    7      Q. That makes this defense not --                      7         and proximately caused or contributed to by
    8      A. No, at one point she did. Remember she              8         her default, failure to act, carelessness,
    9   requested accommodations across time many times. So       9         and negligence."
   10   yes, at one point she did. When we were in August and    10          Are you actually talking about physical
   11   she was asking to go back to the same miserable          11   injuries?
   12   condition that she was working in before, for her, not   12      A. The first amended complaint?
   13   me, but for her, and the fact that she couldn't          13      Q. The first amended complaint is number 2,
   14   complete the essential duties on a four-hour-day         14   Exhibit 2. I mean, we certainly would have had a
   15   schedule, then it wasn't reasonable.                     15   claim for garden-variety emotional distress.
   16      Q. Okay.                                              16      A. Is there an emotional distress claim on which
   17      A. We had tried that and we knew it wasn't.           17   some kind of comparative fault analysis could be
   18   Hence my question about why are you asking to go back    18   applied? I don't know. I mean, I know that she --
   19   to that.                                                 19      Q. And the remedies sought under the ADA.
   20      Q. Okay. And in terms of her request to have          20      A. Well, the breach of implied covenant of good
   21   support staff help, was that a reasonable                21   faith and fair dealing as well. I mean, honestly,
   22   accommodation request or unreasonable accommodation      22   that's a really difficult question to answer. It
   23   request?                                                 23   requires a pretty sophisticated legal analysis.
   24      A. I don't recall ever discussing support staff       24      Q. It just struck me as odd, it just struck me
   25   as an accommodation. Support staff was discussed as      25   as out of place, but -- and if you are talking about
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    1 you wanted to apply it to a claim of emotional               1      Q. Okay. Do you believe that the information in
    2 distress, then it makes more sense.                          2   the labor commissioner response is accurate and
    3      A. I think that's where it's directed.                  3   correct?
    4      Q. Okay. That's fine. Go past that, then --             4      A. Yes.
    5   well, I'm sorry. Just one question:                        5      Q. Okay. 46, regarding the 40th affirmative
    6         What is it that she did or didn't do that you        6   defense:
    7   feel caused her own --                                     7               "Plaintiff did not have a disability,
    8      A. I never asked her to work past the                   8          quote-unquote, as defined by the Americans
    9   restrictions. I think she might have testified to          9          With Disabilities Act."
   10   that at her deposition. I just didn't. And to the         10           Is it your contention that she didn't have a
   11   extent that she was driven and she worked hard and        11   disability, she didn't have a condition that impacted
   12   wanted to do that, she did that on her own. And so I      12   on her activities of daily living?
   13   wasn't compelling her or telling her to do that.          13      A. I believe that kind of contention in question
   14   Certainly the work needed to be done, but I never said    14   might not be appropriate in the depo setting, but at
   15   you need to stay and risk your health.                    15   this point, especially as a PMK, I don't know of any
   16         On the contrary. We did a lot to try and            16   information to suggest otherwise. I think she was
   17   accommodate her in that, and I think her actions          17   qualified as disabled.
   18   across the board made clear or at least certainly         18      Q. Okay. So there's a number of contract
   19   contradict the idea that I was yelling at her and         19   defenses that are discussed here. I want to start
   20   telling her she had to work late.                         20   with the 44th affirmative defense, which is discussed
   21         So to the extent that she came in with an           21   at topic 49, "no contract was ever formed between
   22   accommodation, we granted it and then she worked past     22   plaintiff and defendant." And you've touched on that
   23   that. That would be something that she chose to do,       23   before.
   24   and we realized it wasn't workable because we went        24          Is there any other -- any other facts or
   25   even to 80 percent when she felt like she wanted to       25   information that you have to tell me about the lack of
                                                       Page 186                                                          Page 188
    1 give it a try and work that, that wasn't workable and        1   contract formation that we haven't touched on already?
    2 she had an increase in the symptomatology and decided        2      A. Yes. She was always an at-will employee.
    3 that it wasn't workable and she had to stand back.           3      Q. Okay. So your position is -- and I run into
    4         So I don't know how that all plays out, but          4   the objection here, I know. But your position is that
    5   that's where that would be driven from.                    5   at-will employment is not a contractual relationship?
    6      Q. Okay. Jumping ahead to number 45, the 37th           6      A. Depends on what you mean by "contractual
    7   affirmative defense --                                     7   relationship." Contractual relationship that implies
    8      A. Can you hold on a second? I'm sorry. I'm             8   a set term would not be at-will employment, from my
    9   trying to respond to this (indicating cell phone), an      9   understanding.
   10   emergency on my depo tomorrow.                            10      Q. Right, but it is a relationship that is
   11      Q. Sure. Take your time.                               11   governed by the law of contract in terms of you agree
   12         Topic 45 is talking about the 37th                  12   to pay her a certain amount of money, she agrees to
   13   affirmative defense, which says:                          13   work a certain amount of time?
   14             "Defendant is entitled an offset for all        14      A. Am I disagreeing with your statement that it
   15         amounts advanced to plaintiff which she has         15   is -- I don't believe that at-will employment supports
   16         not repaid or amounts she otherwise owes."          16   the bases for your cause of action that's bounded in
   17          We talked about the insurance. Is there            17   contract under the breach of implied covenant of good
   18   anything else that you claim that Ms. Buchanan            18   faith and fair dealing. So I think we have a
   19   actually owes to your firm?                               19   disagreement there.
   20      A. I don't believe so.                                 20      Q. I understand.
   21      Q. And do you know how much -- I think it's set        21      A. So I don't believe that there was a contract
   22   forth in the labor commissioner response, but as you      22   ever formed that discussed a term of employment, nor
   23   sit here, do you remember how much it is that you         23   that set a term -- a pay scale for any term, anything
   24   claim that she owes?                                      24   beyond an at-will scenario.
   25      A. Not without looking at that, no.                    25      Q. All right.
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    1      A. I mean, getting the facts, just because they        1         frauds, error, impracticability, waiver
    2   are so wide-open questions, but there was an              2         and/or release."
    3   employment manual. She acknowledged at-will               3          And there's a whole bunch of stuff there.
    4   employment. She acknowledged receipt of the employee      4         First of all, do you think that Amy Buchanan
    5   manual. That identifies multiple times throughout the     5   lied or misrepresented anything to you in this case?
    6   manual that her -- that employment is at will and that    6      A. You mean during her employment?
    7   no contract is formed based on the policies and           7      Q. Anything related to her employment when she
    8   procedures in the employee manual, and she                8   was working for you through the end of when she was no
    9   acknowledged receipt of that and we have no documents     9   longer working for you, did she --
   10   to the contrary.                                         10      A. I'm just trying to get the time frame. Do I
   11      Q. Okay. Anything else with respect to the            11   think she lied to us -- let me not use the word "lie"
   12   formation?                                               12   because I don't know -- that can have a lot of
   13      A. Not off the top, no.                               13   meanings. Do I think she misrepresented something to
   14      Q. Okay. So topic 51, the 46th affirmative            14   us during her employment?
   15   defense:                                                 15      Q. Yes.
   16              "Plaintiff's claims fail because              16      A. No, I don't think so.
   17         plaintiff failed to return to work and             17      Q. All right. With respect to her claims, do
   18         abandoned her position."                           18   you think she's made misrepresentations about her
   19          Is that how you contend that the employment       19   claims other than --
   20   relationship ended?                                      20      A. Yes.
   21      A. Again, I think contention questions for pune       21      Q. Okay. Other than what we've already talked
   22   (phonetic) care are not appropriate because they call    22   about, is there anything -- I mean, I think you are
   23   for --                                                   23   saying that she says she's owed money that you think
   24         THE REPORTER: Pardon?                              24   she is not owed.
   25         THE WITNESS: Contention question for pune          25      A. I don't want to be problematic, but that's
                                                      Page 190                                                    Page 192
    1 (phonetic) care are not appropriate because they call       1 very compound and really difficult to answer. She
    2 for a legal conclusion, but to the extent that I can        2 states in her first amended complaint that we were a
    3 elaborate on the abandonment, it goes back to we had a      3 qualified employer, when that's not true.
    4 conversation in August she was going to need                4      Q. We're going to get to that, yeah.
    5 six months, and she never got back to us.                   5      A. But that's what you are asking me now. So I
    6 BY MR. KEMP:                                                6   don't want to necessarily have to go through the
    7     Q. Anything else regarding abandonment of her           7   entire complaint. I mean, I can. Her deposition
    8 position, any other details?                                8   testimony is a few hundred pages. I would have to go
    9     A. We talked about that one, unless you want to         9   through that to identify each misrepresentation that
   10 go back over that, that --                                 10   occurred during that. I don't have my notes from the
   11     Q. Anything that we haven't talked about               11   deposition in front of me to refer to so -- and I
   12 already.                                                   12   don't have the transcript to review it.
   13      A. Okay. Not that I can think of, no.                 13        I think that there were certainly at a
   14      Q. Okay. 52 I think we covered. 53 I'm going          14   minimum misunderstandings by her, but I don't have an
   15   to come back to. 54 we've covered. 56, we've covered     15   itemization for you right now.
   16   the facts, I think, pretty well. Only questions on 55    16      Q. Okay.
   17   at this point.                                           17      A. As it relates to contractual claim, if we
   18         47, topic 47 is talking about the 40 --            18   want to focus on contractual claims --
   19   actually, there was some -- I do this all the time, I    19      Q. Well, that's what this talks about.
   20   have this problem -- 43rd affirmative defense, there     20      A. Your question was claims.
   21   were like two of them. So the first 43rd affirmative     21      Q. It was. But as I look back at this, it does
   22   defense says:                                            22   speak about contractual claims specifically.
   23             "Plaintiff's contractual claims fail by        23      A. Right.
   24         reason of misinterpretation, fraud,                24      Q. And I was just talking about
   25         unconscionability, impossibility, statute of       25   misrepresentation and fraud at this point. There's
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    1 other parts of that too. But just misrepresentation            1      A. On 1286, there appears to be one missing,
    2 or fraud, misrepresentations that she's --                     2   but --
    3     A. Well, any claim that she had an agreement               3      Q. Right.
    4 with us to work for a set period of time under a               4      A. -- to answer your question, I don't recognize
    5 certain pay structure is inaccurate and a                      5   them but I'm assuming that they came from us. It's
    6 misrepresentation, if that occurred, to the extent             6   with our disclosures, so I'm sure we produced them. I
    7 that she was always at will.                                   7   know I've reviewed them. I just don't recognize them
    8         The -- to the extent that she has claimed              8   off the top.
    9   that she's entitled to health insurance as a part of         9      Q. Okay. So the July 10th, 2017, at 10:19 p.m.
   10   an employee on leave, I think that's a                      10   e-mail from you to Amy on 1286 with a copy to Susan
   11   misrepresentation of what we discussed, and I don't         11   indicates that you are going to review her time and
   12   think that's legally accurate. We gave her health           12   you would cover proportionate balance due if she
   13   insurance to help her out when she was on leave.            13   worked more than the 50 percent or 80 percent of the
   14         The idea that she was entitled to a bonus at          14   time. You did make that representation to her, didn't
   15   any time during her employment is a misrepresentation.      15   you?
   16         The idea that we agreed to pay her an hourly          16      A. Regarding billable time? Yes.
   17   rate during her employment is a misrepresentation.          17      Q. Making up payment.
   18         And any other fact that would suggest she was         18      A. We were going -- yes, whatever balance was
   19   not an exempt professional at-will employee, those          19   due based on the review of billable time.
   20   would be misrepresentations.                                20      Q. All right. And you believe that you have
   21      Q. Anything else you can think of?                       21   done that?
   22      A. No.                                                   22      A. Yes.
   23      Q. Okay. Well, the last part -- I'm going to             23      Q. Okay. As you sit here today, you don't think
   24   skip over some of these other parts, but I do want to       24   you owe any money to Amy for time that she worked?
   25   ask about waiver and/or release.                            25      A. No. She was an exempt salaried employee and
                                                         Page 194                                                         Page 196
    1         Is there any document that you contend or              1   we paid her as such.
    2   know of that she signed that would constitute a waiver       2      Q. Now, you said something a few minutes ago
    3   or release?                                                  3   about that there was never any agreement about an
    4      A. I can answer the release part, and that's no.          4   hourly rate, yet we have an e-mail from Susan here
    5   And then just to be honest with you, I've never done         5   from September 1st, 2017, that indicates that time was
    6   an analysis on what constitutes a waiver, so I               6   being paid at 31.25 an hour.
    7   couldn't answer that right now.                              7      A. This is, I believe, for the time over that
    8      Q. Oh, fair enough.                                       8   she was paid when she wasn't being paid under a salary
    9      A. But I think I have given you the facts, at             9   wage. The only way to come up with it was to
   10   least in this context.                                      10   establish an hourly rate to reimburse her for that
   11      Q. Okay.                                                 11   time. But there was no agreement that she would work
   12      A. If it -- yeah. But -- yeah, I don't know of           12   for us under an hourly rate, if my memory serves.
   13   anything on those two issues.                               13      Q. So 65,000 a year divided by 2,080 hours would
   14         MR. KEMP: Okay. Let's make this the next              14   be an eight-hour day of work hours, and that's how she
   15   exhibit.                                                    15   came up with 31.25; is that correct?
   16         THE REPORTER: Twenty.                                 16      A. Yes.
   17          (Exhibit 20 was marked for identification.)          17      Q. And so your position, as I understand it, is
   18   BY MR. KEMP:                                                18   that she was to be paid on a salaried basis for
   19      Q. Pages -- it's defendant Bates stamped 1285,           19   part-time work?
   20   1286. So these e-mails -- you know what? There might        20      A. Yes.
   21   have been one -- there might have been another one on       21      Q. Okay. And it was to be 20 hours a week
   22   1287 that I haven't included here, because it looks         22   part-time when it was 50 percent and then went to
   23   like there's an e-mail from Amy to you at the bottom        23   80 percent was eight hours times four days a week,
   24   of the page, "Payroll Correction."                          24   32 hours. Is that what it would work out to? Don't
   25         Do you recognize these e-mails?                       25   trust my math, bu --
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    1      A. It was 80 percent of a 40-hour workweek, so            1       Q. Okay. I'm sorry. I'm jumping around a
    2   whatever that translates to, yes.                            2   little bit here.
    3      Q. Okay. 50 percent of a 40-hour workweek and             3          44, which is the 36th affirmative defense,
    4   then 80 percent of a 40-hour workweek, okay, all             4   "Plaintiff's claim is barred because there was no
    5   right, and I think it's 32 hours, but we won't trust         5   meeting of the minds; therefore, no contract was
    6   my math either. We'll get a calculator at some point.        6   formed with defendant."
    7         Okay. So this e-mail on September 1st, 2017,           7          I guess that might just be a different way of
    8   basically a check was mailed out to Amy for $1,338.59        8   the other one that says there was no contract?
    9   for the supplemental earnings that were calculated,          9       A. Correct.
   10   and you believe that that was the last money that Amy       10       Q. Okay. 42, which is the 25th affirmative
   11   was owed; is that fair to say?                              11   defense, "Plaintiff's symptoms of mental or emotional
   12      A. Oh, I don't know.                                     12   distress or injury were the result of a preexisting
   13      Q. Okay.                                                 13   disorder or alternative cause and not the result of
   14      A. Did you say owed or paid?                             14   any act or omission of the defendant."
   15      Q. Well --                                               15          Do you know of any preexisting condition of
   16      A. Let's see. When was this sent out?                    16   emotional or mental distress that Amy Buchanan had?
   17   September 2017.                                             17       A. Her entire medical condition.
   18      Q. Yeah. So she had not been working since               18       Q. Okay. So you think because of her -- any
   19   May by that point.                                          19   emotional distress or mental anguish that she had was
   20      A. Yeah, I just don't know. I would assume               20   because of her medical conditions rather than anything
   21   that's right, but I don't know.                             21   that the defendant did?
   22      Q. All right. 48, which is the second 43rd               22       A. The claimed distress and -- mental and
   23   affirmative defenses, "Plaintiff's claims failed            23   emotional distress in this lawsuit, yes.
   24   because she was in breach of contract."                     24       Q. Okay.
   25          Clearly, you can plead things in the                 25       A. There's no parceling out the difference
                                                         Page 198                                                        Page 200
    1   alternative and things that are inconsistent, but in         1   between the frustration and emotional distress
    2   what way do you feel that Amy was not living up to           2   associated with trying to work and have those
    3   whatever agreement or promises that she made?                3   conditions and what she experienced later on, that I
    4      A. Since we don't -- I don't think there was a            4   can discern.
    5   contract, I think she could not be in breach. I don't        5       Q. What evidence do you rely on for that?
    6   know of any facts to show that she breached a contract       6       A. Just her own testimony.
    7   that didn't exist.                                           7       Q. Nothing but her own testimony?
    8      Q. Okay.                                                  8       A. Yeah. I mean, I don't have any other
    9      A. I think we reserved those things for if the            9   information other than what she testified to at her
   10   trier of fact were to conclude that there was a             10   deposition, in terms of how she was handling things
   11   contract, there might be facts and circumstances that       11   from the transition or during the transition.
   12   are borne out by the trial process that establish she       12       Q. Okay. Just to be clear, you don't have any
   13   was in breach.                                              13   medical evidence or doctors' opinions that say that;
   14      Q. As you sit here today, do you know what any           14   right?
   15   of those would be?                                          15       A. No. I don't think it's required for that
   16      A. I don't know the terms of the contract as             16   particular affirmative defense either.
   17   argued and proved at trial, so, no.                         17       Q. It might not be, but I'm just making sure
   18      Q. Okay. Number 50, plaintiff's -- which is the          18   that there is nothing I'm missing.
   19   45th affirmative defense, "Plaintiff's claims fail          19       A. Yeah. We haven't had a medical analysis
   20   because defendant performed all contractual                 20   done.
   21   obligations in full and did so in good faith."              21       Q. Okay. Number 39, going back, it's the 16th
   22         Is your answer the same for that, that you            22   affirmative defense, "Defendants claim that
   23   just basically reserve that in case there's a contract      23   plaintiff's claims fail because plaintiff paid -- it
   24   found?                                                      24   should say "was paid all wages due and owed."
   25      A. Correct.                                              25          So as you sit here, you don't believe there
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    1 is anything outstanding that Amy Buchanan is owed in             1   with --
    2 terms of wages?                                                  2      A. She was an exempt professional employee not
    3       A. Correct.                                                3   entitled to overtime, is one or the primary.
    4       Q. Let me see if I've got the other documents              4      Q. So when you say "not entitled," you mean not
    5   that we haven't looked at.                                     5   entitled to overtime premium of time and a half;
    6       A. While you are doing that, can we take a                 6   right?
    7   two-minute break, go to the restroom, and get some air         7      A. Well, any type of overtime payment, but yes.
    8   circulating in here?                                           8      Q. Okay.
    9          (Recess taken.)                                         9      A. She was salaried. I see the work performed,
   10          MR. KEMP: Back on the record.                          10   September 2016. That line that goes over and says
   11       Q. You are still under oath. Okay?                        11   "contract work," that's a misrepresentation in the
   12       A. Yes.                                                   12   sense of what it was or wasn't. We didn't have a
   13       Q. All right. Exhibit 20, the first e-mail on             13   contract for her to perform that work.
   14   1285 says:                                                    14      Q. Okay. And --
   15              "Dan, I just realized that this went to            15      A. I'm just looking. There's a lot of entries
   16          her e-mail at WL-LLP. Please forward her               16   on here. I don't know that I can dispute here in
   17          e-mail address and phone number, SW."                  17   front of me the time entries, but I don't think we
   18           So this is from Susan to you.                         18   made that an issue and we ended up paying those.
   19          That was a problem because she no longer had           19      Q. Okay.
   20   e-mail access at the firm by September 1st, 2017;             20      A. Don't reference cases. I think that was a
   21   right?                                                        21   concern, question we had, but...
   22       A. I would assume, yeah --                                22      Q. On the second page there's a thing on the
   23       Q. Okay.                                                  23   bonus -- I don't mean to interrupt you. I'm sorry.
   24       A. -- yes, that was the in place at that time.            24      A. That's fine. Oh, yeah, that -- the bonus is
   25          MR. KEMP: Okay. We'll make this the next.              25   wrong in two regards on the 150 and on the hours
                                                           Page 202                                                      Page 204
    1          THE REPORTER: Twenty one.                               1 calculated to reach it, as I remember.
    2          (Exhibit 21 was marked for identification.)             2       As I remember, it's wrong on the 150. It's
    3          MR. KEMP: Exhibit 21, some e-mails, Bates               3 definitely wrong to say that the bonus kicked in on a
    4   stamp numbers 1304 and 1305, this is from the                  4 monthly basis at any hourly rate, because it was not
    5   July 2017 time frame. It says Saturday, 8 July 2017            5 monthly, ever, by anybody.
    6   from Amy Buchanan to Dan Watkins, with a CC to Susan           6       "Medical," I'm not sure what she's referring
    7   Watkins, subject "Payroll Correction."                         7 to there. "127.29 per month paid," I'm not sure what
    8       Q. My understanding is that this is Amy's                  8 she's referencing there, so I don't know to dispute it
    9   summary of what she contended that she was still owed          9 or not.
   10   at that time. Do you recognize that e-mail? Is that           10      Q. Okay. All right. That's fine. All right.
   11   what it says here?                                            11        So, finally, we come to topic number 53,
   12       A. Yes, I do.                                             12   "Defendant is not an employer, quote-unquote, as
   13       Q. Do you remember getting this e-mail?                   13   defined in the Americans With Disabilities Act
   14       A. No, I don't remember receiving it, but I               14   NRS 613.310," and that's from the 49th affirmative
   15   recognize it.                                                 15   defense?
   16       Q. All right. You don't have any doubt as to              16        My understanding is that the contention is
   17   its authenticity, do you, in terms of --                      17   that you all don't have enough employees to be an
   18       A. That it came from Ms. Buchanan, no.                    18   employer under the Federal Americans With Disabilities
   19       Q. Okay. I know you probably dispute the                  19   Act or the State statute that deals with employment
   20   content of it, but is that -- as you look at it --            20   discrimination on the basis of disabilities. Do I
   21       A. Yes.                                                   21   have that right?
   22       Q. -- you do have disputes with the content of            22      A. I'm not a qualified employer with that
   23   it; right?                                                    23   specific issue in mind and perhaps others, but
   24       A. Yes.                                                   24   certainly with respect to that.
   25       Q. And what was some of the issues that you have          25      Q. All right. And can you explain why that is?
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    1      A. Well, we've only been -- the most we've ever        1 that were saying that they didn't feel that they were
    2   had employed in Nevada is three people at any given       2 being paid correctly?
    3   time. This defendant, Watkins & Letofsky, LLP, A          3     A. No.
    4   Nevada Limited Liability Partnership, had one employee    4     Q. I think I remember seeing somewhere that
    5   with Ms. Buchanan, then two while she worked with         5   there was a reference in an e-mail that you said that
    6   Mr. Forster, then one while Mr. Forster worked alone      6   you were reviewing the records, billable hours, and
    7   until Ms. Santos worked, that made two, and then          7   other records of other -- of other associates to
    8   Ms. Kachermeyer started up; that's three -- actually,     8   determine whether they were paid correctly. I'm just
    9   let me add in Mr. Ortuno; that makes four, but that       9   wondering --
   10   was after Ms. Buchanan's employment.                     10     A. No, that's inaccurate. I didn't review that,
   11      Q. Okay. And so then your position is that the        11   review those -- I didn't review billing for the
   12   California employees don't count at all?                 12   purposes of determining correct wages. Everybody was
   13      A. Correct. But even if they do, there's not          13   on salary.
   14   15, there never has been. I don't believe they are       14        MR. KEMP: Okay. All right. Those are all
   15   included.                                                15   the questions I have. Thanks.
   16      Q. Okay. Well, I think we have some written           16        MR. ORTUNO: I've got none.
   17   discovery requests that would be relevant to that, but   17         (End of proceedings at 5:24 p.m.)
   18   just how many employees do you believe that you had      18
   19   between California and Nevada during the time that       19            * * * * *
   20   Ms. Buchanan was employed, I guess, let me say between   20
   21   April of 2016 and November -- let's say December 1st     21
   22   of 2017; how many employees do you believe you had       22
   23   during that time between the two states?                 23
   24      A. It fluctuated quite a bit, but anywhere from       24
   25   9 to 13, maybe 8 at one point between the two, but 9     25
                                                      Page 206                                                        Page 208
    1   to 13.                                                    1           DECLARATION OF DEPONENT
    2      Q. All right. We've got some written discovery         2 PAGE LINE CHANGE            REASON
    3   requests out there. I'll look at the responses of         3 ____________________________________________________
    4   that, but I just wanted to know from your testimony       4 ____________________________________________________
    5   today what you think it is.                               5 ____________________________________________________
    6      A. Sure.                                               6 ____________________________________________________
    7         MR. KEMP: Okay. All right. Give me just             7 ____________________________________________________
    8   one minute to confer, because I think we're all done.     8 ____________________________________________________
    9   Off the record.                                           9 ____________________________________________________
   10          (Off record.)                                     10 ____________________________________________________
   11         MR. KEMP: Let's go back on the record.             11 ____________________________________________________
   12      Q. I would remind you are still under oath,           12 ____________________________________________________
   13   okay?                                                    13 ____________________________________________________
   14      A. Yes.                                               14 ____________________________________________________
   15      Q. In your calculation of the number of               15 ____________________________________________________
   16   employees, do you count yourself and Mr. Letofsky?       16 ____________________________________________________
   17      A. No, we do not.                                     17 ____________________________________________________
   18      Q. Okay. If you did include yourself and              18 ____________________________________________________
   19   Mr. Letofsky, would that 13 then be 15?                  19      I, DANIEL R. WATKINS, ESQ., deponent herein,
                                                                    do hereby certify and declare under penalty of perjury
   20      A. Yes, but not for the period of time required       20 the within and foregoing transcription to be my
                                                                    deposition in said action; that I have read, corrected
   21   under the ADA.                                           21 and do hereby affix my signature to said deposition.
   22      Q. All right. Well, I understand your position,       22
   23   and we'll look at that as it comes up.                   23       _______________________________________
   24         The only other thing, I think there was            24       DANIEL R. WATKINS, ESQ., Deponent
   25   something at some point, were there other associates     25       Date:__________________

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                                                                                                             Page 209
                                 1                          I, the undersigned, a Certified Court

                                 2       Reporter of the State of Nevada, Registered

                                 3       Professional Reporter, and Certified Realtime

                                 4       Reporter, do hereby certify:

                                 5                          That the foregoing proceedings were taken

                                 6       before me at the time and place herein set forth; that

                                 7       any witnesses in the foregoing proceedings, prior to

                                 8       testifying, were duly sworn; that a record of the

                                 9       proceedings was made by me using machine shorthand

                               10        which was thereafter transcribed under my direction;

                               11        that the foregoing transcript is a true record of the

                               12        testimony given.

                               13                           Further, that before completion of the

                               14        proceedings, review of the transcript was requested.

                               15                           I further certify I am neither financially

                               16        interested in the action nor a relative or employee

                               17        of any attorney or party to this action.

                               18                           IN WITNESS WHEREOF, I have this date

                               19        subscribed my name.

                               20        Dated:             03-02-2020

                               21

                               22

                               23                                        ___________________________

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